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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area        District         Ballot     Ballot       Ballot       Ballot       Ballot
             Capital
10/24/2020   Metro       Atlanta             17326       84.89%       95.35%       98.71%       98.92%
             Capital
10/24/2020   Metro       Baltimore           10410       84.21%       89.82%       93.51%       95.63%
             Capital
10/24/2020   Metro       Capital             14949       92.98%       97.24%       98.20%       98.44%
             Capital     Greater S
10/24/2020   Metro       Carolina            11936       92.25%       97.52%       98.93%       99.07%
             Capital
10/24/2020   Metro       Greensboro          15753       83.59%       89.67%       96.57%       96.77%
             Capital
10/24/2020   Metro       Mid-Carolinas       11164       90.56%       96.01%       97.65%       97.81%
             Capital     Norther
10/24/2020   Metro       Virginia            11774       91.55%       95.32%       96.81%       96.98%
             Capital
10/24/2020   Metro       Richmond             9994       92.46%       97.16%       98.67%       98.74%

10/24/2020 Eastern       Appalachian          1932       58.85%       62.47%       63.41%       63.82%

                         Central
10/24/2020 Eastern       Pennsylvania        28341       78.46%       90.50%       98.91%       99.36%

10/24/2020 Eastern       Kentuckiana           734       37.60%       49.86%       52.86%       53.95%

10/24/2020 Eastern       Norther Ohio        35407       91.84%       98.73%       99.44%       99.47%

10/24/2020 Eastern       Ohio Valley         25323       95.08%       98.68%       99.36%       99.40%

                         Philadelphia
10/24/2020 Eastern       Metropo             18130       91.54%       95.09%       98.90%       99.13%

10/24/2020 Eastern       South Jersey        21337       95.54%       97.48%       98.22%       98.70%

10/24/2020 Eastern       Tennessee            3207       88.74%       96.41%       98.66%       98.66%

                         Western New
10/24/2020 Eastern       York                10331       96.20%       98.29%       99.27%       99.27%

                         Western
10/24/2020 Eastern       Pennsylvania        34027       98.08%       99.17%       99.72%       99.73%

10/24/2020 Great Lakes Central Illinois      17965       89.89%       94.03%       96.85%       98.99%
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                                      Measured   Processing   Processing   Processing   Processing
                                      Volume:    Score:       Score Plus   Score Plus   Score Plus
                                      Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area       District       Ballot     Ballot       Ballot       Ballot       Ballot

10/24/2020 Great Lakes Chicago           11581       90.71%       91.97%       92.56%       95.81%

10/24/2020 Great Lakes Detroit            5808       74.04%       92.63%       97.37%       98.14%

10/24/2020 Great Lakes Gateway            9036       93.46%       97.08%       98.05%       98.15%
                       Greater
10/24/2020 Great Lakes Indiana             946       72.41%       91.75%       98.63%       98.63%
                       Greater
10/24/2020 Great Lakes Michigan           6128       91.66%       96.88%       97.99%       98.01%

10/24/2020 Great Lakes Lakeland           1882       81.72%       93.73%       95.64%       95.91%
10/24/2020 Northeast Albany               9972       95.19%       98.44%       99.22%       99.27%

10/24/2020 Northeast   Caribbean          9666       99.63%       99.89%       99.92%       99.92%

                       Connecticut
10/24/2020 Northeast   Valley            12229       95.55%       97.74%       98.63%       98.80%
                       Greater
10/24/2020 Northeast   Boston            40936       96.03%       98.45%       99.02%       99.04%

10/24/2020 Northeast   Long Island       14887       96.61%       98.34%       98.81%       98.86%

10/24/2020 Northeast   New York           7335       91.15%       95.16%       99.17%       99.43%

                       Northern New
10/24/2020 Northeast   England            1472       76.56%       94.16%       99.18%       99.18%

                       Northern New
10/24/2020 Northeast   Jersey            30562       96.50%       97.68%       98.05%       98.11%
10/24/2020 Northeast   Triboro            5766       83.09%       85.76%       86.58%       86.68%

10/24/2020 Northeast   Westchester        8540       92.76%       95.94%       97.31%       97.45%

10/24/2020 Pacific     Bay-Valley        58723       98.43%       99.12%       99.29%       99.31%
10/24/2020 Pacific     Honolulu          26639       97.22%       98.96%       99.17%       99.25%

10/24/2020 Pacific     Los Angeles       55426       98.59%       99.16%       99.38%       99.38%

10/24/2020 Pacific     Sacramento        58963       96.75%       99.28%       99.35%       99.37%

10/24/2020 Pacific     San Diego         90878       98.85%       99.49%       99.66%       99.66%
         Case 1:20-cv-02405-EGS Document 159-2 Filed 12/22/20 Page 3 of 148



                                         Measured    Processing   Processing   Processing   Processing
                                         Volume:     Score:       Score Plus   Score Plus   Score Plus
                                         Inbound     Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot      Ballot       Ballot       Ballot       Ballot

10/24/2020 Pacific      San Francisco       36288        98.32%       99.17%       99.45%       99.47%

10/24/2020 Pacific      Santa Ana           45989        99.01%       99.61%       99.75%       99.76%

10/24/2020   Pacific    Sierra Coastal      32414        98.49%       99.35%       99.58%       99.59%
10/24/2020   Southern   Alabama               620        65.65%       92.26%       96.61%       96.61%
10/24/2020   Southern   Arkansas              761        91.46%       96.32%       98.55%       98.55%
10/24/2020   Southern   Dallas               3105        94.59%       97.81%       98.58%       98.65%

10/24/2020 Southern     Ft. Worth            1887        90.04%       94.70%       96.08%       96.13%

10/24/2020 Southern     Gulf Atlantic       18637        90.82%       96.32%       98.69%       98.79%
10/24/2020 Southern     Houston              2696        84.64%       89.50%       91.58%       91.73%

10/24/2020 Southern     Louisiana             561        77.18%       90.73%       98.04%       98.04%

10/24/2020 Southern     Mississippi           469        85.50%       95.10%       98.51%       98.51%

10/24/2020 Southern     Oklahoma              385        75.32%       91.69%       97.40%       97.40%

10/24/2020 Southern     Rio Grande           3433        91.09%       95.22%       98.11%       98.11%

10/24/2020   Southern   South Florida         9778       92.91%       96.32%       98.65%       98.66%
10/24/2020   Southern   Suncoast             47873       96.63%       98.55%       99.25%       99.26%
10/24/2020   Western    Alaska                4101       79.59%       88.03%       89.32%       89.61%
10/24/2020   Western    Arizona             121164       97.56%       99.35%       99.48%       99.53%

10/24/2020 Western      Central Plains       7267        96.72%       98.53%       99.04%       99.04%

                        Colorado/Wyo
10/24/2020 Western      ming                 20585       69.93%       89.58%       91.89%       91.97%
10/24/2020 Western      Dakotas              10696       96.23%       99.09%       99.70%       99.70%
10/24/2020 Western      Hawkeye              13338       95.25%       98.03%       98.49%       98.53%

10/24/2020 Western      Mid-Americas         8547        93.81%       97.58%       99.33%       99.49%

10/24/2020 Western      Nevada Sierra       24279        97.86%       99.44%       99.67%       99.70%

10/24/2020 Western      Northland             6158       97.30%       99.40%       99.71%       99.71%
10/24/2020 Western      Portland             98841       92.49%       99.09%       99.37%       99.40%
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                                      Measured   Processing   Processing   Processing   Processing
                                      Volume:    Score:       Score Plus   Score Plus   Score Plus
                                      Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area      District         Ballot     Ballot       Ballot       Ballot       Ballot

10/24/2020 Western   Salt Lake City      39855       98.78%       99.54%       99.75%       99.81%
10/24/2020 Western   Seattle             97892       97.75%       99.07%       99.36%       99.42%
           Capital
10/26/2020 Metro     Atlanta             18003       89.44%       94.66%       97.46%       98.51%
           Capital
10/26/2020 Metro     Baltimore           18530       91.27%       95.61%       97.91%       99.00%
           Capital
10/26/2020 Metro     Capital             14799       93.21%       97.13%       98.89%       99.24%
           Capital   Greater S
10/26/2020 Metro     Carolina            12565       87.10%       93.55%       96.93%       98.30%
           Capital
10/26/2020 Metro     Greensboro          17799       82.68%       94.00%       96.30%       97.02%
           Capital
10/26/2020 Metro     Mid-Carolinas       11440       86.12%       93.56%       95.01%       95.58%
           Capital   Norther
10/26/2020 Metro     Virginia            19824       93.50%       97.23%       97.78%       98.12%
           Capital
10/26/2020 Metro     Richmond            15749       91.18%       96.08%       97.58%       98.21%

10/26/2020 Eastern   Appalachian          3068       74.87%       81.29%       82.30%       82.66%

                     Central
10/26/2020 Eastern   Pennsylvania        53221       78.76%       92.10%       99.30%       99.49%

10/26/2020 Eastern   Kentuckiana           914       64.55%       71.99%       74.40%       76.59%

10/26/2020 Eastern   Norther Ohio        45561       92.64%       97.97%       98.62%       98.86%

10/26/2020 Eastern   Ohio Valley         30985       94.80%       98.56%       99.12%       99.41%

                     Philadelphia
10/26/2020 Eastern   Metropo             48358       93.02%       95.80%       97.39%       97.78%

10/26/2020 Eastern   South Jersey        17529       90.87%       94.47%       95.73%       96.37%

10/26/2020 Eastern   Tennessee            8689       92.82%       97.25%       98.60%       98.92%

                     Western New
10/26/2020 Eastern   York                15455       96.60%       98.65%       99.06%       99.18%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

                         Western
10/26/2020 Eastern       Pennsylvania        41673       97.26%       98.87%       99.33%       99.43%

10/26/2020 Great Lakes Central Illinois      28932       94.36%       97.63%       98.45%       98.77%

10/26/2020 Great Lakes Chicago               20125       87.63%       93.06%       94.26%       94.81%

10/26/2020 Great Lakes Detroit               12471       73.60%       93.03%       96.85%       98.09%

10/26/2020 Great Lakes Gateway               14957       93.17%       95.74%       96.96%       97.25%
                       Greater
10/26/2020 Great Lakes Indiana                3007       79.71%       93.85%       96.71%       98.74%
                       Greater
10/26/2020 Great Lakes Michigan              14134       87.31%       96.88%       98.34%       98.57%

10/26/2020 Great Lakes Lakeland               3359       87.44%       93.24%       95.86%       98.21%
10/26/2020 Northeast Albany                  22560       96.32%       98.70%       99.26%       99.43%

10/26/2020 Northeast     Caribbean            4885       98.67%       99.65%       99.77%       99.82%

                         Connecticut
10/26/2020 Northeast     Valley              30947       94.79%       96.83%       97.34%       97.72%
                         Greater
10/26/2020 Northeast     Boston              74156       96.96%       98.66%       98.96%       99.17%

10/26/2020 Northeast     Long Island         19994       96.02%       97.68%       98.02%       98.24%

10/26/2020 Northeast     New York            50919       96.48%       98.33%       98.91%       99.05%

                         Northern New
10/26/2020 Northeast     England              2476       84.41%       92.89%       96.81%       99.23%

                         Northern New
10/26/2020 Northeast     Jersey              30027       96.76%       98.05%       98.31%       98.46%
10/26/2020 Northeast     Triboro             14114       89.12%       91.12%       91.85%       92.04%

10/26/2020 Northeast     Westchester         14707       94.53%       97.42%       97.89%       98.09%

10/26/2020 Pacific       Bay-Valley          49827       96.85%       98.04%       98.28%       98.39%
10/26/2020 Pacific       Honolulu            23761       94.72%       97.46%       97.84%       97.88%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

10/26/2020 Pacific      Los Angeles         42123       96.39%       97.45%       97.98%       98.22%

10/26/2020 Pacific      Sacramento          46634       97.07%       97.92%       98.09%       98.14%

10/26/2020 Pacific      San Diego           75555       98.07%       99.29%       99.57%       99.64%

10/26/2020 Pacific      San Francisco       36395       97.83%       98.83%       99.05%       99.13%

10/26/2020 Pacific      Santa Ana           35112       97.65%       99.01%       99.36%       99.46%

10/26/2020   Pacific    Sierra Coastal      34947       97.96%       98.64%       98.87%       98.99%
10/26/2020   Southern   Alabama              1302       74.19%       92.63%       97.24%       98.16%
10/26/2020   Southern   Arkansas             1292       91.95%       97.21%       98.45%       99.61%
10/26/2020   Southern   Dallas               3464       92.00%       97.03%       98.47%       98.67%

10/26/2020 Southern     Ft. Worth            2262       88.68%       92.00%       93.10%       93.28%

10/26/2020 Southern     Gulf Atlantic       17636       85.82%       94.26%       96.49%       97.27%
10/26/2020 Southern     Houston             10597       90.23%       95.71%       96.81%       97.29%

10/26/2020 Southern     Louisiana            1217       74.03%       88.17%       94.91%       97.29%

10/26/2020 Southern     Mississippi           679       73.93%       86.89%       95.29%       98.09%

10/26/2020 Southern     Oklahoma              761       77.92%       91.59%       95.80%       98.29%

10/26/2020 Southern     Rio Grande           4307       87.74%       94.27%       96.49%       98.58%

10/26/2020   Southern   South Florida        7051       90.40%       96.21%       98.03%       98.67%
10/26/2020   Southern   Suncoast            45685       94.38%       96.93%       97.78%       98.24%
10/26/2020   Western    Alaska               4347       82.54%       89.90%       92.48%       92.71%
10/26/2020   Western    Arizona             95035       97.90%       99.10%       99.47%       99.62%

10/26/2020 Western      Central Plains       9837       90.81%       93.16%       94.40%       94.67%

                        Colorado/Wyo
10/26/2020 Western      ming                31810       61.44%       78.91%       84.32%       86.41%
10/26/2020 Western      Dakotas             10329       94.98%       97.88%       98.65%       98.96%
10/26/2020 Western      Hawkeye             28064       97.57%       98.63%       99.05%       99.14%

10/26/2020 Western      Mid-Americas        10582       86.68%       97.51%       98.67%       99.08%
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                                      Measured   Processing   Processing   Processing   Processing
                                      Volume:    Score:       Score Plus   Score Plus   Score Plus
                                      Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area      District         Ballot     Ballot       Ballot       Ballot       Ballot

10/26/2020 Western   Nevada Sierra       19328       87.15%       89.31%       89.80%       89.98%

10/26/2020 Western   Northland            5418       92.23%       97.29%       98.27%       99.04%
10/26/2020 Western   Portland            83834       97.24%       98.49%       99.03%       99.23%

10/26/2020 Western   Salt Lake City      36892       97.83%       99.15%       99.42%       99.76%
10/26/2020 Western   Seattle             80236       96.26%       98.18%       98.69%       98.88%
           Capital
10/27/2020 Metro     Atlanta             10334       39.68%       97.78%       98.72%       99.20%
           Capital
10/27/2020 Metro     Baltimore            6904       85.04%       96.41%       97.81%       99.06%
           Capital
10/27/2020 Metro     Capital             15659       88.95%       98.72%       99.00%       99.36%
           Capital   Greater S
10/27/2020 Metro     Carolina            12357       79.98%       97.97%       98.80%       99.26%
           Capital
10/27/2020 Metro     Greensboro          15825       75.48%       93.79%       95.70%       98.33%
           Capital
10/27/2020 Metro     Mid-Carolinas       13455       70.49%       95.04%       95.89%       96.16%
           Capital   Norther
10/27/2020 Metro     Virginia             2475       60.73%       89.58%       91.47%       92.53%
           Capital
10/27/2020 Metro     Richmond             7019       82.56%       97.31%       98.09%       98.59%

10/27/2020 Eastern   Appalachian          1005       49.35%       81.39%       86.87%       89.75%

                     Central
10/27/2020 Eastern   Pennsylvania        15328       56.14%       95.72%       97.88%       99.20%

10/27/2020 Eastern   Kentuckiana           367       55.59%       82.56%       86.65%       87.74%

10/27/2020 Eastern   Norther Ohio        34973       91.43%       98.95%       99.30%       99.35%

10/27/2020 Eastern   Ohio Valley         29215       94.81%       98.14%       99.61%       99.68%

                     Philadelphia
10/27/2020 Eastern   Metropo             29479       96.06%       98.66%       99.18%       99.65%

10/27/2020 Eastern   South Jersey        29790       96.71%       99.12%       99.24%       99.35%

10/27/2020 Eastern   Tennessee            6287       91.97%       98.66%       99.20%       99.55%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

                         Western New
10/27/2020 Eastern       York                17058       98.19%       99.51%       99.60%       99.63%

                         Western
10/27/2020 Eastern       Pennsylvania        43579       97.25%       99.58%       99.67%       99.89%

10/27/2020 Great Lakes Central Illinois      18763       85.01%       93.71%       96.75%       99.23%

10/27/2020 Great Lakes Chicago               15527       90.04%       92.99%       93.41%       93.59%

10/27/2020 Great Lakes Detroit                4983       48.59%       93.48%       97.33%       98.03%

10/27/2020 Great Lakes Gateway                2594       79.99%       95.22%       96.68%       97.38%
                       Greater
10/27/2020 Great Lakes Indiana                 903       40.64%       91.03%       94.80%       98.34%
                       Greater
10/27/2020 Great Lakes Michigan               3784       54.99%       96.46%       97.99%       98.65%

10/27/2020 Great Lakes Lakeland                729       52.54%       79.97%       83.13%       85.46%
10/27/2020 Northeast Albany                   3825       82.33%       97.80%       98.25%       98.51%

10/27/2020 Northeast     Caribbean           10197       99.57%       99.87%       99.93%       99.97%

                         Connecticut
10/27/2020 Northeast     Valley               2061       75.25%       94.03%       95.88%       96.51%
                         Greater
10/27/2020 Northeast     Boston              24867       93.70%       99.28%       99.55%       99.63%

10/27/2020 Northeast     Long Island         14679       97.16%       98.53%       98.67%       98.73%

10/27/2020 Northeast     New York            25902       94.95%       98.89%       99.24%       99.34%

                         Northern New
10/27/2020 Northeast     England               525       54.29%       91.81%       95.05%       97.33%

                         Northern New
10/27/2020 Northeast     Jersey              45975       97.51%       99.37%       99.42%       99.49%
10/27/2020 Northeast     Triboro             14823       95.52%       96.51%       96.63%       96.64%

10/27/2020 Northeast     Westchester          2090       70.43%       93.64%       94.26%       94.31%
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                                         Measured    Processing   Processing   Processing   Processing
                                         Volume:     Score:       Score Plus   Score Plus   Score Plus
                                         Inbound     Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot      Ballot       Ballot       Ballot       Ballot

10/27/2020 Pacific      Bay-Valley         102039        99.08%       99.60%       99.64%       99.64%
10/27/2020 Pacific      Honolulu            29229        96.42%       99.67%       99.79%       99.84%

10/27/2020 Pacific      Los Angeles         83707        99.22%       99.61%       99.67%       99.70%

10/27/2020 Pacific      Sacramento          84951        97.93%       98.92%       98.94%       98.98%

10/27/2020 Pacific      San Diego          155989        99.12%       99.82%       99.90%       99.92%

10/27/2020 Pacific      San Francisco       68131        99.33%       99.72%       99.77%       99.79%

10/27/2020 Pacific      Santa Ana           65496        99.14%       99.70%       99.75%       99.76%

10/27/2020   Pacific    Sierra Coastal      54305        98.72%       99.43%       99.46%       99.49%
10/27/2020   Southern   Alabama               529        50.85%       89.79%       95.46%       97.35%
10/27/2020   Southern   Arkansas              258        65.89%       92.25%       94.96%       95.35%
10/27/2020   Southern   Dallas               2032        85.19%       97.19%       98.38%       99.02%

10/27/2020 Southern     Ft. Worth             715        73.71%       89.23%       91.19%       92.45%

10/27/2020 Southern     Gulf Atlantic       16077        84.80%       97.85%       98.76%       99.14%
10/27/2020 Southern     Houston              1636        74.94%       91.01%       92.05%       93.40%

10/27/2020 Southern     Louisiana             462        63.42%       93.29%       95.45%       97.19%

10/27/2020 Southern     Mississippi           640        83.75%       98.13%       98.44%       99.06%

10/27/2020 Southern     Oklahoma              352        60.23%       87.78%       91.76%       98.30%

10/27/2020 Southern     Rio Grande           3186        84.46%       96.52%       98.09%       98.84%

10/27/2020   Southern   South Florida        11021       94.50%       98.81%       99.12%       99.34%
10/27/2020   Southern   Suncoast             62472       97.13%       99.20%       99.49%       99.63%
10/27/2020   Western    Alaska                3542       81.23%       93.73%       94.97%       95.17%
10/27/2020   Western    Arizona             166629       98.35%       99.74%       99.80%       99.86%

10/27/2020 Western      Central Plains       8074        95.62%       98.54%       98.72%       98.98%

                        Colorado/Wyo
10/27/2020 Western      ming                 28371       77.12%       90.99%       93.32%       95.40%
10/27/2020 Western      Dakotas              11655       92.66%       99.26%       99.50%       99.71%
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                                      Measured     Processing    Processing    Processing    Processing
                                      Volume:      Score:        Score Plus    Score Plus    Score Plus
                                      Inbound      Inbound       1: Inbound    2: Inbound    3: Inbound
Date       Area      District         Ballot       Ballot        Ballot        Ballot        Ballot
10/27/2020 Western   Hawkeye               20590        97.70%        99.04%        99.18%        99.25%

10/27/2020 Western   Mid-Americas          9768        95.01%        99.21%        99.57%        99.73%

10/27/2020 Western   Nevada Sierra        30872        97.69%        99.47%        99.67%        99.71%

10/27/2020 Western   Northland             6702        95.48%        99.19%        99.42%        99.63%
10/27/2020 Western   Portland            102002        97.79%        99.68%        99.84%        99.91%

10/27/2020 Western   Salt Lake City       61570        88.99%        99.69%        99.80%        99.92%
10/27/2020 Western   Seattle             136523        98.09%        99.65%        99.74%        99.77%
           Capital
10/28/2020 Metro     Atlanta              18106        94.97%        96.49%        98.98%        99.24%
           Capital
10/28/2020 Metro     Baltimore            16859        94.19%        94.80%        96.75%        99.42%
           Capital
10/28/2020 Metro     Capital              17369        96.44%        96.99%        99.03%        99.36%
           Capital   Greater S
10/28/2020 Metro     Carolina             13029        91.10%        92.42%        97.87%        98.32%
           Capital
10/28/2020 Metro     Greensboro           22923        90.90%        91.63%        96.46%        97.18%
           Capital
10/28/2020 Metro     Mid-Carolinas        15512        90.07%        91.21%        97.11%        97.52%
           Capital   Norther
10/28/2020 Metro     Virginia             16389        97.03%        97.94%        98.82%        98.93%
           Capital
10/28/2020 Metro     Richmond             16091        96.91%        97.68%        99.04%        99.24%

10/28/2020 Eastern   Appalachian           1943        88.78%        89.29%        93.82%        93.88%

                     Central
10/28/2020 Eastern   Pennsylvania         37815        83.25%        83.76%        98.90%        99.44%

10/28/2020 Eastern   Kentuckiana            492        59.96%        64.84%        83.74%        84.96%

10/28/2020 Eastern   Norther Ohio         46265        97.63%        97.98%        99.31%        99.36%

10/28/2020 Eastern   Ohio Valley          27915        97.97%        98.34%        99.55%        99.79%

                     Philadelphia
10/28/2020 Eastern   Metropo              48458        96.70%        97.04%        98.91%        99.37%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

10/28/2020 Eastern       South Jersey        26582       97.45%       97.75%       98.29%       98.42%

10/28/2020 Eastern       Tennessee            5601       94.09%       96.27%       99.18%       99.41%

                         Western New
10/28/2020 Eastern       York                16348       98.53%       99.25%       99.68%       99.72%

                         Western
10/28/2020 Eastern       Pennsylvania        41148       98.52%       98.95%       99.80%       99.90%

10/28/2020 Great Lakes Central Illinois      31264       96.12%       97.51%       99.09%       99.25%

10/28/2020 Great Lakes Chicago               20431       95.89%       96.09%       97.18%       97.28%

10/28/2020 Great Lakes Detroit                6998       78.92%       81.91%       95.46%       98.27%

10/28/2020 Great Lakes Gateway               11603       95.67%       96.59%       98.47%       98.57%
                       Greater
10/28/2020 Great Lakes Indiana                1554       86.16%       91.12%       96.98%       98.33%
                       Greater
10/28/2020 Great Lakes Michigan               7955       95.50%       97.06%       99.01%       99.16%

10/28/2020 Great Lakes Lakeland               2162       92.83%       94.54%       96.48%       96.76%
10/28/2020 Northeast Albany                  22833       98.31%       98.62%       99.30%       99.44%

10/28/2020 Northeast     Caribbean            7612       99.50%       99.57%       99.75%       99.79%

                         Connecticut
10/28/2020 Northeast     Valley              13825       98.12%       98.37%       99.00%       99.09%
                         Greater
10/28/2020 Northeast     Boston              66087       97.73%       98.26%       99.53%       99.62%

10/28/2020 Northeast     Long Island         24042       99.00%       99.15%       99.45%       99.48%

10/28/2020 Northeast     New York            24941       97.36%       98.16%       99.04%       99.27%

                         Northern New
10/28/2020 Northeast     England               955       82.41%       87.64%       96.44%       96.96%

                         Northern New
10/28/2020 Northeast     Jersey              43220       97.28%       97.39%       97.98%       98.05%
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                                         Measured     Processing    Processing    Processing    Processing
                                         Volume:      Score:        Score Plus    Score Plus    Score Plus
                                         Inbound      Inbound       1: Inbound    2: Inbound    3: Inbound
Date       Area         District         Ballot       Ballot        Ballot        Ballot        Ballot
10/28/2020 Northeast    Triboro               13780        88.13%        88.42%        88.62%        88.66%

10/28/2020 Northeast    Westchester          17291        97.89%        98.14%        98.61%        98.65%

10/28/2020 Pacific      Bay-Valley           83494        99.19%        99.34%        99.48%        99.52%
10/28/2020 Pacific      Honolulu             39222        98.96%        99.23%        99.72%        99.80%

10/28/2020 Pacific      Los Angeles          67519        98.87%        99.14%        99.37%        99.40%

10/28/2020 Pacific      Sacramento           70085        99.33%        99.48%        99.62%        99.64%

10/28/2020 Pacific      San Diego           134602        99.32%        99.55%        99.81%        99.85%

10/28/2020 Pacific      San Francisco        49667        98.90%        99.34%        99.58%        99.61%

10/28/2020 Pacific      Santa Ana            60225        99.66%        99.76%        99.87%        99.90%

10/28/2020   Pacific    Sierra Coastal       47123        98.83%        99.05%        99.27%        99.30%
10/28/2020   Southern   Alabama                626        71.09%        75.88%        93.93%        95.85%
10/28/2020   Southern   Arkansas               864        94.68%        96.06%        98.61%        98.73%
10/28/2020   Southern   Dallas                3017        93.87%        96.85%        99.04%        99.20%

10/28/2020 Southern     Ft. Worth             1677        95.11%        96.12%        96.78%        96.84%

10/28/2020 Southern     Gulf Atlantic        19719        93.99%        94.77%        99.08%        99.31%
10/28/2020 Southern     Houston               7144        95.04%        96.01%        97.12%        97.19%

10/28/2020 Southern     Louisiana              430        65.35%        74.88%        91.40%        96.98%

10/28/2020 Southern     Mississippi            540        91.48%        93.70%        98.15%        99.07%

10/28/2020 Southern     Oklahoma               153        62.75%        79.08%        94.77%        98.69%

10/28/2020 Southern     Rio Grande            3709        91.64%        94.31%        98.41%        98.89%

10/28/2020   Southern   South Florida         9161        94.97%        96.33%        98.65%        99.08%
10/28/2020   Southern   Suncoast             51567        96.43%        97.09%        99.32%        99.45%
10/28/2020   Western    Alaska                4966        93.76%        96.34%        98.79%        99.05%
10/28/2020   Western    Arizona             159567        98.07%        98.36%        98.71%        98.78%

10/28/2020 Western      Central Plains        7607        96.49%        97.23%        98.00%        98.19%
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                                      Measured    Processing   Processing   Processing   Processing
                                      Volume:     Score:       Score Plus   Score Plus   Score Plus
                                      Inbound     Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area      District         Ballot      Ballot       Ballot       Ballot       Ballot

                     Colorado/Wyo
10/28/2020 Western   ming                 20075       78.73%       81.18%       88.12%       89.74%
10/28/2020 Western   Dakotas              10662       96.60%       97.77%       99.59%       99.75%
10/28/2020 Western   Hawkeye              19851       98.48%       98.84%       99.26%       99.30%

10/28/2020 Western   Mid-Americas         9349        95.63%       97.22%       99.11%       99.38%

10/28/2020 Western   Nevada Sierra       25584        98.03%       98.54%       99.30%       99.39%

10/28/2020 Western   Northland             5279       97.08%       97.90%       99.19%       99.79%
10/28/2020 Western   Portland             94199       98.12%       98.31%       99.79%       99.85%

10/28/2020 Western   Salt Lake City       55210       98.09%       98.65%       99.79%       99.86%
10/28/2020 Western   Seattle             101347       98.25%       99.17%       99.71%       99.78%
           Capital
10/29/2020 Metro     Atlanta             15279        93.10%       94.59%       95.20%       96.52%
           Capital
10/29/2020 Metro     Baltimore           18035        95.64%       98.20%       98.72%       99.47%
           Capital
10/29/2020 Metro     Capital             13982        94.94%       98.10%       98.58%       99.13%
           Capital   Greater S
10/29/2020 Metro     Carolina            13086        77.46%       95.23%       96.29%       98.33%
           Capital
10/29/2020 Metro     Greensboro          18594        89.13%       95.28%       95.92%       97.44%
           Capital
10/29/2020 Metro     Mid-Carolinas       14054        84.35%       95.30%       96.04%       97.60%
           Capital   Norther
10/29/2020 Metro     Virginia            13424        95.14%       96.75%       97.15%       97.91%
           Capital
10/29/2020 Metro     Richmond            14004        93.69%       97.99%       98.58%       98.86%

10/29/2020 Eastern   Appalachian          1847        89.50%       93.99%       94.86%       96.05%

                     Central
10/29/2020 Eastern   Pennsylvania        40276        69.17%       96.93%       97.19%       99.51%

10/29/2020 Eastern   Kentuckiana           678        83.48%       83.78%       87.76%       90.27%

10/29/2020 Eastern   Norther Ohio        29999        86.10%       98.35%       98.45%       98.70%

10/29/2020 Eastern   Ohio Valley         25222        95.50%       98.06%       98.45%       98.81%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

                         Philadelphia
10/29/2020 Eastern       Metropo             25599       90.92%       95.49%       96.21%       98.51%

10/29/2020 Eastern       South Jersey        21465       95.44%       97.15%       97.35%       98.21%

10/29/2020 Eastern       Tennessee            5064       96.43%       97.14%       98.06%       98.82%

                         Western New
10/29/2020 Eastern       York                14288       96.68%       97.93%       99.01%       99.16%

                         Western
10/29/2020 Eastern       Pennsylvania        27804       97.25%       99.16%       99.33%       99.52%

10/29/2020 Great Lakes Central Illinois      28455       96.84%       97.77%       98.38%       99.03%

10/29/2020 Great Lakes Chicago               21512       95.27%       96.57%       96.75%       96.92%

10/29/2020 Great Lakes Detroit                7998       76.21%       91.74%       93.52%       98.36%

10/29/2020 Great Lakes Gateway                7860       93.19%       95.94%       96.32%       96.88%
                       Greater
10/29/2020 Great Lakes Indiana                1502       83.22%       87.95%       94.21%       98.87%
                       Greater
10/29/2020 Great Lakes Michigan               7118       89.18%       95.46%       96.73%       97.53%

10/29/2020 Great Lakes Lakeland               2032       93.70%       95.62%       97.49%       98.23%
10/29/2020 Northeast Albany                  15355       96.89%       99.18%       99.39%       99.51%

10/29/2020 Northeast     Caribbean            5002       99.78%       99.78%       99.82%       99.92%

                         Connecticut
10/29/2020 Northeast     Valley              10404       95.49%       97.98%       98.43%       98.78%
                         Greater
10/29/2020 Northeast     Boston              30091       92.46%       97.90%       98.58%       98.84%

10/29/2020 Northeast     Long Island         18101       97.00%       98.40%       98.88%       99.01%

10/29/2020 Northeast     New York            30146       97.08%       98.68%       98.81%       99.24%

                         Northern New
10/29/2020 Northeast     England               969       80.70%       91.43%       94.01%       98.97%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

                        Northern New
10/29/2020 Northeast    Jersey              34709       97.54%       98.64%       98.72%       98.90%
10/29/2020 Northeast    Triboro             12645       92.34%       94.03%       94.11%       94.25%

10/29/2020 Northeast    Westchester         12784       95.92%       97.93%       98.25%       98.62%

10/29/2020 Pacific      Bay-Valley          65837       98.46%       98.74%       98.94%       99.09%
10/29/2020 Pacific      Honolulu            18738       91.47%       93.41%       94.90%       99.64%

10/29/2020 Pacific      Los Angeles         57612       98.35%       99.01%       99.08%       99.26%

10/29/2020 Pacific      Sacramento          56117       98.55%       98.84%       98.96%       99.03%

10/29/2020 Pacific      San Diego           94495       99.32%       99.44%       99.62%       99.73%

10/29/2020 Pacific      San Francisco       40309       98.88%       99.05%       99.22%       99.39%

10/29/2020 Pacific      Santa Ana           49422       98.58%       99.61%       99.78%       99.85%

10/29/2020   Pacific    Sierra Coastal      41127       98.56%       99.04%       99.17%       99.28%
10/29/2020   Southern   Alabama               860       88.95%       90.35%       92.91%       95.47%
10/29/2020   Southern   Arkansas              991       97.68%       98.28%       98.89%       98.99%
10/29/2020   Southern   Dallas               3395       95.32%       95.79%       97.73%       98.41%

10/29/2020 Southern     Ft. Worth            1616       94.37%       95.05%       95.30%       96.23%

10/29/2020 Southern     Gulf Atlantic       15180       95.80%       97.21%       98.35%       99.26%
10/29/2020 Southern     Houston              8962       96.33%       96.90%       97.19%       97.68%

10/29/2020 Southern     Louisiana             830       92.65%       93.37%       95.30%       97.71%

10/29/2020 Southern     Mississippi           353       93.20%       94.05%       97.45%       98.58%

10/29/2020 Southern     Oklahoma              370       80.27%       83.24%       88.11%       93.24%

10/29/2020 Southern     Rio Grande           3220       94.16%       94.91%       96.06%       97.48%

10/29/2020   Southern   South Florida        6597       96.09%       96.74%       97.45%       98.67%
10/29/2020   Southern   Suncoast            35651       97.94%       98.27%       98.72%       99.10%
10/29/2020   Western    Alaska               3719       83.11%       84.57%       86.31%       95.81%
10/29/2020   Western    Arizona             62925       98.43%       98.63%       99.00%       99.33%
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                                      Measured   Processing   Processing   Processing   Processing
                                      Volume:    Score:       Score Plus   Score Plus   Score Plus
                                      Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area      District         Ballot     Ballot       Ballot       Ballot       Ballot

10/29/2020 Western   Central Plains       7383       93.89%       96.09%       96.57%       97.45%

                     Colorado/Wyo
10/29/2020 Western   ming                15284       69.86%       74.65%       78.06%       86.21%
10/29/2020 Western   Dakotas              7943       97.53%       98.00%       98.74%       99.32%
10/29/2020 Western   Hawkeye             16520       97.65%       98.64%       98.83%       99.06%

10/29/2020 Western   Mid-Americas         7151       95.05%       97.45%       97.94%       98.97%

10/29/2020 Western   Nevada Sierra       24114       98.15%       99.17%       99.42%       99.59%

10/29/2020 Western   Northland            5184       84.10%       90.53%       90.88%       99.42%
10/29/2020 Western   Portland            45799       97.46%       98.55%       98.93%       99.05%

10/29/2020 Western   Salt Lake City      42678       97.61%       99.16%       99.40%       99.74%
10/29/2020 Western   Seattle             77279       98.11%       98.93%       99.26%       99.39%
           Capital
10/30/2020 Metro     Atlanta              8218       78.23%       93.25%       94.03%       94.50%
           Capital
10/30/2020 Metro     Baltimore           12489       90.82%       95.62%       97.14%       97.46%
           Capital
10/30/2020 Metro     Capital             12218       92.52%       97.55%       98.13%       98.24%
           Capital   Greater S
10/30/2020 Metro     Carolina             9098       82.08%       92.77%       95.80%       96.14%
           Capital
10/30/2020 Metro     Greensboro          12990       80.80%       90.67%       95.00%       95.29%
           Capital
10/30/2020 Metro     Mid-Carolinas        9904       77.29%       91.65%       96.22%       96.55%
           Capital   Norther
10/30/2020 Metro     Virginia            13639       91.77%       95.92%       96.27%       96.41%
           Capital
10/30/2020 Metro     Richmond            12616       90.87%       97.73%       98.68%       98.84%

10/30/2020 Eastern   Appalachian          1484       89.82%       95.62%       96.02%       96.36%

                     Central
10/30/2020 Eastern   Pennsylvania        21591       64.02%       93.54%       97.49%       97.82%

10/30/2020 Eastern   Kentuckiana           549       71.58%       86.52%       86.52%       87.61%

10/30/2020 Eastern   Norther Ohio        27338       94.97%       98.01%       98.78%       98.85%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

10/30/2020 Eastern       Ohio Valley         20696       93.73%       98.32%       99.00%       99.09%

                         Philadelphia
10/30/2020 Eastern       Metropo             15216       86.89%       95.18%       98.06%       98.30%

10/30/2020 Eastern       South Jersey        14778       92.50%       95.14%       96.81%       96.91%

10/30/2020 Eastern       Tennessee            4808       91.43%       98.21%       98.32%       98.71%

                         Western New
10/30/2020 Eastern       York                11413       97.06%       99.31%       99.35%       99.39%

                         Western
10/30/2020 Eastern       Pennsylvania        20441       90.79%       98.70%       99.00%       99.11%

10/30/2020 Great Lakes Central Illinois      17598       88.46%       96.73%       97.02%       97.39%

10/30/2020 Great Lakes Chicago               10795       91.46%       95.25%       95.41%       95.71%

10/30/2020 Great Lakes Detroit                7059       77.01%       89.50%       96.42%       97.31%

10/30/2020 Great Lakes Gateway                5807       89.96%       96.73%       96.95%       97.28%
                       Greater
10/30/2020 Great Lakes Indiana                 799       60.70%       92.74%       93.62%       96.25%
                       Greater
10/30/2020 Great Lakes Michigan               4741       86.04%       95.74%       96.25%       96.63%

10/30/2020 Great Lakes Lakeland               1417       86.66%       92.80%       94.71%       95.48%
10/30/2020 Northeast Albany                  15625       95.98%       99.17%       99.44%       99.51%

10/30/2020 Northeast     Caribbean            3525       98.70%       99.69%       99.69%       99.77%

                         Connecticut
10/30/2020 Northeast     Valley               8030       91.28%       97.33%       97.73%       97.88%
                         Greater
10/30/2020 Northeast     Boston              21968       93.54%       98.08%       98.30%       98.49%

10/30/2020 Northeast     Long Island         13151       94.47%       97.92%       98.14%       98.17%

10/30/2020 Northeast     New York            23938       93.84%       98.51%       98.94%       99.19%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

                        Northern New
10/30/2020 Northeast    England               714       73.25%       90.90%       91.04%       93.42%

                        Northern New
10/30/2020 Northeast    Jersey              24331       97.37%       98.88%       99.02%       99.05%
10/30/2020 Northeast    Triboro              9567       89.62%       93.10%       93.53%       93.57%

10/30/2020 Northeast    Westchester         14392       95.44%       98.84%       99.10%       99.17%

10/30/2020 Pacific      Bay-Valley          49511       98.29%       99.12%       99.17%       99.21%
10/30/2020 Pacific      Honolulu             6248       92.32%       94.29%       95.73%       97.36%

10/30/2020 Pacific      Los Angeles         44713       98.69%       99.27%       99.28%       99.32%

10/30/2020 Pacific      Sacramento          40277       98.26%       99.34%       99.40%       99.43%

10/30/2020 Pacific      San Diego           70974       97.99%       99.69%       99.70%       99.75%

10/30/2020 Pacific      San Francisco       31278       96.32%       99.11%       99.19%       99.21%

10/30/2020 Pacific      Santa Ana           40061       98.73%       99.65%       99.67%       99.68%

10/30/2020   Pacific    Sierra Coastal      32882       97.97%       99.12%       99.13%       99.14%
10/30/2020   Southern   Alabama               928       74.89%       92.35%       92.89%       93.43%
10/30/2020   Southern   Arkansas              709       92.38%       96.47%       96.47%       96.76%
10/30/2020   Southern   Dallas               3813       89.12%       97.40%       97.40%       97.51%

10/30/2020 Southern     Ft. Worth            1345       80.00%       91.38%       92.79%       92.86%

10/30/2020 Southern     Gulf Atlantic       11068       85.21%       94.34%       95.32%       95.81%
10/30/2020 Southern     Houston              4220       86.61%       91.49%       91.64%       92.06%

10/30/2020 Southern     Louisiana             718       83.98%       97.77%       97.77%       98.47%

10/30/2020 Southern     Mississippi           374       72.73%       94.65%       94.92%       96.79%

10/30/2020 Southern     Oklahoma              630       63.33%       95.24%       95.24%       98.25%

10/30/2020 Southern     Rio Grande           2837       81.57%       94.57%       94.64%       95.52%

10/30/2020 Southern     South Florida        6012       88.41%       96.94%       96.97%       97.46%
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                                         Measured      Processing    Processing    Processing    Processing
                                         Volume:       Score:        Score Plus    Score Plus    Score Plus
                                         Inbound       Inbound       1: Inbound    2: Inbound    3: Inbound
Date         Area       District         Ballot        Ballot        Ballot        Ballot        Ballot
10/30/2020   Southern   Suncoast              26839         93.73%        97.99%        98.04%        98.21%
10/30/2020   Western    Alaska                  5000        90.88%        96.30%        97.56%        97.88%
10/30/2020   Western    Arizona               28055         91.67%        98.32%        98.44%        98.67%

10/30/2020 Western      Central Plains         4921        93.70%        96.65%        96.81%        96.93%

                        Colorado/Wyo
10/30/2020 Western      ming                 11889         58.32%        70.01%        70.91%        75.35%
10/30/2020 Western      Dakotas               6005         94.27%        98.38%        98.43%        98.65%
10/30/2020 Western      Hawkeye              11941         95.08%        98.23%        98.58%        98.75%

10/30/2020 Western      Mid-Americas           5462        90.59%        98.10%        98.24%        98.74%

10/30/2020 Western      Nevada Sierra        17853         97.77%        99.40%        99.43%        99.53%

10/30/2020 Western      Northland             3212         93.06%        98.35%        98.57%        98.72%
10/30/2020 Western      Portland             23737         95.46%        98.74%        99.18%        99.28%

10/30/2020 Western      Salt Lake City       50236         98.62%        99.64%        99.68%        99.80%
10/30/2020 Western      Seattle              65299         94.60%        98.70%        98.86%        99.08%
           Capital
10/31/2020 Metro        Atlanta                7681        57.09%        94.88%        98.27%        98.27%
           Capital
10/31/2020 Metro        Baltimore              7114        88.95%        94.11%        97.29%        98.24%
           Capital
10/31/2020 Metro        Capital                9735        91.67%        95.94%        98.28%        98.41%
           Capital      Greater S
10/31/2020 Metro        Carolina               5937        76.82%        92.18%        97.17%        97.91%
           Capital
10/31/2020 Metro        Greensboro           10875         77.89%        89.60%        94.58%        97.18%
           Capital
10/31/2020 Metro        Mid-Carolinas          8730        75.73%        92.77%        95.90%        96.04%
           Capital      Norther
10/31/2020 Metro        Virginia             10253         76.53%        82.82%        92.68%        92.72%
           Capital
10/31/2020 Metro        Richmond               8608        84.69%        96.31%        98.08%        98.35%

10/31/2020 Eastern      Appalachian             936        82.16%        94.87%        95.51%        95.83%

                        Central
10/31/2020 Eastern      Pennsylvania         15334         52.08%        90.64%        97.58%        98.94%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

10/31/2020 Eastern       Kentuckiana           522       66.28%       77.59%       83.72%       83.72%

10/31/2020 Eastern       Norther Ohio        15722       92.42%       96.07%       98.89%       99.00%

10/31/2020 Eastern       Ohio Valley         17591       94.33%       97.57%       98.84%       99.35%

                         Philadelphia
10/31/2020 Eastern       Metropo              9933       77.23%       87.93%       96.57%       98.17%

10/31/2020 Eastern       South Jersey        11828       92.25%       94.89%       96.79%       96.98%

10/31/2020 Eastern       Tennessee            2168       84.13%       92.80%       95.85%       95.85%

                         Western New
10/31/2020 Eastern       York                 8837       93.03%       97.06%       98.86%       98.89%

                         Western
10/31/2020 Eastern       Pennsylvania        14782       90.97%       95.62%       99.29%       99.41%

10/31/2020 Great Lakes Central Illinois      16758       89.97%       96.16%       97.76%       98.08%

10/31/2020 Great Lakes Chicago                9801       88.31%       91.03%       91.67%       92.14%

10/31/2020 Great Lakes Detroit                2817       78.06%       88.60%       95.42%       95.95%

10/31/2020 Great Lakes Gateway                3823       87.13%       93.54%       96.91%       97.36%
                       Greater
10/31/2020 Great Lakes Indiana                 407       53.56%       83.05%       89.68%       89.93%
                       Greater
10/31/2020 Great Lakes Michigan               3464       68.59%       93.82%       96.91%       97.23%

10/31/2020 Great Lakes Lakeland               1145       73.45%       91.44%       97.03%       97.12%
10/31/2020 Northeast Albany                   7688       94.95%       97.59%       98.93%       99.06%

10/31/2020 Northeast     Caribbean            2590       97.95%       99.42%       99.50%       99.50%

                         Connecticut
10/31/2020 Northeast     Valley               4073       92.05%       96.37%       98.01%       98.26%
                         Greater
10/31/2020 Northeast     Boston              10411       90.88%       96.44%       98.39%       98.51%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

10/31/2020 Northeast    Long Island         16959       97.14%       98.70%       99.19%       99.27%

10/31/2020 Northeast    New York             7724       90.95%       95.71%       97.79%       97.92%

                        Northern New
10/31/2020 Northeast    England               461       61.61%       78.74%       91.54%       91.54%

                        Northern New
10/31/2020 Northeast    Jersey              21117       94.25%       97.70%       97.93%       98.00%
10/31/2020 Northeast    Triboro              6354       87.66%       93.17%       93.48%       93.59%

10/31/2020 Northeast    Westchester          5962       94.62%       97.85%       98.61%       98.86%

10/31/2020 Pacific      Bay-Valley          40526       97.85%       98.92%       99.19%       99.23%
10/31/2020 Pacific      Honolulu             5434       84.95%       98.09%       98.42%       98.47%

10/31/2020 Pacific      Los Angeles         37707       98.36%       99.11%       99.33%       99.34%

10/31/2020 Pacific      Sacramento          36834       97.07%       98.86%       99.16%       99.20%

10/31/2020 Pacific      San Diego           58214       98.11%       99.36%       99.67%       99.69%

10/31/2020 Pacific      San Francisco       23694       96.02%       98.52%       99.07%       99.11%

10/31/2020 Pacific      Santa Ana           30082       98.89%       99.57%       99.67%       99.68%

10/31/2020   Pacific    Sierra Coastal      24145       97.52%       98.57%       99.30%       99.32%
10/31/2020   Southern   Alabama               653       62.33%       81.32%       91.58%       91.58%
10/31/2020   Southern   Arkansas              545       85.50%       91.74%       97.06%       97.06%
10/31/2020   Southern   Dallas               3601       86.89%       95.95%       97.89%       97.89%

10/31/2020 Southern     Ft. Worth            1740       85.34%       90.17%       92.70%       93.45%

10/31/2020 Southern     Gulf Atlantic        7960       83.17%       94.35%       97.81%       97.95%
10/31/2020 Southern     Houston              2999       79.96%       89.60%       91.56%       91.86%

10/31/2020 Southern     Louisiana             486       57.00%       89.71%       94.44%       94.44%

10/31/2020 Southern     Mississippi           619       59.94%       89.98%       97.25%       97.58%

10/31/2020 Southern     Oklahoma              449       69.49%       86.19%       92.87%       92.87%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

10/31/2020 Southern     Rio Grande           2775       82.70%       93.37%       96.11%       96.22%

10/31/2020   Southern   South Florida        4219       84.33%       92.20%       96.33%       96.49%
10/31/2020   Southern   Suncoast            15484       92.46%       96.56%       98.25%       98.27%
10/31/2020   Western    Alaska               2811       91.71%       96.02%       97.51%       98.11%
10/31/2020   Western    Arizona             16317       88.97%       94.48%       97.45%       97.65%

10/31/2020 Western      Central Plains       3457       88.57%       93.75%       97.05%       97.11%

                        Colorado/Wyo
10/31/2020 Western      ming                10478       37.57%       53.15%       68.57%       69.83%
10/31/2020 Western      Dakotas              3230       87.89%       94.33%       97.68%       97.80%
10/31/2020 Western      Hawkeye              6071       94.20%       97.05%       98.53%       98.55%

10/31/2020 Western      Mid-Americas         3801       79.22%       92.24%       98.55%       98.68%

10/31/2020 Western      Nevada Sierra       18339       94.58%       98.82%       99.54%       99.55%

10/31/2020 Western      Northland            2585       74.55%       94.62%       97.60%       97.68%
10/31/2020 Western      Portland            16692       92.20%       97.76%       98.79%       99.09%

10/31/2020 Western      Salt Lake City      28722       94.60%       98.56%       99.55%       99.56%
10/31/2020 Western      Seattle             54975       94.65%       98.10%       98.82%       98.84%
           Capital
 11/2/2020 Metro        Atlanta              6550       61.47%       89.40%       94.79%       95.63%
           Capital
 11/2/2020 Metro        Baltimore           11541       85.14%       95.10%       98.26%       99.25%
           Capital
 11/2/2020 Metro        Capital              9293       90.30%       95.52%       97.68%       98.57%
           Capital      Greater S
 11/2/2020 Metro        Carolina             7814       79.77%       89.71%       93.84%       97.57%
           Capital
 11/2/2020 Metro        Greensboro          12202       70.88%       84.77%       93.17%       94.55%
           Capital
 11/2/2020 Metro        Mid-Carolinas       10147       74.01%       84.87%       94.98%       96.10%
           Capital      Norther
 11/2/2020 Metro        Virginia            13713       93.14%       95.89%       96.75%       97.12%
           Capital
 11/2/2020 Metro        Richmond            10822       89.66%       94.43%       95.92%       96.64%

 11/2/2020 Eastern      Appalachian          1194       71.69%       82.16%       84.00%       84.67%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

                         Central
 11/2/2020 Eastern       Pennsylvania        26087       68.88%       89.85%       94.01%       95.17%

 11/2/2020 Eastern       Kentuckiana           589       69.10%       83.87%       88.79%       90.15%

 11/2/2020 Eastern       Norther Ohio        15431       88.23%       93.95%       96.70%       97.27%

 11/2/2020 Eastern       Ohio Valley         15437       93.42%       96.90%       98.50%       98.90%

                         Philadelphia
 11/2/2020 Eastern       Metropo             15587       79.30%       87.34%       94.19%       97.38%

 11/2/2020 Eastern       South Jersey         9800       88.70%       92.37%       94.92%       97.14%

 11/2/2020 Eastern       Tennessee            5386       88.06%       94.15%       97.75%       98.40%

                         Western New
 11/2/2020 Eastern       York                 9391       94.78%       97.57%       98.10%       98.48%

                         Western
 11/2/2020 Eastern       Pennsylvania        12113       91.65%       95.41%       96.95%       99.08%

 11/2/2020 Great Lakes Central Illinois      14604       91.35%       96.60%       97.82%       98.51%

 11/2/2020 Great Lakes Chicago               13169       70.36%       75.28%       77.04%       77.23%

 11/2/2020 Great Lakes Detroit                3412       77.93%       87.87%       93.52%       95.60%

 11/2/2020 Great Lakes Gateway                3521       82.76%       90.85%       93.58%       94.92%
                       Greater
 11/2/2020 Great Lakes Indiana                 906       66.00%       87.09%       93.27%       96.36%
                       Greater
 11/2/2020 Great Lakes Michigan               4798       86.83%       95.02%       97.10%       97.92%

 11/2/2020 Great Lakes Lakeland               1558       80.68%       91.78%       95.06%       96.79%
 11/2/2020 Northeast Albany                  10410       95.05%       97.68%       98.45%       98.97%

 11/2/2020 Northeast     Caribbean            1556       96.40%       98.52%       99.04%       99.10%

                         Connecticut
 11/2/2020 Northeast     Valley               6622       93.13%       96.42%       97.46%       98.08%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot
                        Greater
 11/2/2020 Northeast    Boston              14302       90.52%       94.51%       96.15%       97.33%

 11/2/2020 Northeast    Long Island         11021       95.08%       96.96%       97.41%       97.59%

 11/2/2020 Northeast    New York            34775       96.21%       98.13%       98.74%       99.01%

                        Northern New
 11/2/2020 Northeast    England               441       72.34%       80.27%       87.76%       95.46%

                        Northern New
 11/2/2020 Northeast    Jersey              20747       96.10%       97.40%       98.11%       98.43%
 11/2/2020 Northeast    Triboro              9854       86.06%       88.90%       89.78%       89.93%

 11/2/2020 Northeast    Westchester          5054       91.18%       94.76%       96.95%       97.29%

 11/2/2020 Pacific      Bay-Valley          31451       95.34%       98.52%       98.75%       98.88%
 11/2/2020 Pacific      Honolulu             3571       75.75%       92.47%       96.42%       96.56%

 11/2/2020 Pacific      Los Angeles         25567       96.95%       97.89%       98.20%       98.38%

 11/2/2020 Pacific      Sacramento          30131       92.85%       96.00%       99.04%       99.08%

 11/2/2020 Pacific      San Diego           46712       97.75%       98.97%       99.38%       99.58%

 11/2/2020 Pacific      San Francisco       19354       96.17%       97.56%       97.91%       98.00%

 11/2/2020 Pacific      Santa Ana           21595       98.60%       99.13%       99.46%       99.62%

 11/2/2020   Pacific    Sierra Coastal      25831       96.85%       97.55%       97.82%       98.22%
 11/2/2020   Southern   Alabama              1126       68.21%       85.70%       95.03%       96.89%
 11/2/2020   Southern   Arkansas              889       88.19%       95.84%       98.09%       98.88%
 11/2/2020   Southern   Dallas               2655       90.73%       95.10%       98.04%       98.46%

 11/2/2020 Southern     Ft. Worth            1107       81.66%       85.55%       87.44%       88.71%

 11/2/2020 Southern     Gulf Atlantic        7142       78.52%       91.47%       95.86%       97.24%
 11/2/2020 Southern     Houston              2505       80.68%       89.62%       92.14%       93.33%

 11/2/2020 Southern     Louisiana             818       70.17%       83.86%       93.64%       95.60%

 11/2/2020 Southern     Mississippi           648       80.56%       91.05%       96.76%       98.30%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

 11/2/2020 Southern     Oklahoma              770       81.82%       92.99%       95.71%       97.92%

 11/2/2020 Southern     Rio Grande           2447       82.02%       90.36%       94.32%       97.59%

 11/2/2020   Southern   South Florida        2752       73.15%       83.90%       87.65%       93.57%
 11/2/2020   Southern   Suncoast            13674       90.00%       95.22%       97.10%       97.59%
 11/2/2020   Western    Alaska               2327       79.50%       84.70%       87.32%       87.92%
 11/2/2020   Western    Arizona             10945       82.76%       94.57%       96.10%       98.04%

 11/2/2020 Western      Central Plains       3183       86.08%       92.77%       97.11%       97.71%

                        Colorado/Wyo
 11/2/2020 Western      ming                10321       52.68%       71.00%       81.33%       89.32%
 11/2/2020 Western      Dakotas              3755       90.41%       94.65%       96.06%       97.66%
 11/2/2020 Western      Hawkeye              9520       94.37%       96.47%       97.18%       97.41%

 11/2/2020 Western      Mid-Americas         3691       81.63%       91.85%       97.16%       98.16%

 11/2/2020 Western      Nevada Sierra       12028       97.00%       98.66%       99.29%       99.53%

 11/2/2020 Western      Northland            1879       86.85%       95.10%       97.82%       98.46%
 11/2/2020 Western      Portland            13543       93.66%       97.24%       98.24%       98.92%

 11/2/2020 Western      Salt Lake City      24450       96.47%       98.79%       99.35%       99.54%
 11/2/2020 Western      Seattle             38510       94.89%       97.11%       97.81%       98.26%
           Capital
 11/3/2020 Metro        Atlanta              1713       81.03%       91.13%       94.75%       96.32%
           Capital
 11/3/2020 Metro        Baltimore            5830       90.60%       96.38%       98.44%       98.90%
           Capital
 11/3/2020 Metro        Capital              4072       90.82%       97.91%       98.48%       98.62%
           Capital      Greater S
 11/3/2020 Metro        Carolina             1705       70.44%       90.03%       94.60%       97.07%
           Capital
 11/3/2020 Metro        Greensboro           6247       71.97%       94.37%       97.33%       98.08%
           Capital
 11/3/2020 Metro        Mid-Carolinas        3369       79.13%       93.50%       95.84%       96.79%
           Capital      Norther
 11/3/2020 Metro        Virginia             5716       92.93%       96.29%       96.80%       96.96%
           Capital
 11/3/2020 Metro        Richmond             2674       83.96%       93.57%       94.61%       95.14%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

 11/3/2020 Eastern       Appalachian           613       37.52%       91.19%       92.66%       92.99%

                         Central
 11/3/2020 Eastern       Pennsylvania         9829       59.78%       88.91%       97.36%       98.70%

 11/3/2020 Eastern       Kentuckiana           208       57.21%       84.13%       85.58%       87.50%

 11/3/2020 Eastern       Norther Ohio         5292       92.37%       98.17%       99.00%       99.06%

 11/3/2020 Eastern       Ohio Valley          7953       94.69%       98.68%       99.22%       99.48%

                         Philadelphia
 11/3/2020 Eastern       Metropo              2810       65.16%       88.61%       92.92%       94.91%

 11/3/2020 Eastern       South Jersey        10613       96.84%       98.38%       98.72%       99.12%

 11/3/2020 Eastern       Tennessee             789       78.58%       93.92%       96.07%       97.08%

                         Western New
 11/3/2020 Eastern       York                 2460       92.24%       98.54%       99.31%       99.39%

                         Western
 11/3/2020 Eastern       Pennsylvania         5128       90.64%       97.19%       98.11%       98.40%

 11/3/2020 Great Lakes Central Illinois       9663       93.34%       98.02%       98.40%       98.74%

 11/3/2020 Great Lakes Chicago                8323       61.08%       73.09%       74.11%       74.54%

 11/3/2020 Great Lakes Detroit                 899       78.42%       87.54%       93.44%       94.88%

 11/3/2020 Great Lakes Gateway                1104       64.67%       91.76%       93.39%       94.93%
                       Greater
 11/3/2020 Great Lakes Indiana                 133       60.90%       88.72%       91.73%       93.98%
                       Greater
 11/3/2020 Great Lakes Michigan                781       82.46%       94.88%       97.31%       97.57%

 11/3/2020 Great Lakes Lakeland                593       74.70%       94.27%       98.48%       98.48%
 11/3/2020 Northeast Albany                   5141       91.03%       99.32%       99.59%       99.69%

 11/3/2020 Northeast     Caribbean            1296       98.77%       99.85%      100.00%      100.00%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

                        Connecticut
 11/3/2020 Northeast    Valley               1781       92.70%       99.05%       99.38%       99.55%
                        Greater
 11/3/2020 Northeast    Boston               6567       94.34%       98.63%       98.98%       99.25%

 11/3/2020 Northeast    Long Island         11405       97.25%       99.38%       99.47%       99.52%

 11/3/2020 Northeast    New York            10137       95.39%       99.09%       99.45%       99.68%

                        Northern New
 11/3/2020 Northeast    England               105       67.62%       82.86%       92.38%       95.24%

                        Northern New
 11/3/2020 Northeast    Jersey               6732       93.08%       98.93%       99.15%       99.38%
 11/3/2020 Northeast    Triboro              3187       91.03%       94.60%       95.42%       95.54%

 11/3/2020 Northeast    Westchester          3058       91.40%       98.56%       98.72%       98.86%

 11/3/2020 Pacific      Bay-Valley          44871       96.40%       96.89%       96.96%       96.97%
 11/3/2020 Pacific      Honolulu             3240       94.57%       97.93%       98.70%       98.89%

 11/3/2020 Pacific      Los Angeles         39120       98.67%       99.48%       99.50%       99.51%

 11/3/2020 Pacific      Sacramento          37130       98.39%       99.30%       99.33%       99.34%

 11/3/2020 Pacific      San Diego           62291       99.27%       99.85%       99.90%       99.93%

 11/3/2020 Pacific      San Francisco       16043       99.03%       99.58%       99.61%       99.68%

 11/3/2020 Pacific      Santa Ana           33569       98.07%       99.67%       99.72%       99.75%

 11/3/2020   Pacific    Sierra Coastal      16040       99.08%       99.63%       99.73%       99.79%
 11/3/2020   Southern   Alabama               286       62.59%       90.56%       95.45%       96.85%
 11/3/2020   Southern   Arkansas              116       70.69%       96.55%       99.14%       99.14%
 11/3/2020   Southern   Dallas                935       86.63%       96.58%       97.43%       98.93%

 11/3/2020 Southern     Ft. Worth             255       86.67%       92.55%       94.51%       94.90%

 11/3/2020 Southern     Gulf Atlantic        2094       82.00%       94.65%       96.32%       97.61%
 11/3/2020 Southern     Houston               663       83.71%       95.93%       96.38%       96.83%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

 11/3/2020 Southern     Louisiana             212       63.68%       91.98%       92.92%       98.11%

 11/3/2020 Southern     Mississippi           377       81.96%       96.82%       97.08%       97.08%

 11/3/2020 Southern     Oklahoma              238       69.33%       96.22%       97.48%       97.90%

 11/3/2020 Southern     Rio Grande            845       85.09%       96.45%       97.63%       97.99%

 11/3/2020   Southern   South Florida        1465       83.55%       95.63%       97.06%       97.88%
 11/3/2020   Southern   Suncoast             3397       84.37%       95.88%       97.44%       98.47%
 11/3/2020   Western    Alaska               2287       86.88%       95.63%       96.24%       96.46%
 11/3/2020   Western    Arizona              5067       91.71%       98.01%       98.60%       99.19%

 11/3/2020 Western      Central Plains       1586       93.00%       97.60%       97.92%       98.30%

                        Colorado/Wyo
 11/3/2020 Western      ming                 3273       49.04%       80.14%       89.46%       91.78%
 11/3/2020 Western      Dakotas               577       77.82%       93.07%       94.28%       95.32%
 11/3/2020 Western      Hawkeye              1652       92.86%       97.94%       98.24%       98.31%

 11/3/2020 Western      Mid-Americas         1629       86.49%       97.61%       98.34%       98.65%

 11/3/2020 Western      Nevada Sierra       15065       99.15%       99.81%       99.87%       99.91%

 11/3/2020 Western      Northland            1011       50.64%       98.02%       98.62%       98.91%
 11/3/2020 Western      Portland             8233       96.42%       99.11%       99.33%       99.53%

 11/3/2020 Western      Salt Lake City      30063       83.20%       99.84%       99.86%       99.90%
 11/3/2020 Western      Seattle             43745       98.63%       99.58%       99.67%       99.69%
           Capital
 11/4/2020 Metro        Atlanta               418       68.42%       79.67%       82.78%       85.89%
           Capital
 11/4/2020 Metro        Baltimore            4078       94.02%       94.83%       97.92%       98.92%
           Capital
 11/4/2020 Metro        Capital              2080       95.63%       96.49%       98.99%       99.57%
           Capital      Greater S
 11/4/2020 Metro        Carolina              394       68.53%       77.66%       90.86%       96.19%
           Capital
 11/4/2020 Metro        Greensboro           3936       88.92%       90.27%       96.29%       97.46%
           Capital
 11/4/2020 Metro        Mid-Carolinas        1622       89.70%       92.11%       95.31%       95.68%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area          District         Ballot     Ballot       Ballot       Ballot       Ballot
           Capital       Norther
 11/4/2020 Metro         Virginia             3925       94.09%       94.88%       96.48%       96.97%
           Capital
 11/4/2020 Metro         Richmond             2478       93.46%       94.71%       97.50%       97.78%

 11/4/2020 Eastern       Appalachian           185       80.54%       82.70%       91.89%       93.51%

                         Central
 11/4/2020 Eastern       Pennsylvania         3141       73.93%       78.19%       92.71%       96.31%

 11/4/2020 Eastern       Kentuckiana           115       63.48%       65.22%       80.87%       84.35%

 11/4/2020 Eastern       Norther Ohio         2406       95.01%       95.34%       98.09%       98.21%

 11/4/2020 Eastern       Ohio Valley          1957       91.21%       92.95%       98.62%       99.18%

                         Philadelphia
 11/4/2020 Eastern       Metropo              1527       77.34%       80.88%       92.40%       95.22%

 11/4/2020 Eastern       South Jersey         2006       90.18%       91.23%       93.62%       94.77%

 11/4/2020 Eastern       Tennessee             310       79.03%       88.06%       95.81%       96.77%

                         Western New
 11/4/2020 Eastern       York                  920       94.67%       95.54%       97.50%       97.72%

                         Western
 11/4/2020 Eastern       Pennsylvania         1499       82.45%       86.32%       97.53%       98.40%

 11/4/2020 Great Lakes Central Illinois       5582       96.29%       96.88%       98.48%       98.71%

 11/4/2020 Great Lakes Chicago               10986       35.14%       36.03%       36.46%       36.52%

 11/4/2020 Great Lakes Detroit                 317       77.29%       82.97%       93.69%       94.01%

 11/4/2020 Great Lakes Gateway                 339       79.35%       86.73%       92.33%       94.69%
                       Greater
 11/4/2020 Great Lakes Indiana                  73       79.45%       89.04%       94.52%       94.52%
                       Greater
 11/4/2020 Great Lakes Michigan                155       80.65%       88.39%       93.55%       94.19%

 11/4/2020 Great Lakes Lakeland                355       89.01%       90.70%       95.21%       95.49%
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                                         Measured      Processing    Processing    Processing    Processing
                                         Volume:       Score:        Score Plus    Score Plus    Score Plus
                                         Inbound       Inbound       1: Inbound    2: Inbound    3: Inbound
Date       Area         District         Ballot        Ballot        Ballot        Ballot        Ballot
 11/4/2020 Northeast    Albany                  1827        95.29%        96.77%        98.52%        98.52%

 11/4/2020 Northeast    Caribbean               179        94.97%        96.65%        98.32%        98.32%

                        Connecticut
 11/4/2020 Northeast    Valley                  756        91.67%        93.39%        98.28%        98.68%
                        Greater
 11/4/2020 Northeast    Boston                 2682        92.92%        94.52%        98.17%        98.77%

 11/4/2020 Northeast    Long Island            4691        97.83%        98.38%        98.89%        98.93%

 11/4/2020 Northeast    New York               7653        96.84%        97.62%        99.35%        99.43%

                        Northern New
 11/4/2020 Northeast    England                  83        85.54%        85.54%        92.77%        93.98%

                        Northern New
 11/4/2020 Northeast    Jersey                 3990        97.02%        97.74%        98.67%        98.75%
 11/4/2020 Northeast    Triboro                3040        90.46%        90.82%        91.55%        91.58%

 11/4/2020 Northeast    Westchester            1596        91.73%        93.48%        98.37%        98.50%

 11/4/2020 Pacific      Bay-Valley           32025         99.48%        99.56%        99.81%        99.83%
 11/4/2020 Pacific      Honolulu               222         86.94%        95.95%        97.75%        97.75%

 11/4/2020 Pacific      Los Angeles          24454         99.17%        99.38%        99.53%        99.55%

 11/4/2020 Pacific      Sacramento           24633         97.86%        97.95%        98.19%        98.20%

 11/4/2020 Pacific      San Diego            49496         99.78%        99.87%        99.91%        99.93%

 11/4/2020 Pacific      San Francisco          9752        98.44%        98.92%        99.10%        99.13%

 11/4/2020 Pacific      Santa Ana            22609         99.41%        99.44%        99.51%        99.52%

 11/4/2020   Pacific    Sierra Coastal         2886        85.24%        86.17%        87.18%        87.18%
 11/4/2020   Southern   Alabama                 153        83.01%        86.93%        96.08%        98.04%
 11/4/2020   Southern   Arkansas                 78        80.77%        85.90%        96.15%        96.15%
 11/4/2020   Southern   Dallas                  348        83.62%        90.52%        95.40%        95.69%

 11/4/2020 Southern     Ft. Worth               104        83.65%        90.38%        97.12%        98.08%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

 11/4/2020 Southern     Gulf Atlantic         549       77.41%       83.61%       93.26%       94.54%
 11/4/2020 Southern     Houston               276       84.06%       88.77%       91.30%       93.84%

 11/4/2020 Southern     Louisiana             128       85.16%       91.41%       96.09%      100.00%

 11/4/2020 Southern     Mississippi           204       88.24%       92.65%       96.08%       97.06%

 11/4/2020 Southern     Oklahoma              114       76.32%       80.70%       96.49%       98.25%

 11/4/2020 Southern     Rio Grande            369       88.35%       91.60%       97.56%       97.83%

 11/4/2020   Southern   South Florida         306       72.22%       84.31%       94.77%       95.10%
 11/4/2020   Southern   Suncoast              644       73.29%       80.43%       90.53%       95.19%
 11/4/2020   Western    Alaska               1184       86.82%       87.58%       88.77%       88.77%
 11/4/2020   Western    Arizona               702       87.18%       93.02%       94.87%       95.30%

 11/4/2020 Western      Central Plains        507       94.67%       96.45%       98.62%       99.01%

                        Colorado/Wyo
 11/4/2020 Western      ming                  920       40.11%       52.07%       79.67%       85.76%
 11/4/2020 Western      Dakotas               181       68.51%       76.24%       83.98%       88.40%
 11/4/2020 Western      Hawkeye               465       92.04%       93.33%       96.77%       96.77%

 11/4/2020 Western      Mid-Americas          350       81.71%       87.71%       95.43%       96.57%

 11/4/2020 Western      Nevada Sierra        8908       99.37%       99.58%       99.80%       99.83%

 11/4/2020 Western      Northland             165       90.30%       94.55%       96.97%       97.58%
 11/4/2020 Western      Portland             2713       97.09%       98.56%       99.41%       99.63%

 11/4/2020 Western      Salt Lake City       3231       98.61%       98.89%       99.54%       99.60%
 11/4/2020 Western      Seattle             27889       99.43%       99.66%       99.80%       99.82%
           Capital
 11/5/2020 Metro        Atlanta               356       79.21%       79.49%       85.96%       88.48%
           Capital
 11/5/2020 Metro        Baltimore            1072       70.24%       85.82%       89.65%       96.46%
           Capital
 11/5/2020 Metro        Capital               673       83.95%       91.08%       95.69%       98.22%
           Capital      Greater S
 11/5/2020 Metro        Carolina              208       71.63%       72.60%       77.40%       87.98%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area        District         Ballot     Ballot       Ballot       Ballot       Ballot
             Capital
 11/5/2020   Metro       Greensboro            944       62.92%       66.63%       68.64%       86.86%
             Capital
 11/5/2020   Metro       Mid-Carolinas         580       75.34%       80.34%       83.45%       93.62%
             Capital     Norther
 11/5/2020   Metro       Virginia              693       85.14%       90.19%       91.49%       92.35%
             Capital
 11/5/2020   Metro       Richmond             1047       86.82%       90.64%       92.84%       95.51%

 11/5/2020 Eastern       Appalachian           141       60.99%       73.76%       81.56%       90.07%

                         Central
 11/5/2020 Eastern       Pennsylvania         1189       47.35%       64.93%       68.46%       85.79%

 11/5/2020 Eastern       Kentuckiana            73       53.42%       54.79%       58.90%       84.93%

 11/5/2020 Eastern       Norther Ohio          694       87.32%       93.52%       94.81%       96.97%

 11/5/2020 Eastern       Ohio Valley          1088       87.04%       90.63%       96.69%       98.71%

                         Philadelphia
 11/5/2020 Eastern       Metropo               669       50.67%       63.98%       67.86%       90.43%

 11/5/2020 Eastern       South Jersey          885       80.45%       87.23%       88.47%       94.46%

 11/5/2020 Eastern       Tennessee             279       83.51%       84.23%       87.81%       94.62%

                         Western New
 11/5/2020 Eastern       York                  422       87.91%       88.15%       94.55%       96.92%

                         Western
 11/5/2020 Eastern       Pennsylvania          766       80.94%       88.64%       92.43%       96.87%

 11/5/2020 Great Lakes Central Illinois       2751       95.71%       96.58%       97.20%       98.15%

 11/5/2020 Great Lakes Chicago                4583       56.19%       56.58%       57.08%       57.63%

 11/5/2020 Great Lakes Detroit                 225       80.89%       85.78%       89.33%       93.33%

 11/5/2020 Great Lakes Gateway                 203       72.41%       73.89%       87.19%       91.63%
                       Greater
 11/5/2020 Great Lakes Indiana                  78       75.64%       76.92%       89.74%       94.87%
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                                        Measured   Processing   Processing   Processing   Processing
                                        Volume:    Score:       Score Plus   Score Plus   Score Plus
                                        Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area        District         Ballot     Ballot       Ballot       Ballot       Ballot
                       Greater
 11/5/2020 Great Lakes Michigan              157       89.17%       89.81%       92.99%       96.82%

 11/5/2020 Great Lakes Lakeland              130       82.31%       88.46%       90.00%       93.85%
 11/5/2020 Northeast Albany                  943       94.70%       97.67%       97.99%       99.79%

 11/5/2020 Northeast   Caribbean              39       89.74%       89.74%       94.87%       94.87%

                       Connecticut
 11/5/2020 Northeast   Valley                508       89.96%       91.93%       93.50%       95.47%
                       Greater
 11/5/2020 Northeast   Boston               1275       92.00%       94.04%       95.84%       97.49%

 11/5/2020 Northeast   Long Island           995       91.36%       95.88%       96.58%       97.29%

 11/5/2020 Northeast   New York             1897       96.31%       97.58%       98.21%       98.84%

                       Northern New
 11/5/2020 Northeast   England                35       80.00%       88.57%       88.57%       94.29%

                       Northern New
 11/5/2020 Northeast   Jersey               2722       96.11%       97.91%       98.02%       99.01%
 11/5/2020 Northeast   Triboro               729       87.79%       90.53%       94.10%       95.88%

 11/5/2020 Northeast   Westchester           718       91.50%       95.96%       97.08%       98.33%

 11/5/2020 Pacific     Bay-Valley           4715       98.20%       98.32%       98.81%       98.92%
 11/5/2020 Pacific     Honolulu              488       89.34%       92.42%       96.11%       98.36%

 11/5/2020 Pacific     Los Angeles          4022       97.91%       97.99%       98.46%       98.78%

 11/5/2020 Pacific     Sacramento           4892       97.67%       98.06%       98.51%       98.71%

 11/5/2020 Pacific     San Diego            6957       98.72%       98.79%       99.30%       99.58%

 11/5/2020 Pacific     San Francisco        1985       97.88%       98.24%       98.74%       98.99%

 11/5/2020 Pacific     Santa Ana            3050       85.41%       85.77%       86.98%       87.41%

 11/5/2020 Pacific     Sierra Coastal       2602       98.23%       98.35%       98.73%       98.92%
 11/5/2020 Southern    Alabama               127       82.68%       82.68%       85.83%       93.70%
 11/5/2020 Southern    Arkansas               56       80.36%       80.36%       83.93%       85.71%
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                                         Measured     Processing    Processing    Processing    Processing
                                         Volume:      Score:        Score Plus    Score Plus    Score Plus
                                         Inbound      Inbound       1: Inbound    2: Inbound    3: Inbound
Date       Area         District         Ballot       Ballot        Ballot        Ballot        Ballot
 11/5/2020 Southern     Dallas                  251        85.66%        85.66%        95.22%        97.21%

 11/5/2020 Southern     Ft. Worth               39        58.97%        58.97%        79.49%        82.05%

 11/5/2020 Southern     Gulf Atlantic          348        76.15%        77.01%        83.62%        92.53%
 11/5/2020 Southern     Houston                112        75.00%        75.00%        79.46%        86.61%

 11/5/2020 Southern     Louisiana              116        82.76%        84.48%        90.52%        95.69%

 11/5/2020 Southern     Mississippi             86        82.56%        82.56%        86.05%        89.53%

 11/5/2020 Southern     Oklahoma                85        65.88%        65.88%        67.06%        97.65%

 11/5/2020 Southern     Rio Grande             164        85.98%        85.98%        87.80%        97.56%

 11/5/2020   Southern   South Florida          262        79.77%        79.77%        84.35%        89.69%
 11/5/2020   Southern   Suncoast               675        82.52%        82.52%        89.48%        95.11%
 11/5/2020   Western    Alaska                 248        81.45%        83.06%        84.68%        85.89%
 11/5/2020   Western    Arizona               1025        94.24%        94.24%        95.32%        96.78%

 11/5/2020 Western      Central Plains         188        70.74%        79.79%        81.91%        93.09%

                        Colorado/Wyo
 11/5/2020 Western      ming                   608        57.40%        59.38%        67.43%        75.99%
 11/5/2020 Western      Dakotas                176        79.55%        84.09%        90.91%        93.75%
 11/5/2020 Western      Hawkeye                299        78.93%        85.62%        89.30%        92.98%

 11/5/2020 Western      Mid-Americas           234        73.50%        82.91%        90.60%        94.87%

 11/5/2020 Western      Nevada Sierra         1231        97.73%        98.21%        98.62%        99.68%

 11/5/2020 Western      Northland              136        86.03%        90.44%        91.91%        94.85%
 11/5/2020 Western      Portland              1423        92.97%        93.39%        97.61%        98.88%

 11/5/2020 Western      Salt Lake City        2005        98.15%        98.15%        98.60%        99.30%
 11/5/2020 Western      Seattle               4858        96.64%        96.81%        97.96%        98.54%
           Capital
 11/6/2020 Metro        Atlanta                276        71.38%        87.68%        87.68%        87.68%
           Capital
 11/6/2020 Metro        Baltimore              383        42.30%        63.97%        79.11%        81.72%
           Capital
 11/6/2020 Metro        Capital                270        60.74%        90.37%        92.22%        94.44%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area        District         Ballot     Ballot       Ballot       Ballot       Ballot
             Capital     Greater S
 11/6/2020   Metro       Carolina              106       61.32%       79.25%       79.25%       82.08%
             Capital
 11/6/2020   Metro       Greensboro            323       53.87%       79.26%       82.66%       83.90%
             Capital
 11/6/2020   Metro       Mid-Carolinas         213       56.81%       84.51%       84.98%       91.08%
             Capital     Norther
 11/6/2020   Metro       Virginia              286       63.99%       83.92%       87.41%       87.41%
             Capital
 11/6/2020   Metro       Richmond              563       73.53%       89.70%       93.43%       94.67%

 11/6/2020 Eastern       Appalachian            90       44.44%       76.67%       81.11%       82.22%

                         Central
 11/6/2020 Eastern       Pennsylvania          676       46.60%       75.59%       86.83%       88.31%

 11/6/2020 Eastern       Kentuckiana            44       72.73%       86.36%       86.36%       86.36%

 11/6/2020 Eastern       Norther Ohio          288       60.42%       89.58%       92.71%       93.75%

 11/6/2020 Eastern       Ohio Valley           370       52.16%       89.46%       93.24%       93.51%

                         Philadelphia
 11/6/2020 Eastern       Metropo               433       63.74%       81.06%       83.14%       85.68%

 11/6/2020 Eastern       South Jersey          323       72.45%       84.52%       87.62%       89.78%

 11/6/2020 Eastern       Tennessee             160       63.75%       86.88%       87.50%       87.50%

                         Western New
 11/6/2020 Eastern       York                  195       64.62%       88.21%       91.79%       96.41%

                         Western
 11/6/2020 Eastern       Pennsylvania          265       66.79%       84.15%       90.94%       94.34%

 11/6/2020 Great Lakes Central Illinois        829       80.70%       94.45%       96.26%       96.74%

 11/6/2020 Great Lakes Chicago                1595       46.58%       52.54%       52.92%       53.23%

 11/6/2020 Great Lakes Detroit                 206       55.34%       84.95%       84.95%       85.44%

 11/6/2020 Great Lakes Gateway                 127       53.54%       75.59%       76.38%       80.31%
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                                        Measured   Processing   Processing   Processing   Processing
                                        Volume:    Score:       Score Plus   Score Plus   Score Plus
                                        Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area        District         Ballot     Ballot       Ballot       Ballot       Ballot
                       Greater
 11/6/2020 Great Lakes Indiana                32       81.25%       87.50%       90.63%       90.63%
                       Greater
 11/6/2020 Great Lakes Michigan              117       64.96%       88.03%       88.03%       88.03%

 11/6/2020 Great Lakes Lakeland               66       63.64%       87.88%       87.88%       89.39%
 11/6/2020 Northeast Albany                  347       87.32%       97.41%       97.41%       97.98%

 11/6/2020 Northeast   Caribbean               7       42.86%       42.86%       42.86%       42.86%

                       Connecticut
 11/6/2020 Northeast   Valley                193       69.95%       83.42%       94.82%       94.82%
                       Greater
 11/6/2020 Northeast   Boston                351       88.32%       95.73%       95.73%       95.73%

 11/6/2020 Northeast   Long Island           416       67.07%       84.86%       94.47%       96.15%

 11/6/2020 Northeast   New York              563       81.88%       90.94%       92.72%       96.27%

                       Northern New
 11/6/2020 Northeast   England                23       65.22%       86.96%       91.30%       91.30%

                       Northern New
 11/6/2020 Northeast   Jersey                624       82.37%       92.31%       94.71%       95.51%
 11/6/2020 Northeast   Triboro               222       60.81%       75.23%       78.83%       80.18%

 11/6/2020 Northeast   Westchester           245       75.51%       91.43%       92.65%       92.65%

 11/6/2020 Pacific     Bay-Valley            917       89.31%       96.29%       96.62%       97.60%
 11/6/2020 Pacific     Honolulu              161       62.73%       71.43%       75.16%       77.64%

 11/6/2020 Pacific     Los Angeles           840       88.93%       93.69%       93.69%       94.64%

 11/6/2020 Pacific     Sacramento            721       90.29%       95.98%       95.98%       96.95%

 11/6/2020 Pacific     San Diego            1282       85.49%       96.88%       97.04%       98.36%

 11/6/2020 Pacific     San Francisco         381       90.55%       95.54%       96.06%       96.85%

 11/6/2020 Pacific     Santa Ana             421       94.30%       97.62%       98.34%       98.81%

 11/6/2020 Pacific     Sierra Coastal        587       86.37%       93.02%       93.02%       93.36%
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                                         Measured     Processing    Processing    Processing    Processing
                                         Volume:      Score:        Score Plus    Score Plus    Score Plus
                                         Inbound      Inbound       1: Inbound    2: Inbound    3: Inbound
Date         Area       District         Ballot       Ballot        Ballot        Ballot        Ballot
 11/6/2020   Southern   Alabama                  82        57.32%        86.59%        87.80%        93.90%
 11/6/2020   Southern   Arkansas                 12        58.33%        66.67%        66.67%        66.67%
 11/6/2020   Southern   Dallas                   92        60.87%        70.65%        71.74%        82.61%

 11/6/2020 Southern     Ft. Worth               31        61.29%        74.19%        74.19%        77.42%

 11/6/2020 Southern     Gulf Atlantic          172        63.37%        92.44%        92.44%        94.77%
 11/6/2020 Southern     Houston                 35        62.86%        85.71%        85.71%        94.29%

 11/6/2020 Southern     Louisiana               89        77.53%        88.76%        88.76%        92.13%

 11/6/2020 Southern     Mississippi             61        80.33%        93.44%        93.44%        96.72%

 11/6/2020 Southern     Oklahoma                59        67.80%        81.36%        81.36%        81.36%

 11/6/2020 Southern     Rio Grande              62        77.42%        91.94%        91.94%        93.55%

 11/6/2020   Southern   South Florida          145        63.45%        94.48%        94.48%        96.55%
 11/6/2020   Southern   Suncoast               271        78.97%        90.41%        90.41%        91.88%
 11/6/2020   Western    Alaska                 113        79.65%        85.84%        88.50%        91.15%
 11/6/2020   Western    Arizona                317        85.80%        93.06%        93.06%        93.38%

 11/6/2020 Western      Central Plains          93        62.37%        76.34%        77.42%        79.57%

                        Colorado/Wyo
 11/6/2020 Western      ming                   553        43.58%        79.57%        79.93%        80.83%
 11/6/2020 Western      Dakotas                115        68.70%        80.00%        80.00%        83.48%
 11/6/2020 Western      Hawkeye                109        67.89%        86.24%        86.24%        86.24%

 11/6/2020 Western      Mid-Americas           130        43.08%        86.92%        88.46%        90.77%

 11/6/2020 Western      Nevada Sierra          311        92.28%        97.11%        97.43%        98.07%

 11/6/2020 Western      Northland               82        67.07%        93.90%        93.90%        93.90%
 11/6/2020 Western      Portland               937        74.81%        84.85%        96.37%        97.23%

 11/6/2020 Western      Salt Lake City         356        76.69%        93.54%        93.54%        94.38%
 11/6/2020 Western      Seattle               1022        78.47%        91.98%        92.47%        93.44%
           Capital
 11/7/2020 Metro        Atlanta                160        41.25%        80.63%        86.25%        86.25%
           Capital
 11/7/2020 Metro        Baltimore              186        60.75%        77.42%        90.32%        93.55%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area        District         Ballot     Ballot       Ballot       Ballot       Ballot
             Capital
 11/7/2020   Metro       Capital               133       66.92%       79.70%       90.23%       93.23%
             Capital     Greater S
 11/7/2020   Metro       Carolina               78       67.95%       79.49%       91.03%       91.03%
             Capital
 11/7/2020   Metro       Greensboro            145       39.31%       56.55%       83.45%       84.14%
             Capital
 11/7/2020   Metro       Mid-Carolinas         102       45.10%       77.45%       86.27%       86.27%
             Capital     Norther
 11/7/2020   Metro       Virginia              112       47.32%       75.89%       91.96%       92.86%
             Capital
 11/7/2020   Metro       Richmond              145       56.55%       77.93%       91.72%       93.79%

 11/7/2020 Eastern       Appalachian            40       22.50%       57.50%       95.00%       95.00%

                         Central
 11/7/2020 Eastern       Pennsylvania          441       15.19%       27.21%       38.78%       40.14%

 11/7/2020 Eastern       Kentuckiana            11       45.45%       63.64%       63.64%       63.64%

 11/7/2020 Eastern       Norther Ohio          125       52.00%       78.40%       92.00%       92.00%

 11/7/2020 Eastern       Ohio Valley           107       47.66%       74.77%       88.79%       88.79%

                         Philadelphia
 11/7/2020 Eastern       Metropo               157       24.20%       63.06%       73.89%       75.16%

 11/7/2020 Eastern       South Jersey           98       57.14%       70.41%       81.63%       83.67%

 11/7/2020 Eastern       Tennessee              52       67.31%       84.62%       86.54%       86.54%

                         Western New
 11/7/2020 Eastern       York                   80       58.75%       86.25%       96.25%       96.25%

                         Western
 11/7/2020 Eastern       Pennsylvania           87       65.52%       77.01%       82.76%       82.76%

 11/7/2020 Great Lakes Central Illinois        218       50.46%       76.15%       87.61%       88.53%

 11/7/2020 Great Lakes Chicago                 300       37.00%       52.67%       60.33%       60.33%

 11/7/2020 Great Lakes Detroit                  83       51.81%       65.06%       72.29%       72.29%
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                                       Measured   Processing   Processing   Processing   Processing
                                       Volume:    Score:       Score Plus   Score Plus   Score Plus
                                       Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area        District        Ballot     Ballot       Ballot       Ballot       Ballot

 11/7/2020 Great Lakes Gateway               71       50.70%       78.87%       85.92%       85.92%
                       Greater
 11/7/2020 Great Lakes Indiana               16       50.00%       81.25%       81.25%       81.25%
                       Greater
 11/7/2020 Great Lakes Michigan              63       22.22%       69.84%       77.78%       77.78%

 11/7/2020 Great Lakes Lakeland              59       30.51%       50.85%       76.27%       76.27%
 11/7/2020 Northeast Albany                 124       71.77%       85.48%       92.74%       92.74%

 11/7/2020 Northeast   Caribbean              8       37.50%       50.00%       75.00%       75.00%

                       Connecticut
 11/7/2020 Northeast   Valley                65       84.62%       93.85%       96.92%       96.92%
                       Greater
 11/7/2020 Northeast   Boston               130       75.38%       88.46%       90.77%       90.77%

 11/7/2020 Northeast   Long Island          105       63.81%       76.19%       89.52%       91.43%

 11/7/2020 Northeast   New York             152       87.50%       90.13%       91.45%       92.11%

                       Northern New
 11/7/2020 Northeast   England               14       50.00%       64.29%       71.43%       71.43%

                       Northern New
 11/7/2020 Northeast   Jersey               167       74.85%       86.23%       89.22%       89.22%
 11/7/2020 Northeast   Triboro              138       59.42%       74.64%       80.43%       81.16%

 11/7/2020 Northeast   Westchester           61       86.89%       91.80%       93.44%       93.44%

 11/7/2020 Pacific     Bay-Valley           265       77.36%       86.42%       94.72%       96.23%
 11/7/2020 Pacific     Honolulu              45       57.78%       71.11%       80.00%       82.22%

 11/7/2020 Pacific     Los Angeles          307       89.58%       94.46%       95.44%       95.44%

 11/7/2020 Pacific     Sacramento           334       77.25%       79.04%       82.63%       83.23%

 11/7/2020 Pacific     San Diego            385       76.88%       88.57%       95.58%       96.10%

 11/7/2020 Pacific     San Francisco         94       77.66%       86.17%       91.49%       91.49%

 11/7/2020 Pacific     Santa Ana            156       90.38%       93.59%       97.44%       97.44%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

 11/7/2020   Pacific    Sierra Coastal        163       81.60%       89.57%       90.18%       90.18%
 11/7/2020   Southern   Alabama                41       36.59%       87.80%       97.56%       97.56%
 11/7/2020   Southern   Arkansas               16       31.25%       56.25%       56.25%       56.25%
 11/7/2020   Southern   Dallas                 63       69.84%       76.19%       80.95%       80.95%

 11/7/2020 Southern     Ft. Worth              22       68.18%       81.82%       86.36%       86.36%

 11/7/2020 Southern     Gulf Atlantic          89       52.81%       82.02%       87.64%       87.64%
 11/7/2020 Southern     Houston                30       56.67%       76.67%       86.67%       86.67%

 11/7/2020 Southern     Louisiana              34       58.82%       79.41%       94.12%       94.12%

 11/7/2020 Southern     Mississippi            23       47.83%       65.22%       78.26%       78.26%

 11/7/2020 Southern     Oklahoma               19       52.63%       73.68%       89.47%       89.47%

 11/7/2020 Southern     Rio Grande             31       58.06%       77.42%       87.10%       87.10%

 11/7/2020   Southern   South Florida          78       46.15%       73.08%       92.31%       92.31%
 11/7/2020   Southern   Suncoast              147       58.50%       64.63%       68.03%       68.03%
 11/7/2020   Western    Alaska                 71       64.79%       71.83%       73.24%       76.06%
 11/7/2020   Western    Arizona               307       84.69%       89.25%       91.86%       92.51%

 11/7/2020 Western      Central Plains         37       54.05%       67.57%       75.68%       75.68%

                        Colorado/Wyo
 11/7/2020 Western      ming                  546       23.26%       44.32%       61.36%       61.72%
 11/7/2020 Western      Dakotas                56       42.86%       57.14%       67.86%       67.86%
 11/7/2020 Western      Hawkeye                43       53.49%       81.40%       95.35%       95.35%

 11/7/2020 Western      Mid-Americas           67       38.81%       65.67%       89.55%       89.55%

 11/7/2020 Western      Nevada Sierra         117       83.76%       88.89%       94.02%       94.02%

 11/7/2020 Western      Northland              35       57.14%       74.29%       74.29%       74.29%
 11/7/2020 Western      Portland              442       57.01%       81.67%       88.69%       90.05%

 11/7/2020 Western      Salt Lake City        175       42.29%       57.71%       64.00%       65.14%
 11/7/2020 Western      Seattle               448       75.00%       89.06%       93.08%       93.53%
           Capital
 11/9/2020 Metro        Atlanta               113       58.41%       69.03%       79.65%       81.42%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area        District         Ballot     Ballot       Ballot       Ballot       Ballot
             Capital
 11/9/2020   Metro       Baltimore             138       60.87%       66.67%       78.99%       82.61%
             Capital
 11/9/2020   Metro       Capital               165       81.82%       85.45%       89.09%       89.70%
             Capital     Greater S
 11/9/2020   Metro       Carolina               50       38.00%       54.00%       62.00%       62.00%
             Capital
 11/9/2020   Metro       Greensboro            147       27.89%       48.98%       60.54%       75.51%
             Capital
 11/9/2020   Metro       Mid-Carolinas          89       42.70%       64.04%       80.90%       88.76%
             Capital     Norther
 11/9/2020   Metro       Virginia              105       41.90%       53.33%       68.57%       83.81%
             Capital
 11/9/2020   Metro       Richmond              182       56.04%       76.37%       87.36%       91.76%

 11/9/2020 Eastern       Appalachian            23        4.35%       47.83%       47.83%       47.83%

                         Central
 11/9/2020 Eastern       Pennsylvania          257       21.01%       31.13%       51.36%       59.92%

 11/9/2020 Eastern       Kentuckiana            23       39.13%       52.17%       69.57%       69.57%

 11/9/2020 Eastern       Norther Ohio           92       55.43%       68.48%       83.70%       89.13%

 11/9/2020 Eastern       Ohio Valley           107       50.47%       72.90%       85.98%       91.59%

                         Philadelphia
 11/9/2020 Eastern       Metropo               278       59.35%       76.26%       83.09%       85.97%

 11/9/2020 Eastern       South Jersey          105       58.10%       66.67%       74.29%       79.05%

 11/9/2020 Eastern       Tennessee              62       51.61%       70.97%       83.87%       87.10%

                         Western New
 11/9/2020 Eastern       York                   41       73.17%       80.49%       80.49%       85.37%

                         Western
 11/9/2020 Eastern       Pennsylvania           82       62.20%       70.73%       74.39%       79.27%

 11/9/2020 Great Lakes Central Illinois        213       37.56%       61.50%       77.00%       88.73%

 11/9/2020 Great Lakes Chicago                 174       24.71%       44.25%       48.28%       56.32%
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                                       Measured   Processing   Processing   Processing   Processing
                                       Volume:    Score:       Score Plus   Score Plus   Score Plus
                                       Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area        District        Ballot     Ballot       Ballot       Ballot       Ballot

 11/9/2020 Great Lakes Detroit               78       58.97%       64.10%       69.23%       74.36%

 11/9/2020 Great Lakes Gateway               47       23.40%       40.43%       51.06%       57.45%
                       Greater
 11/9/2020 Great Lakes Indiana               17       35.29%       41.18%       52.94%       52.94%
                       Greater
 11/9/2020 Great Lakes Michigan              47       59.57%       76.60%       78.72%       78.72%

 11/9/2020 Great Lakes Lakeland              21       42.86%       61.90%       76.19%       90.48%
 11/9/2020 Northeast Albany                 101       78.22%       88.12%       94.06%       96.04%

 11/9/2020 Northeast   Caribbean              5       60.00%      100.00%      100.00%      100.00%

                       Connecticut
 11/9/2020 Northeast   Valley                89       76.40%       82.02%       86.52%       88.76%
                       Greater
 11/9/2020 Northeast   Boston               128       53.91%       69.53%       82.81%       83.59%

 11/9/2020 Northeast   Long Island           84       48.81%       57.14%       70.24%       71.43%

 11/9/2020 Northeast   New York             273       73.63%       86.08%       89.38%       91.21%

                       Northern New
 11/9/2020 Northeast   England               10       60.00%       70.00%       70.00%       70.00%

                       Northern New
 11/9/2020 Northeast   Jersey               144       67.36%       75.69%       81.94%       82.64%
 11/9/2020 Northeast   Triboro               65       60.00%       67.69%       70.77%       72.31%

 11/9/2020 Northeast   Westchester           89       62.92%       82.02%       87.64%       91.01%

 11/9/2020 Pacific     Bay-Valley           171       76.02%       85.38%       90.06%       92.40%
 11/9/2020 Pacific     Honolulu              68       61.76%       70.59%       88.24%       89.71%

 11/9/2020 Pacific     Los Angeles          198       81.82%       87.37%       90.40%       92.42%

 11/9/2020 Pacific     Sacramento           443       89.16%       91.87%       94.36%       95.71%

 11/9/2020 Pacific     San Diego            202       61.39%       73.27%       87.62%       88.61%

 11/9/2020 Pacific     San Francisco        131       83.21%       92.37%       94.66%       94.66%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

 11/9/2020 Pacific      Santa Ana              74       77.03%       82.43%       94.59%       95.95%

 11/9/2020   Pacific    Sierra Coastal        154       76.62%       85.06%       87.66%       87.66%
 11/9/2020   Southern   Alabama                36       44.44%       52.78%       75.00%       80.56%
 11/9/2020   Southern   Arkansas                6       83.33%      100.00%      100.00%      100.00%
 11/9/2020   Southern   Dallas                 45       64.44%       75.56%       86.67%       93.33%

 11/9/2020 Southern     Ft. Worth              11       18.18%       36.36%       45.45%       45.45%

 11/9/2020 Southern     Gulf Atlantic          87       49.43%       63.22%       73.56%       80.46%
 11/9/2020 Southern     Houston                30       50.00%       63.33%       66.67%       73.33%

 11/9/2020 Southern     Louisiana              26       57.69%       73.08%       76.92%       76.92%

 11/9/2020 Southern     Mississippi            18       22.22%       50.00%       61.11%       88.89%

 11/9/2020 Southern     Oklahoma               18       44.44%       77.78%       77.78%       77.78%

 11/9/2020 Southern     Rio Grande             41       36.59%       41.46%       58.54%       58.54%

 11/9/2020   Southern   South Florida          45       55.56%       68.89%       75.56%       75.56%
 11/9/2020   Southern   Suncoast              103       48.54%       64.08%       67.96%       77.67%
 11/9/2020   Western    Alaska                 39       56.41%       61.54%       66.67%       69.23%
 11/9/2020   Western    Arizona               173       76.30%       85.55%       92.49%       94.22%

 11/9/2020 Western      Central Plains         38       55.26%       73.68%       84.21%       84.21%

                        Colorado/Wyo
 11/9/2020 Western      ming                  611       16.04%       45.50%       62.19%       75.12%
 11/9/2020 Western      Dakotas                38       63.16%       73.68%       86.84%       89.47%
 11/9/2020 Western      Hawkeye                41       56.10%       60.98%       68.29%       73.17%

 11/9/2020 Western      Mid-Americas           48       50.00%       54.17%       85.42%       91.67%

 11/9/2020 Western      Nevada Sierra          83       81.93%       86.75%       89.16%       92.77%

 11/9/2020 Western      Northland              28       42.86%       67.86%       85.71%       89.29%
 11/9/2020 Western      Portland              193       70.98%       78.76%       93.26%       94.82%

 11/9/2020 Western      Salt Lake City        125       71.20%       80.80%       83.20%       86.40%
 11/9/2020 Western      Seattle               277       56.68%       69.68%       80.14%       85.20%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area        District         Ballot     Ballot       Ballot       Ballot       Ballot
             Capital
11/10/2020   Metro       Atlanta                40       55.00%       75.00%       75.00%       80.00%
             Capital
11/10/2020   Metro       Baltimore              54       70.37%       79.63%       81.48%       83.33%
             Capital
11/10/2020   Metro       Capital                39       74.36%       79.49%       84.62%       92.31%
             Capital     Greater S
11/10/2020   Metro       Carolina              102       86.27%       88.24%       90.20%       92.16%
             Capital
11/10/2020   Metro       Greensboro             52       51.92%       67.31%       75.00%       76.92%
             Capital
11/10/2020   Metro       Mid-Carolinas          47       61.70%       74.47%       80.85%       85.11%
             Capital     Norther
11/10/2020   Metro       Virginia               27       62.96%       70.37%       77.78%       77.78%
             Capital
11/10/2020   Metro       Richmond               24       41.67%       70.83%       83.33%       83.33%

11/10/2020 Eastern       Appalachian            12       33.33%       41.67%       41.67%       41.67%

                         Central
11/10/2020 Eastern       Pennsylvania          164       67.07%       73.17%       76.83%       81.71%

11/10/2020 Eastern       Kentuckiana             5       60.00%       60.00%       80.00%       80.00%

11/10/2020 Eastern       Norther Ohio           22       45.45%       72.73%       72.73%       72.73%

11/10/2020 Eastern       Ohio Valley            32       50.00%       71.88%       75.00%       81.25%

                         Philadelphia
11/10/2020 Eastern       Metropo                64       21.88%       28.13%       39.06%       46.88%

11/10/2020 Eastern       South Jersey           43       58.14%       65.12%       65.12%       65.12%

11/10/2020 Eastern       Tennessee              20       35.00%       50.00%       55.00%       60.00%

                         Western New
11/10/2020 Eastern       York                   23       65.22%       65.22%       65.22%       69.57%

                         Western
11/10/2020 Eastern       Pennsylvania           18       55.56%       61.11%       61.11%       66.67%

11/10/2020 Great Lakes Central Illinois         72       54.17%       65.28%       88.89%       94.44%
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                                      Measured   Processing   Processing   Processing   Processing
                                      Volume:    Score:       Score Plus   Score Plus   Score Plus
                                      Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area       District       Ballot     Ballot       Ballot       Ballot       Ballot

11/10/2020 Great Lakes Chicago              53       45.28%       54.72%       81.13%       83.02%

11/10/2020 Great Lakes Detroit              27       59.26%       74.07%       81.48%       96.30%

11/10/2020 Great Lakes Gateway              21       28.57%       38.10%       38.10%       47.62%
                       Greater
11/10/2020 Great Lakes Indiana              11       27.27%       45.45%       45.45%       63.64%
                       Greater
11/10/2020 Great Lakes Michigan             16       31.25%       50.00%       56.25%       56.25%

11/10/2020 Great Lakes Lakeland              7       14.29%       28.57%       42.86%       42.86%
11/10/2020 Northeast Albany                 24       58.33%       75.00%       75.00%       79.17%

11/10/2020 Northeast   Caribbean             2        0.00%      100.00%      100.00%      100.00%

                       Connecticut
11/10/2020 Northeast   Valley               34       88.24%       91.18%       91.18%       91.18%
                       Greater
11/10/2020 Northeast   Boston               71       66.20%       73.24%       76.06%       81.69%

11/10/2020 Northeast   Long Island           2       50.00%      100.00%      100.00%      100.00%

11/10/2020 Northeast   New York             71       76.06%       88.73%       92.96%       94.37%

                       Northern New
11/10/2020 Northeast   England               4       75.00%       75.00%       75.00%       75.00%

                       Northern New
11/10/2020 Northeast   Jersey               57       78.95%       91.23%       91.23%       91.23%
11/10/2020 Northeast   Triboro              28       67.86%       67.86%       75.00%       78.57%

11/10/2020 Northeast   Westchester          29       72.41%       89.66%       93.10%       93.10%

11/10/2020 Pacific     Bay-Valley           84       88.10%       90.48%       90.48%       90.48%
11/10/2020 Pacific     Honolulu             32       40.63%       84.38%       84.38%       84.38%

11/10/2020 Pacific     Los Angeles         128       67.19%       80.47%       83.59%       84.38%

11/10/2020 Pacific     Sacramento          660       94.55%       99.09%       99.39%       99.39%

11/10/2020 Pacific     San Diego           152       65.79%       86.18%       88.16%       92.11%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

11/10/2020 Pacific      San Francisco          76       78.95%       85.53%       86.84%       88.16%

11/10/2020 Pacific      Santa Ana              34       67.65%       67.65%       67.65%       73.53%

11/10/2020   Pacific    Sierra Coastal         76       80.26%       94.74%       96.05%       98.68%
11/10/2020   Southern   Alabama                15       26.67%       40.00%       46.67%       66.67%
11/10/2020   Southern   Arkansas                4        0.00%       25.00%       25.00%       25.00%
11/10/2020   Southern   Dallas                 18       44.44%       55.56%       61.11%       61.11%

11/10/2020 Southern     Ft. Worth               4       50.00%       50.00%       50.00%       50.00%

11/10/2020 Southern     Gulf Atlantic          49       48.98%       63.27%       63.27%       63.27%
11/10/2020 Southern     Houston                13       46.15%       53.85%       61.54%       61.54%

11/10/2020 Southern     Louisiana               5       40.00%       40.00%       40.00%       60.00%

11/10/2020 Southern     Mississippi             2       50.00%      100.00%      100.00%      100.00%

11/10/2020 Southern     Oklahoma                4       25.00%       25.00%       25.00%       25.00%

11/10/2020 Southern     Rio Grande             12       41.67%       75.00%       75.00%       75.00%

11/10/2020   Southern   South Florida          27       51.85%       70.37%       70.37%       70.37%
11/10/2020   Southern   Suncoast               42       69.05%       80.95%       83.33%       90.48%
11/10/2020   Western    Alaska                 12       58.33%       66.67%       66.67%       66.67%
11/10/2020   Western    Arizona                77       74.03%       88.31%       88.31%       89.61%

11/10/2020 Western      Central Plains         10       20.00%       20.00%       30.00%       40.00%

                        Colorado/Wyo
11/10/2020 Western      ming                  105       14.29%       53.33%       71.43%       81.90%
11/10/2020 Western      Dakotas                15       53.33%       73.33%       80.00%       80.00%
11/10/2020 Western      Hawkeye                12       75.00%       83.33%       83.33%       83.33%

11/10/2020 Western      Mid-Americas           29       65.52%       75.86%       82.76%       82.76%

11/10/2020 Western      Nevada Sierra          27       81.48%       96.30%      100.00%      100.00%

11/10/2020 Western      Northland              12       41.67%       58.33%       58.33%       58.33%
11/10/2020 Western      Portland               52       53.85%       76.92%       86.54%       86.54%
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                                      Measured   Processing   Processing   Processing   Processing
                                      Volume:    Score:       Score Plus   Score Plus   Score Plus
                                      Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area      District         Ballot     Ballot       Ballot       Ballot       Ballot

11/10/2020 Western   Salt Lake City         50       78.00%       88.00%       92.00%       94.00%
11/10/2020 Western   Seattle               144       69.44%       77.08%       79.86%       82.64%
           Capital
11/12/2020 Metro     Atlanta               113       82.30%       83.19%       86.73%       86.73%
           Capital
11/12/2020 Metro     Baltimore              76       69.74%       72.37%       76.32%       77.63%
           Capital
11/12/2020 Metro     Capital                48       87.50%       93.75%       93.75%       93.75%
           Capital   Greater S
11/12/2020 Metro     Carolina               69       89.86%       92.75%       94.20%       94.20%
           Capital
11/12/2020 Metro     Greensboro             42       52.38%       59.52%       69.05%       71.43%
           Capital
11/12/2020 Metro     Mid-Carolinas          45       46.67%       53.33%       55.56%       57.78%
           Capital   Norther
11/12/2020 Metro     Virginia               31       77.42%       77.42%       80.65%       83.87%
           Capital
11/12/2020 Metro     Richmond               49       71.43%       71.43%       75.51%       77.55%

11/12/2020 Eastern   Appalachian             6       33.33%       33.33%       50.00%       50.00%

                     Central
11/12/2020 Eastern   Pennsylvania          130       25.38%       26.15%       26.15%       27.69%

11/12/2020 Eastern   Kentuckiana             6       33.33%       33.33%       50.00%       50.00%

11/12/2020 Eastern   Norther Ohio           31       64.52%       67.74%       74.19%       77.42%

11/12/2020 Eastern   Ohio Valley            33       60.61%       60.61%       60.61%       63.64%

                     Philadelphia
11/12/2020 Eastern   Metropo                98       67.35%       70.41%       76.53%       76.53%

11/12/2020 Eastern   South Jersey           88       70.45%       70.45%       76.14%       76.14%

11/12/2020 Eastern   Tennessee              29       31.03%       34.48%       34.48%       34.48%

                     Western New
11/12/2020 Eastern   York                   25       56.00%       56.00%       64.00%       64.00%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

                         Western
11/12/2020 Eastern       Pennsylvania           27       74.07%       77.78%       81.48%       81.48%

11/12/2020 Great Lakes Central Illinois         77       75.32%       75.32%       88.31%       89.61%

11/12/2020 Great Lakes Chicago                  82       23.17%       23.17%       34.15%       41.46%

11/12/2020 Great Lakes Detroit                  63       73.02%       74.60%       76.19%       77.78%

11/12/2020 Great Lakes Gateway                  33       54.55%       57.58%       60.61%       60.61%
                       Greater
11/12/2020 Great Lakes Indiana                   7       71.43%       71.43%       71.43%       71.43%
                       Greater
11/12/2020 Great Lakes Michigan                 31       77.42%       77.42%       80.65%       83.87%

11/12/2020 Great Lakes Lakeland                 11       63.64%       63.64%       63.64%       63.64%
11/12/2020 Northeast Albany                    177       89.27%       89.83%       89.83%       89.83%

11/12/2020 Northeast     Caribbean               4        0.00%        0.00%        0.00%        0.00%

                         Connecticut
11/12/2020 Northeast     Valley                 42       83.33%       83.33%       83.33%       83.33%
                         Greater
11/12/2020 Northeast     Boston                 50       72.00%       72.00%       74.00%       80.00%

11/12/2020 Northeast     Long Island            30       53.33%       53.33%       60.00%       60.00%

11/12/2020 Northeast     New York              190       91.05%       92.11%       94.74%       95.26%

                         Northern New
11/12/2020 Northeast     England                18       77.78%       77.78%       77.78%       77.78%

                         Northern New
11/12/2020 Northeast     Jersey                 74       50.00%       51.35%       60.81%       62.16%
11/12/2020 Northeast     Triboro                35       74.29%       74.29%       74.29%       77.14%

11/12/2020 Northeast     Westchester            92       75.00%       75.00%       76.09%       77.17%

11/12/2020 Pacific       Bay-Valley            131       74.81%       76.34%       77.10%       79.39%
11/12/2020 Pacific       Honolulu               37       72.97%       75.68%       83.78%       83.78%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

11/12/2020 Pacific      Los Angeles           158       75.32%       75.32%       76.58%       76.58%

11/12/2020 Pacific      Sacramento            789       51.33%       51.84%       95.69%       95.82%

11/12/2020 Pacific      San Diego             117       82.91%       84.62%       85.47%       88.03%

11/12/2020 Pacific      San Francisco          65       78.46%       78.46%       83.08%       83.08%

11/12/2020 Pacific      Santa Ana              49       73.47%       79.59%       81.63%       83.67%

11/12/2020   Pacific    Sierra Coastal         75       88.00%       89.33%       89.33%       90.67%
11/12/2020   Southern   Alabama                18       72.22%       72.22%       72.22%       72.22%
11/12/2020   Southern   Arkansas                8       75.00%       75.00%       75.00%       75.00%
11/12/2020   Southern   Dallas                 19       68.42%       73.68%       78.95%       84.21%

11/12/2020 Southern     Ft. Worth              22       45.45%       45.45%       50.00%       50.00%

11/12/2020 Southern     Gulf Atlantic          35       57.14%       62.86%       68.57%       68.57%
11/12/2020 Southern     Houston                21       80.95%       80.95%       80.95%       80.95%

11/12/2020 Southern     Louisiana              10       50.00%       50.00%       60.00%       70.00%

11/12/2020 Southern     Mississippi             7       42.86%       42.86%       42.86%       71.43%

11/12/2020 Southern     Oklahoma               15       40.00%       40.00%       46.67%       46.67%

11/12/2020 Southern     Rio Grande             20       55.00%       55.00%       60.00%       60.00%

11/12/2020   Southern   South Florida          23       43.48%       52.17%       56.52%       65.22%
11/12/2020   Southern   Suncoast               44       63.64%       65.91%       75.00%       79.55%
11/12/2020   Western    Alaska                 15       60.00%       60.00%       86.67%       86.67%
11/12/2020   Western    Arizona                46       89.13%       93.48%       95.65%       95.65%

11/12/2020 Western      Central Plains         15       80.00%       80.00%       80.00%       93.33%

                        Colorado/Wyo
11/12/2020 Western      ming                  103       17.48%       18.45%       30.10%       59.22%
11/12/2020 Western      Dakotas                39       76.92%       76.92%       76.92%       76.92%
11/12/2020 Western      Hawkeye                17       58.82%       64.71%       82.35%       82.35%

11/12/2020 Western      Mid-Americas           18       77.78%       77.78%       88.89%       88.89%
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                                      Measured   Processing   Processing   Processing   Processing
                                      Volume:    Score:       Score Plus   Score Plus   Score Plus
                                      Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area      District         Ballot     Ballot       Ballot       Ballot       Ballot

11/12/2020 Western   Nevada Sierra          31      100.00%      100.00%      100.00%      100.00%

11/12/2020 Western   Northland              24       75.00%       75.00%       83.33%       87.50%
11/12/2020 Western   Portland              105       86.67%       87.62%       93.33%       95.24%

11/12/2020 Western   Salt Lake City         41       82.93%       85.37%       85.37%       90.24%
11/12/2020 Western   Seattle               210       82.86%       86.67%       90.95%       91.43%
           Capital
11/13/2020 Metro     Atlanta                20       40.00%       75.00%       75.00%       75.00%
           Capital
11/13/2020 Metro     Baltimore              24       58.33%       83.33%       83.33%       83.33%
           Capital
11/13/2020 Metro     Capital                19       73.68%       89.47%       94.74%       94.74%
           Capital   Greater S
11/13/2020 Metro     Carolina               37       78.38%       81.08%       83.78%       83.78%
           Capital
11/13/2020 Metro     Greensboro             20       45.00%       50.00%       55.00%       60.00%
           Capital
11/13/2020 Metro     Mid-Carolinas          10       50.00%       60.00%       60.00%       70.00%
           Capital   Norther
11/13/2020 Metro     Virginia                8       62.50%      100.00%      100.00%      100.00%
           Capital
11/13/2020 Metro     Richmond               15       73.33%       80.00%       80.00%       86.67%

11/13/2020 Eastern   Appalachian             8       37.50%       75.00%       75.00%       75.00%

                     Central
11/13/2020 Eastern   Pennsylvania           30       40.00%       46.67%       50.00%       50.00%

11/13/2020 Eastern   Kentuckiana            10       50.00%       60.00%       60.00%       60.00%

11/13/2020 Eastern   Norther Ohio            8       50.00%      100.00%      100.00%      100.00%

11/13/2020 Eastern   Ohio Valley            14        7.14%       57.14%       57.14%       57.14%

                     Philadelphia
11/13/2020 Eastern   Metropo                18       38.89%       44.44%       44.44%       44.44%

11/13/2020 Eastern   South Jersey           57       82.46%       87.72%       87.72%       87.72%

11/13/2020 Eastern   Tennessee              16       62.50%       81.25%       87.50%       87.50%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

                         Western New
11/13/2020 Eastern       York                   10       70.00%       70.00%       70.00%       80.00%

                         Western
11/13/2020 Eastern       Pennsylvania            8       75.00%       75.00%       75.00%       75.00%

11/13/2020 Great Lakes Central Illinois         22       31.82%       72.73%       72.73%       81.82%

11/13/2020 Great Lakes Chicago                  13       23.08%       84.62%       84.62%       84.62%

11/13/2020 Great Lakes Detroit                   7       28.57%       71.43%       71.43%       71.43%

11/13/2020 Great Lakes Gateway                  11       45.45%       54.55%       54.55%       54.55%
                       Greater
11/13/2020 Great Lakes Indiana                   4       25.00%       50.00%       50.00%       50.00%
                       Greater
11/13/2020 Great Lakes Michigan                  9       55.56%       77.78%       77.78%       88.89%

11/13/2020 Great Lakes Lakeland                  6       16.67%       33.33%       33.33%       33.33%
11/13/2020 Northeast Albany                      7       71.43%       71.43%       71.43%       71.43%

11/13/2020 Northeast     Caribbean               3      100.00%      100.00%      100.00%      100.00%

                         Connecticut
11/13/2020 Northeast     Valley                 34       97.06%      100.00%      100.00%      100.00%
                         Greater
11/13/2020 Northeast     Boston                 33       96.97%       96.97%       96.97%       96.97%

11/13/2020 Northeast     Long Island             4      100.00%      100.00%      100.00%      100.00%

11/13/2020 Northeast     New York               56       80.36%       91.07%       91.07%       91.07%

                         Northern New
11/13/2020 Northeast     England                 5       20.00%       20.00%       20.00%       20.00%

                         Northern New
11/13/2020 Northeast     Jersey                 28       67.86%       82.14%       82.14%       82.14%
11/13/2020 Northeast     Triboro                 8       37.50%       50.00%       50.00%       50.00%

11/13/2020 Northeast     Westchester            11       45.45%       45.45%       45.45%       45.45%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

11/13/2020 Pacific      Bay-Valley             42       66.67%       69.05%       69.05%       69.05%
11/13/2020 Pacific      Honolulu               14      100.00%      100.00%      100.00%      100.00%

11/13/2020 Pacific      Los Angeles            97       79.38%       83.51%       83.51%       83.51%

11/13/2020 Pacific      Sacramento            200       94.50%       96.00%       96.50%       97.00%

11/13/2020 Pacific      San Diego              47       97.87%      100.00%      100.00%      100.00%

11/13/2020 Pacific      San Francisco          25       80.00%       84.00%       84.00%       84.00%

11/13/2020 Pacific      Santa Ana              28       82.14%       82.14%       82.14%       82.14%

11/13/2020   Pacific    Sierra Coastal         36       75.00%       77.78%       77.78%       77.78%
11/13/2020   Southern   Alabama                 5       60.00%       80.00%      100.00%      100.00%
11/13/2020   Southern   Arkansas                2      100.00%      100.00%      100.00%      100.00%
11/13/2020   Southern   Dallas                 11       18.18%       36.36%       45.45%       45.45%

11/13/2020 Southern     Ft. Worth               5       40.00%       60.00%       60.00%       60.00%

11/13/2020 Southern     Gulf Atlantic          19       68.42%       73.68%       78.95%       78.95%
11/13/2020 Southern     Houston                 2       50.00%      100.00%      100.00%      100.00%

11/13/2020 Southern     Louisiana               6       33.33%       50.00%       50.00%       50.00%

11/13/2020 Southern     Mississippi             6       33.33%       33.33%       33.33%       33.33%

11/13/2020 Southern     Oklahoma                6       33.33%       50.00%       50.00%       50.00%

11/13/2020 Southern     Rio Grande             11       63.64%       72.73%       72.73%       72.73%

11/13/2020   Southern   South Florida           4       50.00%      100.00%      100.00%      100.00%
11/13/2020   Southern   Suncoast               31       58.06%       64.52%       64.52%       64.52%
11/13/2020   Western    Alaska                  6       83.33%      100.00%      100.00%      100.00%
11/13/2020   Western    Arizona                61       93.44%       95.08%       95.08%       95.08%

11/13/2020 Western      Central Plains         11       36.36%       63.64%       63.64%       81.82%

                        Colorado/Wyo
11/13/2020 Western      ming                   34       20.59%       64.71%       64.71%       64.71%
11/13/2020 Western      Dakotas                 4      100.00%      100.00%      100.00%      100.00%
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                                      Measured     Processing    Processing    Processing    Processing
                                      Volume:      Score:        Score Plus    Score Plus    Score Plus
                                      Inbound      Inbound       1: Inbound    2: Inbound    3: Inbound
Date       Area      District         Ballot       Ballot        Ballot        Ballot        Ballot
11/13/2020 Western   Hawkeye                  11        63.64%        63.64%        63.64%        63.64%

11/13/2020 Western   Mid-Americas            19        31.58%        57.89%        63.16%        68.42%

11/13/2020 Western   Nevada Sierra           17        58.82%        76.47%        76.47%        82.35%

11/13/2020 Western   Northland                8        12.50%        62.50%        62.50%        75.00%
11/13/2020 Western   Portland                25        80.00%        80.00%        80.00%        80.00%

11/13/2020 Western   Salt Lake City          17        76.47%        88.24%        88.24%        88.24%
11/13/2020 Western   Seattle                112        88.39%        91.96%        91.96%        92.86%
           Capital
11/14/2020 Metro     Atlanta                 27        74.07%        77.78%        77.78%        77.78%
           Capital
11/14/2020 Metro     Baltimore               59        89.83%        89.83%        94.92%        94.92%
           Capital
11/14/2020 Metro     Capital                 29        75.86%        75.86%        79.31%        82.76%
           Capital   Greater S
11/14/2020 Metro     Carolina                30        93.33%        93.33%        96.67%        96.67%
           Capital
11/14/2020 Metro     Greensboro              11        27.27%        36.36%        36.36%        36.36%
           Capital
11/14/2020 Metro     Mid-Carolinas           13        61.54%        76.92%        76.92%        76.92%
           Capital   Norther
11/14/2020 Metro     Virginia                 7        85.71%        85.71%        85.71%        85.71%
           Capital
11/14/2020 Metro     Richmond                 8        50.00%        50.00%        50.00%        50.00%

11/14/2020 Eastern   Appalachian              8        62.50%        62.50%        62.50%        62.50%

                     Central
11/14/2020 Eastern   Pennsylvania            32        53.13%        56.25%        59.38%        59.38%

11/14/2020 Eastern   Kentuckiana              8        75.00%        75.00%        75.00%        75.00%

11/14/2020 Eastern   Norther Ohio             8        62.50%        75.00%        75.00%        75.00%

11/14/2020 Eastern   Ohio Valley             25        88.00%        88.00%        92.00%        92.00%

                     Philadelphia
11/14/2020 Eastern   Metropo                 13        46.15%        53.85%        53.85%        53.85%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

11/14/2020 Eastern       South Jersey           30       66.67%       66.67%       83.33%       83.33%

11/14/2020 Eastern       Tennessee              15       80.00%       80.00%       80.00%       80.00%

                         Western New
11/14/2020 Eastern       York                    3      100.00%      100.00%      100.00%      100.00%

                         Western
11/14/2020 Eastern       Pennsylvania            7       42.86%       71.43%       71.43%       71.43%

11/14/2020 Great Lakes Central Illinois         30       70.00%       73.33%       93.33%       93.33%

11/14/2020 Great Lakes Chicago                  23       43.48%       43.48%       69.57%       69.57%

11/14/2020 Great Lakes Detroit                  25       72.00%       72.00%       92.00%       96.00%

11/14/2020 Great Lakes Gateway                   3       66.67%       66.67%       66.67%       66.67%
                       Greater
11/14/2020 Great Lakes Indiana                   8       75.00%       75.00%       75.00%       75.00%
                       Greater
11/14/2020 Great Lakes Michigan                  8       87.50%       87.50%      100.00%      100.00%

11/14/2020 Great Lakes Lakeland                  4       75.00%      100.00%      100.00%      100.00%
11/14/2020 Northeast Albany                     61       98.36%      100.00%      100.00%      100.00%

11/14/2020 Northeast     Caribbean               5       80.00%       80.00%       80.00%       80.00%

                         Connecticut
11/14/2020 Northeast     Valley                 57       89.47%       89.47%      100.00%      100.00%
                         Greater
11/14/2020 Northeast     Boston                 24       75.00%       75.00%       75.00%       75.00%

11/14/2020 Northeast     Long Island             4      100.00%      100.00%      100.00%      100.00%

11/14/2020 Northeast     New York               40       77.50%       85.00%       90.00%       90.00%

                         Northern New
11/14/2020 Northeast     England                 8       50.00%       50.00%       50.00%       50.00%

                         Northern New
11/14/2020 Northeast     Jersey                 18       88.89%       88.89%       88.89%       88.89%
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                                         Measured     Processing    Processing    Processing    Processing
                                         Volume:      Score:        Score Plus    Score Plus    Score Plus
                                         Inbound      Inbound       1: Inbound    2: Inbound    3: Inbound
Date       Area         District         Ballot       Ballot        Ballot        Ballot        Ballot
11/14/2020 Northeast    Triboro                  13        53.85%        53.85%        53.85%        53.85%

11/14/2020 Northeast    Westchester             25        76.00%        80.00%        80.00%        80.00%

11/14/2020 Pacific      Bay-Valley              31        90.32%        90.32%        90.32%        90.32%
11/14/2020 Pacific      Honolulu                10       100.00%       100.00%       100.00%       100.00%

11/14/2020 Pacific      Los Angeles             65        86.15%        86.15%        87.69%        87.69%

11/14/2020 Pacific      Sacramento              44       100.00%       100.00%       100.00%       100.00%

11/14/2020 Pacific      San Diego               73        89.04%        89.04%        91.78%        91.78%

11/14/2020 Pacific      San Francisco            7        71.43%        71.43%        71.43%        71.43%

11/14/2020 Pacific      Santa Ana               22        90.91%        90.91%       100.00%       100.00%

11/14/2020   Pacific    Sierra Coastal          46        95.65%        95.65%        95.65%        95.65%
11/14/2020   Southern   Alabama                  6        50.00%        50.00%        50.00%        50.00%
11/14/2020   Southern   Arkansas
11/14/2020   Southern   Dallas                  15        86.67%        93.33%        93.33%       100.00%

11/14/2020 Southern     Ft. Worth                7        57.14%        85.71%        85.71%       100.00%

11/14/2020 Southern     Gulf Atlantic           22        63.64%        72.73%        86.36%        86.36%
11/14/2020 Southern     Houston                 12        33.33%        33.33%        33.33%        33.33%

11/14/2020 Southern     Louisiana                6       100.00%       100.00%       100.00%       100.00%

11/14/2020 Southern     Mississippi              9       100.00%       100.00%       100.00%       100.00%

11/14/2020 Southern     Oklahoma                 4        75.00%        75.00%        75.00%        75.00%

11/14/2020 Southern     Rio Grande               6        66.67%        83.33%        83.33%        83.33%

11/14/2020   Southern   South Florida            6        50.00%        50.00%        83.33%        83.33%
11/14/2020   Southern   Suncoast                18        66.67%        77.78%        77.78%        77.78%
11/14/2020   Western    Alaska
11/14/2020   Western    Arizona                 33        81.82%        81.82%        84.85%        84.85%

11/14/2020 Western      Central Plains          12        75.00%        75.00%        75.00%        75.00%
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                                      Measured   Processing   Processing   Processing   Processing
                                      Volume:    Score:       Score Plus   Score Plus   Score Plus
                                      Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area      District         Ballot     Ballot       Ballot       Ballot       Ballot

                     Colorado/Wyo
11/14/2020 Western   ming                   33       36.36%       39.39%       57.58%       57.58%
11/14/2020 Western   Dakotas                41       95.12%       95.12%       97.56%       97.56%
11/14/2020 Western   Hawkeye                14       71.43%       71.43%       71.43%       71.43%

11/14/2020 Western   Mid-Americas            4        0.00%       25.00%       25.00%       25.00%

11/14/2020 Western   Nevada Sierra          25       88.00%       88.00%       88.00%       88.00%

11/14/2020 Western   Northland              11       72.73%       72.73%       72.73%       72.73%
11/14/2020 Western   Portland               24       87.50%       87.50%       95.83%       95.83%

11/14/2020 Western   Salt Lake City         16       93.75%       93.75%       93.75%       93.75%
11/14/2020 Western   Seattle               132       90.91%       90.91%       93.94%       93.94%
           Capital
11/16/2020 Metro     Atlanta                45       84.44%       84.44%       86.67%       88.89%
           Capital
11/16/2020 Metro     Baltimore              30       46.67%       60.00%       60.00%       63.33%
           Capital
11/16/2020 Metro     Capital                25       60.00%       72.00%       80.00%       84.00%
           Capital   Greater S
11/16/2020 Metro     Carolina               30       73.33%       80.00%       80.00%       83.33%
           Capital
11/16/2020 Metro     Greensboro             24       50.00%       58.33%       58.33%       62.50%
           Capital
11/16/2020 Metro     Mid-Carolinas          20       60.00%       60.00%       60.00%       60.00%
           Capital   Norther
11/16/2020 Metro     Virginia               11       54.55%       63.64%       63.64%       63.64%
           Capital
11/16/2020 Metro     Richmond               41       36.59%       60.98%       60.98%       70.73%

11/16/2020 Eastern   Appalachian            13       30.77%       38.46%       38.46%       38.46%

                     Central
11/16/2020 Eastern   Pennsylvania           49       46.94%       51.02%       51.02%       53.06%

11/16/2020 Eastern   Kentuckiana             9       55.56%       55.56%       55.56%       66.67%

11/16/2020 Eastern   Norther Ohio           16       93.75%       93.75%       93.75%       93.75%

11/16/2020 Eastern   Ohio Valley            12       91.67%       91.67%       91.67%       91.67%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

                         Philadelphia
11/16/2020 Eastern       Metropo                38       78.95%       78.95%       78.95%       81.58%

11/16/2020 Eastern       South Jersey           65       81.54%       86.15%       86.15%       86.15%

11/16/2020 Eastern       Tennessee              20       80.00%       80.00%       85.00%       90.00%

                         Western New
11/16/2020 Eastern       York                   16       93.75%      100.00%      100.00%      100.00%

                         Western
11/16/2020 Eastern       Pennsylvania           13       53.85%       61.54%       61.54%       61.54%

11/16/2020 Great Lakes Central Illinois         42       80.95%       90.48%       90.48%       90.48%

11/16/2020 Great Lakes Chicago                  19       42.11%       63.16%       68.42%       68.42%

11/16/2020 Great Lakes Detroit                  46       52.17%       82.61%       82.61%       86.96%

11/16/2020 Great Lakes Gateway                  14       57.14%       57.14%       57.14%       57.14%
                       Greater
11/16/2020 Great Lakes Indiana                   9       66.67%       66.67%       66.67%       66.67%
                       Greater
11/16/2020 Great Lakes Michigan                 17       76.47%       76.47%       76.47%       76.47%

11/16/2020 Great Lakes Lakeland                 14       78.57%       78.57%       78.57%       78.57%
11/16/2020 Northeast Albany                     76       93.42%       94.74%       94.74%       94.74%

11/16/2020 Northeast     Caribbean               0 Null%          Null%        Null%        Null%

                         Connecticut
11/16/2020 Northeast     Valley                 69       81.16%       81.16%       89.86%       91.30%
                         Greater
11/16/2020 Northeast     Boston                191       97.91%       97.91%       97.91%       98.43%

11/16/2020 Northeast     Long Island            11      100.00%      100.00%      100.00%      100.00%

11/16/2020 Northeast     New York               88       88.64%       89.77%       90.91%       92.05%

                         Northern New
11/16/2020 Northeast     England                 5       60.00%       60.00%       60.00%       60.00%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

                        Northern New
11/16/2020 Northeast    Jersey                 24       70.83%       87.50%       87.50%       87.50%
11/16/2020 Northeast    Triboro                14       78.57%       78.57%       78.57%       78.57%

11/16/2020 Northeast    Westchester            54       96.30%       96.30%       96.30%       96.30%

11/16/2020 Pacific      Bay-Valley             38       81.58%       81.58%       81.58%       84.21%
11/16/2020 Pacific      Honolulu                1      100.00%      100.00%      100.00%      100.00%

11/16/2020 Pacific      Los Angeles            47       85.11%       85.11%       85.11%       85.11%

11/16/2020 Pacific      Sacramento            156       84.62%       88.46%       88.46%       89.10%

11/16/2020 Pacific      San Diego              31       83.87%       83.87%       83.87%       83.87%

11/16/2020 Pacific      San Francisco          76       89.47%       89.47%       89.47%       89.47%

11/16/2020 Pacific      Santa Ana              18       61.11%       61.11%       61.11%       66.67%

11/16/2020   Pacific    Sierra Coastal         48       85.42%       85.42%       85.42%       89.58%
11/16/2020   Southern   Alabama                 7       28.57%       28.57%       28.57%       28.57%
11/16/2020   Southern   Arkansas                7       85.71%       85.71%       85.71%       85.71%
11/16/2020   Southern   Dallas                  8       62.50%       62.50%       62.50%       75.00%

11/16/2020 Southern     Ft. Worth               5      100.00%      100.00%      100.00%      100.00%

11/16/2020 Southern     Gulf Atlantic          36       58.33%       58.33%       58.33%       75.00%
11/16/2020 Southern     Houston                11       54.55%       54.55%       54.55%       63.64%

11/16/2020 Southern     Louisiana               9       22.22%       22.22%       22.22%       22.22%

11/16/2020 Southern     Mississippi             9       33.33%       33.33%       33.33%       33.33%

11/16/2020 Southern     Oklahoma                4       75.00%       75.00%       75.00%       75.00%

11/16/2020 Southern     Rio Grande             12       75.00%       75.00%       75.00%       75.00%

11/16/2020   Southern   South Florida          27       74.07%       74.07%       74.07%       77.78%
11/16/2020   Southern   Suncoast               59       81.36%       81.36%       83.05%       83.05%
11/16/2020   Western    Alaska                  4      100.00%      100.00%      100.00%      100.00%
11/16/2020   Western    Arizona                45       77.78%       77.78%       77.78%       77.78%
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                                      Measured   Processing   Processing   Processing   Processing
                                      Volume:    Score:       Score Plus   Score Plus   Score Plus
                                      Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area      District         Ballot     Ballot       Ballot       Ballot       Ballot

11/16/2020 Western   Central Plains         13       46.15%       53.85%       53.85%       53.85%

                     Colorado/Wyo
11/16/2020 Western   ming                   43       55.81%       69.77%       69.77%       69.77%
11/16/2020 Western   Dakotas               143       86.01%       97.20%       97.20%       97.20%
11/16/2020 Western   Hawkeye                 2        0.00%        0.00%        0.00%        0.00%

11/16/2020 Western   Mid-Americas           25       28.00%       32.00%       36.00%       40.00%

11/16/2020 Western   Nevada Sierra          17       94.12%       94.12%       94.12%       94.12%

11/16/2020 Western   Northland              25       80.00%       88.00%       88.00%       88.00%
11/16/2020 Western   Portland               26       92.31%       92.31%       92.31%       92.31%

11/16/2020 Western   Salt Lake City         30       83.33%       83.33%       83.33%       83.33%
11/16/2020 Western   Seattle                69       88.41%       88.41%       88.41%       89.86%
           Capital
11/17/2020 Metro     Atlanta                19       57.89%       68.42%       68.42%       68.42%
           Capital
11/17/2020 Metro     Baltimore              17       35.29%       94.12%       94.12%       94.12%
           Capital
11/17/2020 Metro     Capital                12       58.33%       91.67%       91.67%       91.67%
           Capital   Greater S
11/17/2020 Metro     Carolina               35       74.29%       85.71%       85.71%       85.71%
           Capital
11/17/2020 Metro     Greensboro             30       73.33%       90.00%       90.00%       93.33%
           Capital
11/17/2020 Metro     Mid-Carolinas          12       66.67%       83.33%       83.33%       83.33%
           Capital   Norther
11/17/2020 Metro     Virginia               11       90.91%      100.00%      100.00%      100.00%
           Capital
11/17/2020 Metro     Richmond               12       58.33%       75.00%       75.00%       75.00%

11/17/2020 Eastern   Appalachian             4       25.00%       25.00%       25.00%       25.00%

                     Central
11/17/2020 Eastern   Pennsylvania           12       66.67%       75.00%       75.00%       75.00%

11/17/2020 Eastern   Kentuckiana             3       66.67%       66.67%       66.67%       66.67%

11/17/2020 Eastern   Norther Ohio            4       75.00%      100.00%      100.00%      100.00%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

11/17/2020 Eastern       Ohio Valley            12       75.00%       75.00%       75.00%       75.00%

                         Philadelphia
11/17/2020 Eastern       Metropo                16       56.25%       68.75%       68.75%       68.75%

11/17/2020 Eastern       South Jersey           15       73.33%       93.33%       93.33%       93.33%

11/17/2020 Eastern       Tennessee               8       37.50%       37.50%       62.50%       62.50%

                         Western New
11/17/2020 Eastern       York                    9       33.33%       44.44%       44.44%       55.56%

                         Western
11/17/2020 Eastern       Pennsylvania            4        0.00%        0.00%        0.00%        0.00%

11/17/2020 Great Lakes Central Illinois         28       50.00%       78.57%       78.57%       78.57%

11/17/2020 Great Lakes Chicago                   7       14.29%       42.86%       42.86%       42.86%

11/17/2020 Great Lakes Detroit                   7       28.57%       57.14%       57.14%       57.14%

11/17/2020 Great Lakes Gateway                   6       33.33%       50.00%       50.00%       50.00%
                       Greater
11/17/2020 Great Lakes Indiana                  11       27.27%       27.27%       27.27%       27.27%
                       Greater
11/17/2020 Great Lakes Michigan                  6       66.67%       83.33%       83.33%       83.33%

11/17/2020 Great Lakes Lakeland                  8       12.50%       37.50%       37.50%       37.50%
11/17/2020 Northeast Albany                      7       71.43%       85.71%       85.71%       85.71%

11/17/2020 Northeast     Caribbean               3       33.33%       66.67%       66.67%       66.67%

                         Connecticut
11/17/2020 Northeast     Valley                 70       97.14%       97.14%       97.14%       97.14%
                         Greater
11/17/2020 Northeast     Boston                 63       95.24%      100.00%      100.00%      100.00%

11/17/2020 Northeast     Long Island             5       60.00%       60.00%       60.00%       60.00%

11/17/2020 Northeast     New York               29       58.62%       72.41%       72.41%       72.41%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

                        Northern New
11/17/2020 Northeast    England                 8       37.50%       75.00%       75.00%       75.00%

                        Northern New
11/17/2020 Northeast    Jersey                 15       40.00%       60.00%       60.00%       60.00%
11/17/2020 Northeast    Triboro                11       36.36%       54.55%       54.55%       54.55%

11/17/2020 Northeast    Westchester             8       87.50%      100.00%      100.00%      100.00%

11/17/2020 Pacific      Bay-Valley             23       52.17%       56.52%       56.52%       56.52%
11/17/2020 Pacific      Honolulu               13       76.92%       92.31%       92.31%       92.31%

11/17/2020 Pacific      Los Angeles            34       70.59%       79.41%       79.41%       79.41%

11/17/2020 Pacific      Sacramento            102       96.08%       98.04%       98.04%       98.04%

11/17/2020 Pacific      San Diego              36       86.11%       88.89%       88.89%       88.89%

11/17/2020 Pacific      San Francisco          12       75.00%       83.33%       83.33%       83.33%

11/17/2020 Pacific      Santa Ana               9       77.78%       77.78%       77.78%       77.78%

11/17/2020   Pacific    Sierra Coastal         31       90.32%       93.55%       93.55%       93.55%
11/17/2020   Southern   Alabama                 5        0.00%       20.00%       20.00%       20.00%
11/17/2020   Southern   Arkansas                7       28.57%       28.57%       28.57%       42.86%
11/17/2020   Southern   Dallas                 11       27.27%       45.45%       45.45%       45.45%

11/17/2020 Southern     Ft. Worth               6       66.67%       66.67%       66.67%       66.67%

11/17/2020 Southern     Gulf Atlantic          22       81.82%       90.91%       90.91%       90.91%
11/17/2020 Southern     Houston                 2       50.00%      100.00%      100.00%      100.00%

11/17/2020 Southern     Louisiana               3       33.33%      100.00%      100.00%      100.00%

11/17/2020 Southern     Mississippi             6       16.67%       16.67%       16.67%       16.67%

11/17/2020 Southern     Oklahoma                2       50.00%       50.00%       50.00%       50.00%

11/17/2020 Southern     Rio Grande             13       53.85%      100.00%      100.00%      100.00%

11/17/2020 Southern     South Florida          12       33.33%       75.00%       75.00%       75.00%
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                                         Measured      Processing    Processing    Processing     Processing
                                         Volume:       Score:        Score Plus    Score Plus     Score Plus
                                         Inbound       Inbound       1: Inbound    2: Inbound     3: Inbound
Date         Area       District         Ballot        Ballot        Ballot        Ballot         Ballot
11/17/2020   Southern   Suncoast                1981        99.70%        99.75%         99.75%        99.80%
11/17/2020   Western    Alaska                     3        66.67%       100.00%        100.00%       100.00%
11/17/2020   Western    Arizona                   30        80.00%        86.67%         86.67%        86.67%

11/17/2020 Western      Central Plains            2        50.00%       100.00%       100.00%        100.00%

                        Colorado/Wyo
11/17/2020 Western      ming                     22        18.18%        72.73%        72.73%         72.73%
11/17/2020 Western      Dakotas                   7        71.43%        85.71%        85.71%         85.71%
11/17/2020 Western      Hawkeye                   5        60.00%        60.00%        60.00%         60.00%

11/17/2020 Western      Mid-Americas             11        18.18%        36.36%        36.36%         36.36%

11/17/2020 Western      Nevada Sierra            12        50.00%        50.00%        50.00%         50.00%

11/17/2020 Western      Northland                13        15.38%        30.77%        46.15%         46.15%
11/17/2020 Western      Portland                 17        52.94%        76.47%       100.00%        100.00%

11/17/2020 Western      Salt Lake City            7        57.14%        71.43%        71.43%         71.43%
11/17/2020 Western      Seattle                  47        74.47%        93.62%        93.62%         93.62%
           Capital
11/18/2020 Metro        Atlanta                  14        64.29%        64.29%        71.43%         71.43%
           Capital
11/18/2020 Metro        Baltimore                21        76.19%        80.95%        90.48%         90.48%
           Capital
11/18/2020 Metro        Capital                  18        83.33%        83.33%        88.89%         88.89%
           Capital      Greater S
11/18/2020 Metro        Carolina                  5        80.00%        80.00%        80.00%         80.00%
           Capital
11/18/2020 Metro        Greensboro               17        47.06%        47.06%        52.94%         52.94%
           Capital
11/18/2020 Metro        Mid-Carolinas            12        66.67%        66.67%        91.67%         91.67%
           Capital      Norther
11/18/2020 Metro        Virginia                  6        66.67%        66.67%        66.67%         66.67%
           Capital
11/18/2020 Metro        Richmond                 11        54.55%        54.55%        63.64%         63.64%

11/18/2020 Eastern      Appalachian               2       100.00%       100.00%       100.00%        100.00%

                        Central
11/18/2020 Eastern      Pennsylvania              4        25.00%        25.00%        50.00%         50.00%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

11/18/2020 Eastern       Kentuckiana             5       20.00%       20.00%       40.00%       40.00%

11/18/2020 Eastern       Norther Ohio           13       38.46%       46.15%       46.15%       46.15%

11/18/2020 Eastern       Ohio Valley            12       66.67%       66.67%       75.00%       75.00%

                         Philadelphia
11/18/2020 Eastern       Metropo                 9       88.89%       88.89%       88.89%       88.89%

11/18/2020 Eastern       South Jersey           47       85.11%       85.11%       95.74%       95.74%

11/18/2020 Eastern       Tennessee               5       80.00%      100.00%      100.00%      100.00%

                         Western New
11/18/2020 Eastern       York                    4       75.00%       75.00%       75.00%       75.00%

                         Western
11/18/2020 Eastern       Pennsylvania           10       50.00%       50.00%       50.00%       50.00%

11/18/2020 Great Lakes Central Illinois         28       67.86%       71.43%       78.57%       78.57%

11/18/2020 Great Lakes Chicago                  16       31.25%       31.25%       37.50%       37.50%

11/18/2020 Great Lakes Detroit                  13       92.31%       92.31%      100.00%      100.00%

11/18/2020 Great Lakes Gateway                   6       50.00%       50.00%       50.00%       50.00%
                       Greater
11/18/2020 Great Lakes Indiana                  11       54.55%       54.55%       54.55%       54.55%
                       Greater
11/18/2020 Great Lakes Michigan                 25       88.00%       92.00%       92.00%      100.00%

11/18/2020 Great Lakes Lakeland                  5       60.00%       60.00%       60.00%       60.00%
11/18/2020 Northeast Albany                     29       82.76%       82.76%       89.66%       89.66%

11/18/2020 Northeast     Caribbean               1      100.00%      100.00%      100.00%      100.00%

                         Connecticut
11/18/2020 Northeast     Valley                 23       69.57%       73.91%       73.91%       73.91%
                         Greater
11/18/2020 Northeast     Boston                198       96.97%       97.47%       97.47%       97.47%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

11/18/2020 Northeast    Long Island            11       81.82%       81.82%       81.82%       81.82%

11/18/2020 Northeast    New York               13       84.62%       92.31%      100.00%      100.00%

                        Northern New
11/18/2020 Northeast    England                 9       44.44%       44.44%       66.67%       66.67%

                        Northern New
11/18/2020 Northeast    Jersey                 16      100.00%      100.00%      100.00%      100.00%
11/18/2020 Northeast    Triboro                13       69.23%       69.23%       69.23%       69.23%

11/18/2020 Northeast    Westchester            23       82.61%       82.61%       86.96%       86.96%

11/18/2020 Pacific      Bay-Valley             35       94.29%       94.29%       94.29%       94.29%
11/18/2020 Pacific      Honolulu                3       66.67%       66.67%       66.67%       66.67%

11/18/2020 Pacific      Los Angeles            28       96.43%       96.43%       96.43%       96.43%

11/18/2020 Pacific      Sacramento            125       94.40%       94.40%       97.60%       97.60%

11/18/2020 Pacific      San Diego              20       80.00%       80.00%       80.00%       80.00%

11/18/2020 Pacific      San Francisco          65       96.92%       96.92%       96.92%       96.92%

11/18/2020 Pacific      Santa Ana              13       76.92%       76.92%       76.92%       76.92%

11/18/2020   Pacific    Sierra Coastal         48       70.83%       70.83%       70.83%       70.83%
11/18/2020   Southern   Alabama                 3       33.33%       33.33%       33.33%       33.33%
11/18/2020   Southern   Arkansas                2        0.00%        0.00%       50.00%       50.00%
11/18/2020   Southern   Dallas                  5       80.00%       80.00%      100.00%      100.00%

11/18/2020 Southern     Ft. Worth               4       50.00%       50.00%       75.00%       75.00%

11/18/2020 Southern     Gulf Atlantic          25       76.00%       76.00%       80.00%       80.00%
11/18/2020 Southern     Houston                 5       80.00%       80.00%       80.00%       80.00%

11/18/2020 Southern     Louisiana               0 Null%          Null%        Null%        Null%

11/18/2020 Southern     Mississippi            13       92.31%       92.31%       92.31%       92.31%

11/18/2020 Southern     Oklahoma                3      100.00%      100.00%      100.00%      100.00%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

11/18/2020 Southern     Rio Grande              7       57.14%       57.14%       57.14%       57.14%

11/18/2020   Southern   South Florida           5       60.00%       60.00%       60.00%       60.00%
11/18/2020   Southern   Suncoast             1161       97.67%       97.67%       97.85%       97.85%
11/18/2020   Western    Alaska                  4      100.00%      100.00%      100.00%      100.00%
11/18/2020   Western    Arizona                22       90.91%       95.45%       95.45%       95.45%

11/18/2020 Western      Central Plains          8       75.00%       75.00%       87.50%       87.50%

                        Colorado/Wyo
11/18/2020 Western      ming                   19       47.37%       52.63%       73.68%       73.68%
11/18/2020 Western      Dakotas                82       97.56%       98.78%       98.78%       98.78%
11/18/2020 Western      Hawkeye                 6       16.67%       16.67%       33.33%       33.33%

11/18/2020 Western      Mid-Americas            5       80.00%       80.00%      100.00%      100.00%

11/18/2020 Western      Nevada Sierra           4      100.00%      100.00%      100.00%      100.00%

11/18/2020 Western      Northland              10       60.00%       60.00%       60.00%       60.00%
11/18/2020 Western      Portland               18       94.44%      100.00%      100.00%      100.00%

11/18/2020 Western      Salt Lake City         10      100.00%      100.00%      100.00%      100.00%
11/18/2020 Western      Seattle                78       94.87%       94.87%       97.44%       97.44%
           Capital
11/19/2020 Metro        Atlanta                 6       50.00%       50.00%       50.00%       66.67%
           Capital
11/19/2020 Metro        Baltimore              23       69.57%       82.61%       82.61%       86.96%
           Capital
11/19/2020 Metro        Capital                19      100.00%      100.00%      100.00%      100.00%
           Capital      Greater S
11/19/2020 Metro        Carolina               33       81.82%       81.82%       81.82%       87.88%
           Capital
11/19/2020 Metro        Greensboro             23       30.43%       30.43%       30.43%       30.43%
           Capital
11/19/2020 Metro        Mid-Carolinas           7       42.86%       42.86%       42.86%       57.14%
           Capital      Norther
11/19/2020 Metro        Virginia                4       75.00%       75.00%       75.00%       75.00%
           Capital
11/19/2020 Metro        Richmond               12       58.33%       75.00%       75.00%       75.00%

11/19/2020 Eastern      Appalachian             5      100.00%      100.00%      100.00%      100.00%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

                         Central
11/19/2020 Eastern       Pennsylvania           18       72.22%       77.78%       77.78%       83.33%

11/19/2020 Eastern       Kentuckiana             4      100.00%      100.00%      100.00%      100.00%

11/19/2020 Eastern       Norther Ohio           12       41.67%       41.67%       41.67%       41.67%

11/19/2020 Eastern       Ohio Valley            17       47.06%       58.82%       64.71%       64.71%

                         Philadelphia
11/19/2020 Eastern       Metropo                35       42.86%       42.86%       71.43%       85.71%

11/19/2020 Eastern       South Jersey           43       90.70%       90.70%       90.70%       90.70%

11/19/2020 Eastern       Tennessee              12       66.67%       66.67%       66.67%       75.00%

                         Western New
11/19/2020 Eastern       York                   13       92.31%       92.31%       92.31%       92.31%

                         Western
11/19/2020 Eastern       Pennsylvania            6       50.00%       50.00%       50.00%       66.67%

11/19/2020 Great Lakes Central Illinois         18       55.56%       72.22%       72.22%       77.78%

11/19/2020 Great Lakes Chicago                  13       38.46%       76.92%       76.92%       76.92%

11/19/2020 Great Lakes Detroit                  10       50.00%       50.00%       50.00%       50.00%

11/19/2020 Great Lakes Gateway                   8       75.00%       75.00%       75.00%       75.00%
                       Greater
11/19/2020 Great Lakes Indiana                   8       75.00%       75.00%       75.00%       75.00%
                       Greater
11/19/2020 Great Lakes Michigan                 11       90.91%       90.91%       90.91%       90.91%

11/19/2020 Great Lakes Lakeland                  6       50.00%       50.00%       66.67%       66.67%
11/19/2020 Northeast Albany                     19       94.74%       94.74%       94.74%       94.74%

11/19/2020 Northeast     Caribbean               1      100.00%      100.00%      100.00%      100.00%

                         Connecticut
11/19/2020 Northeast     Valley                 38       78.95%       78.95%       78.95%       89.47%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot
                        Greater
11/19/2020 Northeast    Boston                129       98.45%       98.45%       98.45%       98.45%

11/19/2020 Northeast    Long Island            10       60.00%       70.00%       70.00%       70.00%

11/19/2020 Northeast    New York               37       75.68%       78.38%       78.38%       83.78%

                        Northern New
11/19/2020 Northeast    England                 8       75.00%       75.00%       75.00%       87.50%

                        Northern New
11/19/2020 Northeast    Jersey                 27       51.85%       51.85%       51.85%       51.85%
11/19/2020 Northeast    Triboro                13       69.23%       84.62%       84.62%       84.62%

11/19/2020 Northeast    Westchester            16       81.25%       81.25%       81.25%       81.25%

11/19/2020 Pacific      Bay-Valley             23       73.91%       73.91%       73.91%       73.91%
11/19/2020 Pacific      Honolulu                2      100.00%      100.00%      100.00%      100.00%

11/19/2020 Pacific      Los Angeles            27       74.07%       81.48%       81.48%       81.48%

11/19/2020 Pacific      Sacramento            176       47.16%       74.43%       74.43%       96.59%

11/19/2020 Pacific      San Diego              38      100.00%      100.00%      100.00%      100.00%

11/19/2020 Pacific      San Francisco          12       66.67%       66.67%       83.33%       83.33%

11/19/2020 Pacific      Santa Ana              13       61.54%       61.54%       61.54%       61.54%

11/19/2020   Pacific    Sierra Coastal         17       70.59%       82.35%       82.35%       82.35%
11/19/2020   Southern   Alabama                 4       50.00%       50.00%       50.00%       50.00%
11/19/2020   Southern   Arkansas                1      100.00%      100.00%      100.00%      100.00%
11/19/2020   Southern   Dallas                 13       61.54%       69.23%       69.23%       69.23%

11/19/2020 Southern     Ft. Worth               5       40.00%       40.00%       40.00%       40.00%

11/19/2020 Southern     Gulf Atlantic          40       87.50%       92.50%       95.00%       95.00%
11/19/2020 Southern     Houston                 9      100.00%      100.00%      100.00%      100.00%

11/19/2020 Southern     Louisiana              12       75.00%       83.33%       83.33%       83.33%

11/19/2020 Southern     Mississippi             4       75.00%       75.00%       75.00%      100.00%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

11/19/2020 Southern     Oklahoma                4       50.00%       50.00%       50.00%       75.00%

11/19/2020 Southern     Rio Grande              9       55.56%       55.56%       55.56%       66.67%

11/19/2020   Southern   South Florida          14       85.71%       85.71%      100.00%      100.00%
11/19/2020   Southern   Suncoast              861       99.19%       99.19%       99.19%       99.19%
11/19/2020   Western    Alaska                  2       50.00%       50.00%       50.00%       50.00%
11/19/2020   Western    Arizona                23       69.57%       86.96%       86.96%       91.30%

11/19/2020 Western      Central Plains          4       75.00%       75.00%       75.00%       75.00%

                        Colorado/Wyo
11/19/2020 Western      ming                   22       68.18%       77.27%       77.27%       86.36%
11/19/2020 Western      Dakotas               165       92.12%       92.12%       96.97%      100.00%
11/19/2020 Western      Hawkeye                17       52.94%       64.71%       64.71%       64.71%

11/19/2020 Western      Mid-Americas            3        0.00%        0.00%        0.00%        0.00%

11/19/2020 Western      Nevada Sierra          13       84.62%       84.62%       84.62%       84.62%

11/19/2020 Western      Northland              11      100.00%      100.00%      100.00%      100.00%
11/19/2020 Western      Portland               30       83.33%       96.67%       96.67%       96.67%

11/19/2020 Western      Salt Lake City         10       80.00%      100.00%      100.00%      100.00%
11/19/2020 Western      Seattle                51       84.31%       84.31%       86.27%       88.24%
           Capital
11/20/2020 Metro        Atlanta                18       55.56%       66.67%       66.67%       66.67%
           Capital
11/20/2020 Metro        Baltimore              26       80.77%       96.15%       96.15%       96.15%
           Capital
11/20/2020 Metro        Capital                12      100.00%      100.00%      100.00%      100.00%
           Capital      Greater S
11/20/2020 Metro        Carolina               51       76.47%       76.47%      100.00%      100.00%
           Capital
11/20/2020 Metro        Greensboro             12      100.00%      100.00%      100.00%      100.00%
           Capital
11/20/2020 Metro        Mid-Carolinas          12       66.67%       75.00%       75.00%       75.00%
           Capital      Norther
11/20/2020 Metro        Virginia                9       66.67%       66.67%       66.67%       66.67%
           Capital
11/20/2020 Metro        Richmond                8       50.00%       50.00%       50.00%       50.00%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

11/20/2020 Eastern       Appalachian             7       28.57%       42.86%       42.86%       42.86%

                         Central
11/20/2020 Eastern       Pennsylvania            9       77.78%       88.89%       88.89%       88.89%

11/20/2020 Eastern       Kentuckiana             6       33.33%       50.00%       50.00%       50.00%

11/20/2020 Eastern       Norther Ohio           17       52.94%       64.71%       64.71%       64.71%

11/20/2020 Eastern       Ohio Valley            10       60.00%       80.00%       80.00%       80.00%

                         Philadelphia
11/20/2020 Eastern       Metropo                12       75.00%       91.67%       91.67%       91.67%

11/20/2020 Eastern       South Jersey           49       91.84%      100.00%      100.00%      100.00%

11/20/2020 Eastern       Tennessee               6       50.00%       50.00%       50.00%       50.00%

                         Western New
11/20/2020 Eastern       York                    1      100.00%      100.00%      100.00%      100.00%

                         Western
11/20/2020 Eastern       Pennsylvania            1      100.00%      100.00%      100.00%      100.00%

11/20/2020 Great Lakes Central Illinois         15       73.33%       93.33%       93.33%       93.33%

11/20/2020 Great Lakes Chicago                  12       50.00%       58.33%       58.33%       58.33%

11/20/2020 Great Lakes Detroit                  24       50.00%       75.00%      100.00%      100.00%

11/20/2020 Great Lakes Gateway                  11       54.55%       63.64%       63.64%       63.64%
                       Greater
11/20/2020 Great Lakes Indiana                   3       66.67%       66.67%       66.67%      100.00%
                       Greater
11/20/2020 Great Lakes Michigan                  7      100.00%      100.00%      100.00%      100.00%

11/20/2020 Great Lakes Lakeland                  7       57.14%       71.43%       71.43%       71.43%
11/20/2020 Northeast Albany                     17       88.24%       88.24%       88.24%       88.24%

11/20/2020 Northeast     Caribbean               0 Null%          Null%        Null%        Null%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

                        Connecticut
11/20/2020 Northeast    Valley                  4       50.00%      100.00%      100.00%      100.00%
                        Greater
11/20/2020 Northeast    Boston                146       97.26%       97.95%       97.95%       97.95%

11/20/2020 Northeast    Long Island             7       57.14%       71.43%       71.43%       71.43%

11/20/2020 Northeast    New York               25       92.00%       96.00%       96.00%       96.00%

                        Northern New
11/20/2020 Northeast    England                 5       60.00%       60.00%       60.00%       60.00%

                        Northern New
11/20/2020 Northeast    Jersey                 16       50.00%       81.25%       81.25%       81.25%
11/20/2020 Northeast    Triboro                14       28.57%       28.57%       28.57%       28.57%

11/20/2020 Northeast    Westchester             9       77.78%       77.78%       77.78%       77.78%

11/20/2020 Pacific      Bay-Valley             21       85.71%       85.71%       85.71%       85.71%
11/20/2020 Pacific      Honolulu                6       66.67%       66.67%       66.67%       66.67%

11/20/2020 Pacific      Los Angeles            36       75.00%       75.00%       77.78%       77.78%

11/20/2020 Pacific      Sacramento            143       34.27%       38.46%       41.26%       41.26%

11/20/2020 Pacific      San Diego              15       80.00%       93.33%       93.33%       93.33%

11/20/2020 Pacific      San Francisco          60       88.33%       90.00%       90.00%       90.00%

11/20/2020 Pacific      Santa Ana              15      100.00%      100.00%      100.00%      100.00%

11/20/2020   Pacific    Sierra Coastal         23       86.96%       91.30%       95.65%       95.65%
11/20/2020   Southern   Alabama                 6        0.00%        0.00%        0.00%        0.00%
11/20/2020   Southern   Arkansas                3       33.33%       33.33%       33.33%       33.33%
11/20/2020   Southern   Dallas                 11       81.82%       81.82%       81.82%       81.82%

11/20/2020 Southern     Ft. Worth               9       22.22%       22.22%       22.22%       22.22%

11/20/2020 Southern     Gulf Atlantic         713       99.72%       99.72%       99.72%       99.72%
11/20/2020 Southern     Houston                11       63.64%       63.64%       63.64%       72.73%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

11/20/2020 Southern     Louisiana               8       62.50%       75.00%       75.00%       75.00%

11/20/2020 Southern     Mississippi           286       98.60%       98.60%       98.60%       98.60%

11/20/2020 Southern     Oklahoma                0 Null%          Null%        Null%        Null%

11/20/2020 Southern     Rio Grande              8       87.50%       87.50%       87.50%       87.50%

11/20/2020   Southern   South Florida          16       62.50%       68.75%       68.75%       68.75%
11/20/2020   Southern   Suncoast              715       98.18%       98.32%       98.32%       98.32%
11/20/2020   Western    Alaska                  2      100.00%      100.00%      100.00%      100.00%
11/20/2020   Western    Arizona                18       77.78%       83.33%       83.33%       83.33%

11/20/2020 Western      Central Plains          7       71.43%       71.43%       71.43%       71.43%

                        Colorado/Wyo
11/20/2020 Western      ming                   26       65.38%       84.62%       84.62%       84.62%
11/20/2020 Western      Dakotas               112       98.21%       99.11%       99.11%       99.11%
11/20/2020 Western      Hawkeye                13       30.77%       38.46%       38.46%       38.46%

11/20/2020 Western      Mid-Americas           14       35.71%       50.00%       50.00%       50.00%

11/20/2020 Western      Nevada Sierra           1      100.00%      100.00%      100.00%      100.00%

11/20/2020 Western      Northland              11       81.82%       81.82%       81.82%       81.82%
11/20/2020 Western      Portland               32       90.63%       96.88%       96.88%       96.88%

11/20/2020 Western      Salt Lake City          6      100.00%      100.00%      100.00%      100.00%
11/20/2020 Western      Seattle                53       88.68%       94.34%       94.34%       94.34%
           Capital
11/21/2020 Metro        Atlanta                17       58.82%       70.59%       70.59%       70.59%
           Capital
11/21/2020 Metro        Baltimore              22       81.82%       90.91%       90.91%       90.91%
           Capital
11/21/2020 Metro        Capital                23       95.65%       95.65%       95.65%       95.65%
           Capital      Greater S
11/21/2020 Metro        Carolina               40       80.00%       82.50%       82.50%       85.00%
           Capital
11/21/2020 Metro        Greensboro             10       80.00%      100.00%      100.00%      100.00%
           Capital
11/21/2020 Metro        Mid-Carolinas           7       71.43%       71.43%       71.43%       71.43%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area          District         Ballot     Ballot       Ballot       Ballot       Ballot
           Capital       Norther
11/21/2020 Metro         Virginia                9      100.00%      100.00%      100.00%      100.00%
           Capital
11/21/2020 Metro         Richmond               15       53.33%       53.33%       60.00%       60.00%

11/21/2020 Eastern       Appalachian             1      100.00%      100.00%      100.00%      100.00%

                         Central
11/21/2020 Eastern       Pennsylvania            6       33.33%       66.67%       83.33%      100.00%

11/21/2020 Eastern       Kentuckiana            10       60.00%       60.00%       70.00%       70.00%

11/21/2020 Eastern       Norther Ohio            7       42.86%       57.14%       71.43%       71.43%

11/21/2020 Eastern       Ohio Valley            12       83.33%       83.33%       83.33%       83.33%

                         Philadelphia
11/21/2020 Eastern       Metropo                34       79.41%       88.24%       94.12%       94.12%

11/21/2020 Eastern       South Jersey           45       71.11%       84.44%       84.44%       88.89%

11/21/2020 Eastern       Tennessee              14       64.29%       78.57%       78.57%       78.57%

                         Western New
11/21/2020 Eastern       York                   10       70.00%       90.00%       90.00%       90.00%

                         Western
11/21/2020 Eastern       Pennsylvania           11       54.55%       63.64%       72.73%       72.73%

11/21/2020 Great Lakes Central Illinois         11       81.82%       81.82%       81.82%       81.82%

11/21/2020 Great Lakes Chicago                   7       42.86%       42.86%       57.14%       57.14%

11/21/2020 Great Lakes Detroit                  11       63.64%       63.64%       81.82%       81.82%

11/21/2020 Great Lakes Gateway                   9       55.56%       55.56%       66.67%       66.67%
                       Greater
11/21/2020 Great Lakes Indiana                   7       14.29%       28.57%       42.86%       42.86%
                       Greater
11/21/2020 Great Lakes Michigan                  9       66.67%       77.78%       77.78%       77.78%

11/21/2020 Great Lakes Lakeland                  3       33.33%       33.33%       33.33%       33.33%
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                                         Measured     Processing    Processing    Processing    Processing
                                         Volume:      Score:        Score Plus    Score Plus    Score Plus
                                         Inbound      Inbound       1: Inbound    2: Inbound    3: Inbound
Date       Area         District         Ballot       Ballot        Ballot        Ballot        Ballot
11/21/2020 Northeast    Albany                   12        41.67%        66.67%        75.00%        75.00%

11/21/2020 Northeast    Caribbean

                        Connecticut
11/21/2020 Northeast    Valley                  44        88.64%        93.18%        95.45%        95.45%
                        Greater
11/21/2020 Northeast    Boston                 290        98.62%        99.31%        99.66%        99.66%

11/21/2020 Northeast    Long Island             10         0.00%        20.00%        20.00%        20.00%

11/21/2020 Northeast    New York                26        53.85%        65.38%        80.77%        80.77%

                        Northern New
11/21/2020 Northeast    England                  7        85.71%        85.71%        85.71%        85.71%

                        Northern New
11/21/2020 Northeast    Jersey                  13        69.23%        84.62%        84.62%        92.31%
11/21/2020 Northeast    Triboro                 18        27.78%        27.78%        27.78%        27.78%

11/21/2020 Northeast    Westchester              3        66.67%       100.00%       100.00%       100.00%

11/21/2020 Pacific      Bay-Valley              18        77.78%        77.78%        77.78%        77.78%
11/21/2020 Pacific      Honolulu                 2       100.00%       100.00%       100.00%       100.00%

11/21/2020 Pacific      Los Angeles             40        50.00%        52.50%        57.50%        57.50%

11/21/2020 Pacific      Sacramento             165        54.55%        92.12%        92.12%        92.12%

11/21/2020 Pacific      San Diego               10        60.00%        60.00%        70.00%        70.00%

11/21/2020 Pacific      San Francisco           24        58.33%        58.33%        62.50%        62.50%

11/21/2020 Pacific      Santa Ana               10        90.00%        90.00%        90.00%        90.00%

11/21/2020   Pacific    Sierra Coastal          20        80.00%        80.00%        95.00%        95.00%
11/21/2020   Southern   Alabama                  1       100.00%       100.00%       100.00%       100.00%
11/21/2020   Southern   Arkansas                 7        57.14%        57.14%        57.14%        57.14%
11/21/2020   Southern   Dallas                  10        90.00%        90.00%        90.00%        90.00%

11/21/2020 Southern     Ft. Worth                3        33.33%        33.33%        33.33%        33.33%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

11/21/2020 Southern     Gulf Atlantic         622       98.23%       98.23%       98.23%       98.39%
11/21/2020 Southern     Houston                 7       71.43%       71.43%       71.43%       71.43%

11/21/2020 Southern     Louisiana               4       50.00%       50.00%       50.00%       50.00%

11/21/2020 Southern     Mississippi           250       14.80%       99.60%       99.60%       99.60%

11/21/2020 Southern     Oklahoma                1      100.00%      100.00%      100.00%      100.00%

11/21/2020 Southern     Rio Grande             11       45.45%       54.55%       63.64%       63.64%

11/21/2020   Southern   South Florida          15       66.67%       93.33%      100.00%      100.00%
11/21/2020   Southern   Suncoast              453       97.13%       97.79%       98.23%       98.23%
11/21/2020   Western    Alaska                 11       54.55%       54.55%       54.55%       54.55%
11/21/2020   Western    Arizona                34       88.24%       94.12%       94.12%       94.12%

11/21/2020 Western      Central Plains          8       50.00%       50.00%       62.50%       62.50%

                        Colorado/Wyo
11/21/2020 Western      ming                   18       55.56%       66.67%       66.67%       66.67%
11/21/2020 Western      Dakotas                95       90.53%       93.68%       95.79%       95.79%
11/21/2020 Western      Hawkeye                 8       62.50%       62.50%       62.50%       62.50%

11/21/2020 Western      Mid-Americas            5       80.00%       80.00%       80.00%       80.00%

11/21/2020 Western      Nevada Sierra          13      100.00%      100.00%      100.00%      100.00%

11/21/2020 Western      Northland              10       40.00%       60.00%       70.00%       70.00%
11/21/2020 Western      Portland               16      100.00%      100.00%      100.00%      100.00%

11/21/2020 Western      Salt Lake City          4      100.00%      100.00%      100.00%      100.00%
11/21/2020 Western      Seattle                50       92.00%       94.00%       94.00%       94.00%
           Capital
11/23/2020 Metro        Atlanta                18       77.78%       88.89%       94.44%       94.44%
           Capital
11/23/2020 Metro        Baltimore              29       86.21%       96.55%       96.55%      100.00%
           Capital
11/23/2020 Metro        Capital                18       83.33%       83.33%       83.33%       83.33%
           Capital      Greater S
11/23/2020 Metro        Carolina               24       45.83%       70.83%       70.83%       70.83%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area        District         Ballot     Ballot       Ballot       Ballot       Ballot
             Capital
11/23/2020   Metro       Greensboro             15       60.00%       80.00%       80.00%       80.00%
             Capital
11/23/2020   Metro       Mid-Carolinas           8       62.50%       75.00%       75.00%       75.00%
             Capital     Norther
11/23/2020   Metro       Virginia               11       54.55%       63.64%       63.64%       63.64%
             Capital
11/23/2020   Metro       Richmond               15       53.33%       80.00%       80.00%       80.00%

11/23/2020 Eastern       Appalachian             7       28.57%       28.57%       28.57%       28.57%

                         Central
11/23/2020 Eastern       Pennsylvania           17       64.71%       64.71%       70.59%       70.59%

11/23/2020 Eastern       Kentuckiana            13       46.15%       46.15%       46.15%       46.15%

11/23/2020 Eastern       Norther Ohio           15       46.67%       46.67%       53.33%       53.33%

11/23/2020 Eastern       Ohio Valley            14       57.14%       57.14%       57.14%       57.14%

                         Philadelphia
11/23/2020 Eastern       Metropo                29       79.31%       86.21%       86.21%       86.21%

11/23/2020 Eastern       South Jersey           42       69.05%       88.10%       88.10%       90.48%

11/23/2020 Eastern       Tennessee              10       70.00%       70.00%       70.00%       70.00%

                         Western New
11/23/2020 Eastern       York                   13       76.92%       84.62%       84.62%       84.62%

                         Western
11/23/2020 Eastern       Pennsylvania           12       66.67%       66.67%       66.67%       66.67%

11/23/2020 Great Lakes Central Illinois         24       58.33%       70.83%       79.17%       83.33%

11/23/2020 Great Lakes Chicago                  23       17.39%       17.39%       21.74%       21.74%

11/23/2020 Great Lakes Detroit                  16       56.25%       62.50%       75.00%       75.00%

11/23/2020 Great Lakes Gateway                   9       11.11%       33.33%       33.33%       33.33%
                       Greater
11/23/2020 Great Lakes Indiana                  19       31.58%       31.58%       31.58%       36.84%
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                                        Measured   Processing   Processing   Processing   Processing
                                        Volume:    Score:       Score Plus   Score Plus   Score Plus
                                        Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area       District         Ballot     Ballot       Ballot       Ballot       Ballot
                       Greater
11/23/2020 Great Lakes Michigan                6       66.67%       66.67%       66.67%       66.67%

11/23/2020 Great Lakes Lakeland                6       33.33%       33.33%       50.00%       50.00%
11/23/2020 Northeast Albany                   22       90.91%       90.91%       90.91%       90.91%

11/23/2020 Northeast   Caribbean               3       33.33%       33.33%       33.33%       33.33%

                       Connecticut
11/23/2020 Northeast   Valley                 21       52.38%       66.67%       66.67%       66.67%
                       Greater
11/23/2020 Northeast   Boston                385       96.10%       96.88%       96.88%       96.88%

11/23/2020 Northeast   Long Island             8       37.50%       62.50%       62.50%       62.50%

11/23/2020 Northeast   New York               30       63.33%       76.67%       86.67%       86.67%

                       Northern New
11/23/2020 Northeast   England                15       80.00%       80.00%       80.00%       80.00%

                       Northern New
11/23/2020 Northeast   Jersey                  9       88.89%       88.89%       88.89%       88.89%
11/23/2020 Northeast   Triboro                 7       42.86%       42.86%       71.43%       71.43%

11/23/2020 Northeast   Westchester             9       66.67%       88.89%       88.89%       88.89%

11/23/2020 Pacific     Bay-Valley             13       84.62%       84.62%       84.62%       84.62%
11/23/2020 Pacific     Honolulu                6       83.33%       83.33%       83.33%       83.33%

11/23/2020 Pacific     Los Angeles            67       62.69%       76.12%       76.12%       76.12%

11/23/2020 Pacific     Sacramento             77       64.94%       75.32%       83.12%       83.12%

11/23/2020 Pacific     San Diego              15       73.33%       73.33%       73.33%       73.33%

11/23/2020 Pacific     San Francisco          43       65.12%       69.77%       69.77%       69.77%

11/23/2020 Pacific     Santa Ana              36       77.78%       88.89%       91.67%       91.67%

11/23/2020 Pacific     Sierra Coastal         26       61.54%       76.92%       80.77%       80.77%
11/23/2020 Southern    Alabama                12       91.67%       91.67%       91.67%       91.67%
11/23/2020 Southern    Arkansas              172       98.26%       99.42%       99.42%       99.42%
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                                         Measured     Processing    Processing    Processing    Processing
                                         Volume:      Score:        Score Plus    Score Plus    Score Plus
                                         Inbound      Inbound       1: Inbound    2: Inbound    3: Inbound
Date       Area         District         Ballot       Ballot        Ballot        Ballot        Ballot
11/23/2020 Southern     Dallas                   80        91.25%        93.75%        93.75%        93.75%

11/23/2020 Southern     Ft. Worth                9        33.33%        33.33%        33.33%        33.33%

11/23/2020 Southern     Gulf Atlantic          362        97.51%        98.34%        98.90%        98.90%
11/23/2020 Southern     Houston                  9       100.00%       100.00%       100.00%       100.00%

11/23/2020 Southern     Louisiana                8        50.00%        75.00%        75.00%        75.00%

11/23/2020 Southern     Mississippi            577        98.61%        98.96%        98.96%        98.96%

11/23/2020 Southern     Oklahoma                10        20.00%        40.00%        50.00%        50.00%

11/23/2020 Southern     Rio Grande              27        66.67%        74.07%        74.07%        74.07%

11/23/2020   Southern   South Florida           21        80.95%        80.95%        80.95%        90.48%
11/23/2020   Southern   Suncoast               357        95.80%        96.08%        96.08%        96.64%
11/23/2020   Western    Alaska                  11        63.64%        63.64%        72.73%        72.73%
11/23/2020   Western    Arizona                 22        77.27%        81.82%        81.82%        81.82%

11/23/2020 Western      Central Plains          13        53.85%        53.85%        53.85%        53.85%

                        Colorado/Wyo
11/23/2020 Western      ming                    33        42.42%        54.55%        54.55%        54.55%
11/23/2020 Western      Dakotas                 95        93.68%        95.79%        97.89%        97.89%
11/23/2020 Western      Hawkeye                 14        64.29%        71.43%        71.43%        71.43%

11/23/2020 Western      Mid-Americas            14        64.29%        64.29%        64.29%        71.43%

11/23/2020 Western      Nevada Sierra           11        54.55%        63.64%        63.64%        81.82%

11/23/2020 Western      Northland                7        71.43%        85.71%        85.71%        85.71%
11/23/2020 Western      Portland                17        94.12%        94.12%        94.12%        94.12%

11/23/2020 Western      Salt Lake City           7        85.71%        85.71%        85.71%       100.00%
11/23/2020 Western      Seattle                 41        70.73%        70.73%        70.73%        70.73%
           Capital
11/24/2020 Metro        Atlanta                 12        41.67%        66.67%        66.67%        66.67%
           Capital
11/24/2020 Metro        Baltimore                7        42.86%        85.71%        85.71%        85.71%
           Capital
11/24/2020 Metro        Capital                 12       100.00%       100.00%       100.00%       100.00%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area        District         Ballot     Ballot       Ballot       Ballot       Ballot
             Capital     Greater S
11/24/2020   Metro       Carolina               38       89.47%       94.74%       94.74%       94.74%
             Capital
11/24/2020   Metro       Greensboro              9       66.67%      100.00%      100.00%      100.00%
             Capital
11/24/2020   Metro       Mid-Carolinas           7       57.14%      100.00%      100.00%      100.00%
             Capital     Norther
11/24/2020   Metro       Virginia                3      100.00%      100.00%      100.00%      100.00%
             Capital
11/24/2020   Metro       Richmond               14       28.57%       71.43%       71.43%       71.43%

11/24/2020 Eastern       Appalachian             2        0.00%      100.00%      100.00%      100.00%

                         Central
11/24/2020 Eastern       Pennsylvania            4       25.00%       75.00%      100.00%      100.00%

11/24/2020 Eastern       Kentuckiana             5       40.00%       80.00%       80.00%       80.00%

11/24/2020 Eastern       Norther Ohio            7       71.43%      100.00%      100.00%      100.00%

11/24/2020 Eastern       Ohio Valley            13       23.08%       38.46%       38.46%       46.15%

                         Philadelphia
11/24/2020 Eastern       Metropo                10       40.00%       50.00%       50.00%       50.00%

11/24/2020 Eastern       South Jersey           15       73.33%       86.67%       86.67%       86.67%

11/24/2020 Eastern       Tennessee               8       75.00%       75.00%       75.00%       75.00%

                         Western New
11/24/2020 Eastern       York                    4      100.00%      100.00%      100.00%      100.00%

                         Western
11/24/2020 Eastern       Pennsylvania            6       66.67%       83.33%       83.33%       83.33%

11/24/2020 Great Lakes Central Illinois          7       71.43%       85.71%       85.71%       85.71%

11/24/2020 Great Lakes Chicago                   7       28.57%       28.57%       28.57%       28.57%

11/24/2020 Great Lakes Detroit                  26       61.54%      100.00%      100.00%      100.00%

11/24/2020 Great Lakes Gateway                   6       50.00%       66.67%       66.67%       66.67%
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                                        Measured   Processing   Processing   Processing   Processing
                                        Volume:    Score:       Score Plus   Score Plus   Score Plus
                                        Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area       District         Ballot     Ballot       Ballot       Ballot       Ballot
                       Greater
11/24/2020 Great Lakes Indiana                 5       20.00%       60.00%       60.00%       60.00%
                       Greater
11/24/2020 Great Lakes Michigan                3        0.00%       33.33%       33.33%       33.33%

11/24/2020 Great Lakes Lakeland                7       42.86%       71.43%       71.43%       71.43%
11/24/2020 Northeast Albany                    8       62.50%       62.50%       62.50%       62.50%

11/24/2020 Northeast   Caribbean               1      100.00%      100.00%      100.00%      100.00%

                       Connecticut
11/24/2020 Northeast   Valley                  7       57.14%       71.43%       71.43%       71.43%
                       Greater
11/24/2020 Northeast   Boston                204       97.55%       98.04%       98.04%       98.04%

11/24/2020 Northeast   Long Island             5       80.00%       80.00%       80.00%       80.00%

11/24/2020 Northeast   New York                8       75.00%      100.00%      100.00%      100.00%

                       Northern New
11/24/2020 Northeast   England                 5       80.00%      100.00%      100.00%      100.00%

                       Northern New
11/24/2020 Northeast   Jersey                 13       46.15%       84.62%       84.62%       84.62%
11/24/2020 Northeast   Triboro                 6       66.67%       83.33%       83.33%       83.33%

11/24/2020 Northeast   Westchester             3       66.67%       66.67%       66.67%       66.67%

11/24/2020 Pacific     Bay-Valley             15       73.33%       86.67%       86.67%       86.67%
11/24/2020 Pacific     Honolulu                1        0.00%        0.00%        0.00%        0.00%

11/24/2020 Pacific     Los Angeles            39       64.10%       64.10%       64.10%       64.10%

11/24/2020 Pacific     Sacramento             10       70.00%       80.00%       80.00%       80.00%

11/24/2020 Pacific     San Diego              38       65.79%       94.74%       94.74%       97.37%

11/24/2020 Pacific     San Francisco          10       60.00%       60.00%       60.00%       60.00%

11/24/2020 Pacific     Santa Ana               9      100.00%      100.00%      100.00%      100.00%

11/24/2020 Pacific     Sierra Coastal         14       85.71%       85.71%       85.71%       85.71%
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                                         Measured     Processing    Processing    Processing     Processing
                                         Volume:      Score:        Score Plus    Score Plus     Score Plus
                                         Inbound      Inbound       1: Inbound    2: Inbound     3: Inbound
Date         Area       District         Ballot       Ballot        Ballot        Ballot         Ballot
11/24/2020   Southern   Alabama                   8        37.50%        62.50%         75.00%        75.00%
11/24/2020   Southern   Arkansas                 13        84.62%        84.62%         84.62%        84.62%
11/24/2020   Southern   Dallas                   20       100.00%       100.00%        100.00%       100.00%

11/24/2020 Southern     Ft. Worth                6        16.67%        16.67%        16.67%         16.67%

11/24/2020 Southern     Gulf Atlantic          506        97.63%        98.42%        98.42%         98.42%
11/24/2020 Southern     Houston                 41        82.93%        90.24%        90.24%         90.24%

11/24/2020 Southern     Louisiana                4        50.00%        75.00%        75.00%         75.00%

11/24/2020 Southern     Mississippi            330       100.00%       100.00%       100.00%        100.00%

11/24/2020 Southern     Oklahoma                 8        75.00%        87.50%        87.50%         87.50%

11/24/2020 Southern     Rio Grande             315        99.37%       100.00%       100.00%        100.00%

11/24/2020   Southern   South Florida           15        40.00%        53.33%        53.33%         53.33%
11/24/2020   Southern   Suncoast               786        98.09%        98.22%        98.22%         98.22%
11/24/2020   Western    Alaska                   2       100.00%       100.00%       100.00%        100.00%
11/24/2020   Western    Arizona                 20        70.00%        70.00%        70.00%         70.00%

11/24/2020 Western      Central Plains           4         0.00%        25.00%        25.00%         25.00%

                        Colorado/Wyo
11/24/2020 Western      ming                    12        41.67%        58.33%        58.33%         58.33%
11/24/2020 Western      Dakotas                 15        73.33%        86.67%        86.67%         86.67%
11/24/2020 Western      Hawkeye                  4       100.00%       100.00%       100.00%        100.00%

11/24/2020 Western      Mid-Americas             1       100.00%       100.00%       100.00%        100.00%

11/24/2020 Western      Nevada Sierra            6       100.00%       100.00%       100.00%        100.00%

11/24/2020 Western      Northland               15        46.67%        46.67%        46.67%         46.67%
11/24/2020 Western      Portland                13        61.54%        61.54%        61.54%         61.54%

11/24/2020 Western      Salt Lake City           4       100.00%       100.00%       100.00%        100.00%
11/24/2020 Western      Seattle                 33        84.85%        87.88%        87.88%         87.88%
           Capital
11/25/2020 Metro        Atlanta                 12        66.67%        66.67%        75.00%         75.00%
           Capital
11/25/2020 Metro        Baltimore               10        70.00%        70.00%        80.00%         80.00%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area        District         Ballot     Ballot       Ballot       Ballot       Ballot
             Capital
11/25/2020   Metro       Capital                23       86.96%      100.00%      100.00%      100.00%
             Capital     Greater S
11/25/2020   Metro       Carolina               12       58.33%       58.33%      100.00%      100.00%
             Capital
11/25/2020   Metro       Greensboro             11        9.09%        9.09%        9.09%        9.09%
             Capital
11/25/2020   Metro       Mid-Carolinas           4       75.00%       75.00%      100.00%      100.00%
             Capital     Norther
11/25/2020   Metro       Virginia                6       66.67%       66.67%       66.67%       66.67%
             Capital
11/25/2020   Metro       Richmond                5       20.00%       40.00%       40.00%       40.00%

11/25/2020 Eastern       Appalachian             3       66.67%       66.67%       66.67%       66.67%

                         Central
11/25/2020 Eastern       Pennsylvania            1      100.00%      100.00%      100.00%      100.00%

11/25/2020 Eastern       Kentuckiana             4       50.00%       50.00%       50.00%       50.00%

11/25/2020 Eastern       Norther Ohio            6       66.67%       66.67%       66.67%       66.67%

11/25/2020 Eastern       Ohio Valley             7       57.14%       57.14%       57.14%       57.14%

                         Philadelphia
11/25/2020 Eastern       Metropo                 1      100.00%      100.00%      100.00%      100.00%

11/25/2020 Eastern       South Jersey           21       71.43%       71.43%       76.19%       76.19%

11/25/2020 Eastern       Tennessee              34       85.29%       91.18%       91.18%       91.18%

                         Western New
11/25/2020 Eastern       York                   10      100.00%      100.00%      100.00%      100.00%

                         Western
11/25/2020 Eastern       Pennsylvania            3      100.00%      100.00%      100.00%      100.00%

11/25/2020 Great Lakes Central Illinois         11       45.45%       45.45%       63.64%       63.64%

11/25/2020 Great Lakes Chicago                   4       50.00%       50.00%       50.00%       50.00%

11/25/2020 Great Lakes Detroit                   8       75.00%       75.00%       75.00%       75.00%
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                                       Measured   Processing   Processing   Processing   Processing
                                       Volume:    Score:       Score Plus   Score Plus   Score Plus
                                       Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area       District        Ballot     Ballot       Ballot       Ballot       Ballot

11/25/2020 Great Lakes Gateway                8       50.00%       50.00%       75.00%       75.00%
                       Greater
11/25/2020 Great Lakes Indiana                3       33.33%       33.33%       66.67%       66.67%
                       Greater
11/25/2020 Great Lakes Michigan               4       50.00%       75.00%      100.00%      100.00%

11/25/2020 Great Lakes Lakeland               8       62.50%       62.50%       62.50%       62.50%
11/25/2020 Northeast Albany                  21       90.48%       90.48%       90.48%       90.48%

11/25/2020 Northeast   Caribbean              5       80.00%       80.00%       80.00%       80.00%

                       Connecticut
11/25/2020 Northeast   Valley                23       95.65%       95.65%       95.65%       95.65%
                       Greater
11/25/2020 Northeast   Boston               147       93.20%       93.20%       95.92%       96.60%

11/25/2020 Northeast   Long Island           11       63.64%       63.64%       63.64%       63.64%

11/25/2020 Northeast   New York              27       74.07%       81.48%       85.19%       85.19%

                       Northern New
11/25/2020 Northeast   England                5       40.00%       40.00%       60.00%       80.00%

                       Northern New
11/25/2020 Northeast   Jersey                10       80.00%       80.00%       90.00%       90.00%
11/25/2020 Northeast   Triboro                7       57.14%       57.14%       57.14%       57.14%

11/25/2020 Northeast   Westchester           10      100.00%      100.00%      100.00%      100.00%

11/25/2020 Pacific     Bay-Valley            22       90.91%       90.91%       90.91%       90.91%
11/25/2020 Pacific     Honolulu               6       83.33%       83.33%      100.00%      100.00%

11/25/2020 Pacific     Los Angeles           29       68.97%       68.97%       89.66%       89.66%

11/25/2020 Pacific     Sacramento            60       53.33%       55.00%       76.67%       76.67%

11/25/2020 Pacific     San Diego             20       60.00%       60.00%       75.00%       75.00%

11/25/2020 Pacific     San Francisco         23       82.61%       86.96%       95.65%       95.65%

11/25/2020 Pacific     Santa Ana             10       70.00%       80.00%       90.00%       90.00%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

11/25/2020   Pacific    Sierra Coastal          6       83.33%       83.33%       83.33%       83.33%
11/25/2020   Southern   Alabama                 2      100.00%      100.00%      100.00%      100.00%
11/25/2020   Southern   Arkansas              245       99.18%       99.18%       99.18%       99.18%
11/25/2020   Southern   Dallas                652       99.54%       99.54%       99.54%       99.54%

11/25/2020 Southern     Ft. Worth               5       40.00%       40.00%       40.00%       40.00%

11/25/2020 Southern     Gulf Atlantic         301       94.02%       94.35%       96.01%       99.34%
11/25/2020 Southern     Houston               848       97.64%       97.88%       98.00%       98.00%

11/25/2020 Southern     Louisiana

11/25/2020 Southern     Mississippi           153       97.39%       97.39%       98.69%       98.69%

11/25/2020 Southern     Oklahoma                2      100.00%      100.00%      100.00%      100.00%

11/25/2020 Southern     Rio Grande            517       99.61%       99.61%       99.61%       99.61%

11/25/2020 Southern     South Florida          10       40.00%       40.00%       50.00%       50.00%
11/25/2020 Southern     Suncoast              409       96.82%       97.31%       98.04%       98.04%
11/25/2020 Western      Arizona                16       81.25%       81.25%       93.75%       93.75%

11/25/2020 Western      Central Plains         12       58.33%       66.67%       66.67%       66.67%

                        Colorado/Wyo
11/25/2020 Western      ming                   14        0.00%       35.71%       50.00%       50.00%
11/25/2020 Western      Dakotas                45       95.56%       95.56%       95.56%       95.56%
11/25/2020 Western      Hawkeye                 9       77.78%       77.78%       77.78%       77.78%

11/25/2020 Western      Mid-Americas            4       25.00%       25.00%       25.00%       25.00%

11/25/2020 Western      Nevada Sierra           5      100.00%      100.00%      100.00%      100.00%

11/25/2020 Western      Northland              15       66.67%       66.67%       66.67%       66.67%
11/25/2020 Western      Portland               12       66.67%       66.67%       75.00%       75.00%

11/25/2020 Western      Salt Lake City          5       20.00%       20.00%       40.00%       40.00%
11/25/2020 Western      Seattle                31       74.19%       83.87%       90.32%       90.32%
           Capital
11/27/2020 Metro        Atlanta                68       86.76%       92.65%       92.65%       92.65%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area        District         Ballot     Ballot       Ballot       Ballot       Ballot
             Capital
11/27/2020   Metro       Baltimore              14       78.57%       78.57%       78.57%       78.57%
             Capital
11/27/2020   Metro       Capital                22       86.36%       86.36%       86.36%       86.36%
             Capital     Greater S
11/27/2020   Metro       Carolina               46       97.83%       97.83%      100.00%      100.00%
             Capital
11/27/2020   Metro       Greensboro              9       44.44%       44.44%       55.56%       55.56%
             Capital
11/27/2020   Metro       Mid-Carolinas          10       60.00%       60.00%       60.00%       60.00%
             Capital     Norther
11/27/2020   Metro       Virginia                7       71.43%       71.43%       71.43%       71.43%
             Capital
11/27/2020   Metro       Richmond               19       52.63%       52.63%       52.63%       52.63%

11/27/2020 Eastern       Appalachian             6       33.33%       33.33%       50.00%       66.67%

                         Central
11/27/2020 Eastern       Pennsylvania           12       66.67%       75.00%       75.00%       75.00%

11/27/2020 Eastern       Kentuckiana            10       30.00%       50.00%       50.00%       70.00%

11/27/2020 Eastern       Norther Ohio            8       62.50%       62.50%       62.50%       62.50%

11/27/2020 Eastern       Ohio Valley            20       70.00%       70.00%       70.00%       70.00%

                         Philadelphia
11/27/2020 Eastern       Metropo                40       77.50%       85.00%       87.50%       87.50%

11/27/2020 Eastern       South Jersey           61       54.10%       90.16%       91.80%       91.80%

11/27/2020 Eastern       Tennessee              46       65.22%       65.22%       65.22%       71.74%

                         Western New
11/27/2020 Eastern       York                   20       55.00%       55.00%       55.00%       55.00%

                         Western
11/27/2020 Eastern       Pennsylvania           17       58.82%       58.82%       58.82%       58.82%

11/27/2020 Great Lakes Central Illinois         24       66.67%       70.83%       70.83%       83.33%

11/27/2020 Great Lakes Chicago                  22        4.55%        4.55%        4.55%       22.73%
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                                       Measured   Processing   Processing   Processing   Processing
                                       Volume:    Score:       Score Plus   Score Plus   Score Plus
                                       Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area       District        Ballot     Ballot       Ballot       Ballot       Ballot

11/27/2020 Great Lakes Detroit               14       78.57%       78.57%       78.57%       78.57%

11/27/2020 Great Lakes Gateway               15       40.00%       46.67%       46.67%       46.67%
                       Greater
11/27/2020 Great Lakes Indiana                6      100.00%      100.00%      100.00%      100.00%
                       Greater
11/27/2020 Great Lakes Michigan               7       57.14%       57.14%       57.14%       57.14%

11/27/2020 Great Lakes Lakeland              16       43.75%       43.75%       43.75%       50.00%
11/27/2020 Northeast Albany                  20       90.00%       90.00%       90.00%       90.00%

11/27/2020 Northeast   Caribbean              3       33.33%       33.33%       33.33%      100.00%

                       Connecticut
11/27/2020 Northeast   Valley                30       66.67%       86.67%       86.67%       86.67%
                       Greater
11/27/2020 Northeast   Boston               360       98.89%       99.44%       99.44%       99.44%

11/27/2020 Northeast   Long Island           12       75.00%       75.00%       75.00%       75.00%

11/27/2020 Northeast   New York             159       93.08%       94.34%       94.34%       94.97%

                       Northern New
11/27/2020 Northeast   England               11       72.73%       72.73%       72.73%       81.82%

                       Northern New
11/27/2020 Northeast   Jersey                19       73.68%       73.68%       73.68%       73.68%
11/27/2020 Northeast   Triboro               14       85.71%       85.71%       85.71%       85.71%

11/27/2020 Northeast   Westchester           17       76.47%       76.47%       76.47%       76.47%

11/27/2020 Pacific     Bay-Valley            12       83.33%       83.33%       83.33%       83.33%
11/27/2020 Pacific     Honolulu               6       83.33%       83.33%       83.33%      100.00%

11/27/2020 Pacific     Los Angeles           54       42.59%       42.59%       44.44%       44.44%

11/27/2020 Pacific     Sacramento            66       60.61%       62.12%       62.12%       65.15%

11/27/2020 Pacific     San Diego             12       83.33%       83.33%       83.33%       83.33%

11/27/2020 Pacific     San Francisco         36       80.56%       80.56%       80.56%       86.11%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

11/27/2020 Pacific      Santa Ana               9       66.67%       66.67%       66.67%       66.67%

11/27/2020   Pacific    Sierra Coastal         23       78.26%       78.26%       78.26%       82.61%
11/27/2020   Southern   Alabama                 8       75.00%       75.00%       75.00%       75.00%
11/27/2020   Southern   Arkansas              324       99.07%       99.38%      100.00%      100.00%
11/27/2020   Southern   Dallas               1392       99.71%       99.86%       99.86%       99.86%

11/27/2020 Southern     Ft. Worth               6       50.00%       50.00%       50.00%       50.00%

11/27/2020 Southern     Gulf Atlantic         268       93.28%       93.66%       94.03%       94.78%
11/27/2020 Southern     Houston              1283       96.88%       96.88%       96.96%       96.96%

11/27/2020 Southern     Louisiana              19       63.16%       63.16%       63.16%       68.42%

11/27/2020 Southern     Mississippi            26       84.62%       84.62%       84.62%       92.31%

11/27/2020 Southern     Oklahoma               11       72.73%       81.82%       90.91%       90.91%

11/27/2020 Southern     Rio Grande            563       98.22%       98.93%       99.11%       99.29%

11/27/2020   Southern   South Florida          16       68.75%       68.75%       68.75%       68.75%
11/27/2020   Southern   Suncoast              301       94.68%       95.02%       95.35%       95.68%
11/27/2020   Western    Alaska                  5       60.00%       80.00%       80.00%       80.00%
11/27/2020   Western    Arizona                28       75.00%       75.00%       75.00%       75.00%

11/27/2020 Western      Central Plains         24       83.33%       83.33%       83.33%       87.50%

                        Colorado/Wyo
11/27/2020 Western      ming                   20       50.00%       60.00%       60.00%       75.00%
11/27/2020 Western      Dakotas               126       99.21%       99.21%       99.21%       99.21%
11/27/2020 Western      Hawkeye                11      100.00%      100.00%      100.00%      100.00%

11/27/2020 Western      Mid-Americas           16       75.00%       75.00%       75.00%       75.00%

11/27/2020 Western      Nevada Sierra          16       43.75%       43.75%       43.75%       43.75%

11/27/2020 Western      Northland              23       56.52%       65.22%       65.22%       82.61%
11/27/2020 Western      Portland               33       81.82%       87.88%       90.91%       93.94%

11/27/2020 Western      Salt Lake City          7      100.00%      100.00%      100.00%      100.00%
11/27/2020 Western      Seattle                40       82.50%       82.50%       82.50%       82.50%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area        District         Ballot     Ballot       Ballot       Ballot       Ballot
             Capital
11/28/2020   Metro       Atlanta              1348       99.26%       99.78%       99.78%       99.78%
             Capital
11/28/2020   Metro       Baltimore               3       33.33%       33.33%       33.33%       33.33%
             Capital
11/28/2020   Metro       Capital                 7       28.57%      100.00%      100.00%      100.00%
             Capital     Greater S
11/28/2020   Metro       Carolina               13       46.15%       61.54%       61.54%       61.54%
             Capital
11/28/2020   Metro       Greensboro              6       33.33%       50.00%       50.00%       50.00%
             Capital
11/28/2020   Metro       Mid-Carolinas           5       80.00%       80.00%       80.00%       80.00%
             Capital     Norther
11/28/2020   Metro       Virginia                5      100.00%      100.00%      100.00%      100.00%
             Capital
11/28/2020   Metro       Richmond                6       50.00%       83.33%       83.33%       83.33%

11/28/2020 Eastern       Appalachian             2       50.00%       50.00%       50.00%       50.00%

                         Central
11/28/2020 Eastern       Pennsylvania           17       47.06%       58.82%       58.82%       58.82%

11/28/2020 Eastern       Kentuckiana             1      100.00%      100.00%      100.00%      100.00%

11/28/2020 Eastern       Norther Ohio            5       20.00%       80.00%       80.00%       80.00%

11/28/2020 Eastern       Ohio Valley             7       14.29%       71.43%       71.43%       71.43%

                         Philadelphia
11/28/2020 Eastern       Metropo                 6        0.00%       16.67%       16.67%       16.67%

11/28/2020 Eastern       South Jersey           11       45.45%       81.82%       81.82%       81.82%

11/28/2020 Eastern       Tennessee               6       33.33%       33.33%       33.33%       33.33%

                         Western New
11/28/2020 Eastern       York                    2        0.00%       50.00%       50.00%       50.00%

                         Western
11/28/2020 Eastern       Pennsylvania            4       50.00%       50.00%       50.00%       50.00%

11/28/2020 Great Lakes Central Illinois         11       45.45%       72.73%       72.73%       72.73%
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                                      Measured   Processing   Processing   Processing   Processing
                                      Volume:    Score:       Score Plus   Score Plus   Score Plus
                                      Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area       District       Ballot     Ballot       Ballot       Ballot       Ballot

11/28/2020 Great Lakes Chicago               4       50.00%      100.00%      100.00%      100.00%

11/28/2020 Great Lakes Detroit               4        0.00%       25.00%       25.00%       25.00%

11/28/2020 Great Lakes Gateway               5       20.00%       20.00%       20.00%       20.00%
                       Greater
11/28/2020 Great Lakes Indiana               1        0.00%      100.00%      100.00%      100.00%
                       Greater
11/28/2020 Great Lakes Michigan              4       50.00%       75.00%       75.00%       75.00%

11/28/2020 Great Lakes Lakeland              5       60.00%       60.00%       60.00%       60.00%
11/28/2020 Northeast Albany                  8       50.00%       87.50%       87.50%       87.50%

11/28/2020 Northeast   Caribbean             1      100.00%      100.00%      100.00%      100.00%

                       Connecticut
11/28/2020 Northeast   Valley                9       88.89%      100.00%      100.00%      100.00%
                       Greater
11/28/2020 Northeast   Boston               97       94.85%       96.91%       96.91%       96.91%

11/28/2020 Northeast   Long Island           4       50.00%      100.00%      100.00%      100.00%

11/28/2020 Northeast   New York              4       75.00%       75.00%       75.00%       75.00%

                       Northern New
11/28/2020 Northeast   England               2       50.00%       50.00%       50.00%       50.00%

                       Northern New
11/28/2020 Northeast   Jersey               13       23.08%       46.15%       46.15%       53.85%
11/28/2020 Northeast   Triboro               5       20.00%       20.00%       20.00%       20.00%

11/28/2020 Northeast   Westchester           6       33.33%       66.67%       66.67%       66.67%

11/28/2020 Pacific     Bay-Valley            5       60.00%       60.00%       60.00%       60.00%
11/28/2020 Pacific     Honolulu              8       75.00%       87.50%      100.00%      100.00%

11/28/2020 Pacific     Los Angeles           9       66.67%       77.78%       77.78%       77.78%

11/28/2020 Pacific     Sacramento           11       63.64%       72.73%       72.73%       72.73%

11/28/2020 Pacific     San Diego            10       60.00%       80.00%       80.00%       80.00%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

11/28/2020 Pacific      San Francisco           7       42.86%       42.86%       42.86%       42.86%

11/28/2020 Pacific      Santa Ana               0 Null%          Null%        Null%        Null%

11/28/2020   Pacific    Sierra Coastal         12       66.67%       83.33%       83.33%       83.33%
11/28/2020   Southern   Alabama                 8       12.50%       25.00%       25.00%       25.00%
11/28/2020   Southern   Arkansas               17       88.24%       94.12%       94.12%       94.12%
11/28/2020   Southern   Dallas                 60       90.00%       91.67%       91.67%       91.67%

11/28/2020 Southern     Ft. Worth               3       66.67%       66.67%       66.67%       66.67%

11/28/2020 Southern     Gulf Atlantic         158       92.41%       96.20%       96.20%       96.20%
11/28/2020 Southern     Houston               821       98.05%       98.05%       98.05%       98.05%

11/28/2020 Southern     Louisiana               2       50.00%       50.00%       50.00%       50.00%

11/28/2020 Southern     Mississippi             9       55.56%       55.56%       55.56%       55.56%

11/28/2020 Southern     Oklahoma                5       20.00%       20.00%       20.00%       20.00%

11/28/2020 Southern     Rio Grande            424       99.06%       99.53%       99.53%       99.53%

11/28/2020   Southern   South Florida          10       70.00%       70.00%       70.00%       70.00%
11/28/2020   Southern   Suncoast              273       91.94%       95.97%       95.97%       95.97%
11/28/2020   Western    Alaska                  3      100.00%      100.00%      100.00%      100.00%
11/28/2020   Western    Arizona                 6       50.00%       83.33%       83.33%       83.33%

11/28/2020 Western      Central Plains          4       50.00%       75.00%       75.00%       75.00%

                        Colorado/Wyo
11/28/2020 Western      ming                   16       37.50%       43.75%       43.75%       43.75%
11/28/2020 Western      Dakotas                 3       33.33%       66.67%       66.67%       66.67%
11/28/2020 Western      Hawkeye                 5       40.00%       80.00%       80.00%      100.00%

11/28/2020 Western      Mid-Americas            5       40.00%       80.00%       80.00%      100.00%

11/28/2020 Western      Nevada Sierra           2       50.00%      100.00%      100.00%      100.00%

11/28/2020 Western      Northland               4       25.00%      100.00%      100.00%      100.00%
11/28/2020 Western      Portland               14       28.57%       78.57%       78.57%       78.57%
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                                      Measured   Processing   Processing   Processing   Processing
                                      Volume:    Score:       Score Plus   Score Plus   Score Plus
                                      Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area      District         Ballot     Ballot       Ballot       Ballot       Ballot

11/28/2020 Western   Salt Lake City          5       40.00%       80.00%       80.00%      100.00%
11/28/2020 Western   Seattle                20       50.00%       60.00%       65.00%       65.00%
           Capital
11/30/2020 Metro     Atlanta              3673       99.43%       99.46%       99.73%       99.73%
           Capital
11/30/2020 Metro     Baltimore              26       42.31%       46.15%       84.62%       88.46%
           Capital
11/30/2020 Metro     Capital                13       69.23%       69.23%      100.00%      100.00%
           Capital   Greater S
11/30/2020 Metro     Carolina               51       49.02%       52.94%       66.67%       86.27%
           Capital
11/30/2020 Metro     Greensboro             17       64.71%       70.59%       76.47%       76.47%
           Capital
11/30/2020 Metro     Mid-Carolinas           4        0.00%       25.00%       50.00%       50.00%
           Capital   Norther
11/30/2020 Metro     Virginia                9       55.56%       55.56%       77.78%       77.78%
           Capital
11/30/2020 Metro     Richmond               14       35.71%       50.00%       50.00%       50.00%

11/30/2020 Eastern   Appalachian            13       30.77%       46.15%       46.15%       46.15%

                     Central
11/30/2020 Eastern   Pennsylvania           19       52.63%       57.89%       84.21%       84.21%

11/30/2020 Eastern   Kentuckiana             6       50.00%       66.67%       66.67%       66.67%

11/30/2020 Eastern   Norther Ohio           13       53.85%       69.23%       76.92%       76.92%

11/30/2020 Eastern   Ohio Valley             6       66.67%       66.67%       66.67%       66.67%

                     Philadelphia
11/30/2020 Eastern   Metropo                12       75.00%       75.00%       83.33%       83.33%

11/30/2020 Eastern   South Jersey           55       43.64%       45.45%       78.18%       80.00%

11/30/2020 Eastern   Tennessee              68       88.24%       95.59%       95.59%       95.59%

                     Western New
11/30/2020 Eastern   York                   10       80.00%       80.00%       80.00%       80.00%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

                         Western
11/30/2020 Eastern       Pennsylvania           11       54.55%       63.64%       63.64%       63.64%

11/30/2020 Great Lakes Central Illinois         24       70.83%       75.00%       79.17%       79.17%

11/30/2020 Great Lakes Chicago                   5       60.00%       60.00%       60.00%       60.00%

11/30/2020 Great Lakes Detroit                  13       61.54%       61.54%       84.62%       84.62%

11/30/2020 Great Lakes Gateway                  11       36.36%       36.36%       54.55%       54.55%
                       Greater
11/30/2020 Great Lakes Indiana                  11       45.45%       54.55%       72.73%       72.73%
                       Greater
11/30/2020 Great Lakes Michigan                  6       66.67%       66.67%       83.33%       83.33%

11/30/2020 Great Lakes Lakeland                  6       33.33%       66.67%       66.67%       66.67%
11/30/2020 Northeast Albany                     24       58.33%       66.67%       91.67%       91.67%

11/30/2020 Northeast     Caribbean               5       60.00%       60.00%       60.00%       60.00%

                         Connecticut
11/30/2020 Northeast     Valley                  8       75.00%       75.00%       75.00%       75.00%
                         Greater
11/30/2020 Northeast     Boston                135       84.44%       93.33%       95.56%       97.04%

11/30/2020 Northeast     Long Island             8      100.00%      100.00%      100.00%      100.00%

11/30/2020 Northeast     New York              118       92.37%       94.07%       96.61%       96.61%

                         Northern New
11/30/2020 Northeast     England                 8       75.00%       75.00%       75.00%       75.00%

                         Northern New
11/30/2020 Northeast     Jersey                 10       60.00%       80.00%       90.00%       90.00%
11/30/2020 Northeast     Triboro                12       58.33%       58.33%       75.00%       75.00%

11/30/2020 Northeast     Westchester            14       78.57%       78.57%       78.57%       78.57%

11/30/2020 Pacific       Bay-Valley             27       48.15%       48.15%       51.85%       51.85%
11/30/2020 Pacific       Honolulu                4      100.00%      100.00%      100.00%      100.00%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

11/30/2020 Pacific      Los Angeles            26       61.54%       61.54%       76.92%       76.92%

11/30/2020 Pacific      Sacramento             26       61.54%       61.54%       61.54%       61.54%

11/30/2020 Pacific      San Diego              26       73.08%       73.08%       80.77%       80.77%

11/30/2020 Pacific      San Francisco          30       86.67%       86.67%       86.67%       86.67%

11/30/2020 Pacific      Santa Ana              13       69.23%       69.23%       69.23%       69.23%

11/30/2020   Pacific    Sierra Coastal         17       47.06%       52.94%       58.82%       58.82%
11/30/2020   Southern   Alabama                 8       37.50%       62.50%       75.00%       75.00%
11/30/2020   Southern   Arkansas               53       96.23%      100.00%      100.00%      100.00%
11/30/2020   Southern   Dallas                729       99.31%       99.59%       99.59%       99.59%

11/30/2020 Southern     Ft. Worth               4       75.00%       75.00%       75.00%       75.00%

11/30/2020 Southern     Gulf Atlantic         142       91.55%       92.96%       97.18%       97.18%
11/30/2020 Southern     Houston               644       86.18%       86.18%       86.49%       86.49%

11/30/2020 Southern     Louisiana              15       66.67%       66.67%       66.67%       66.67%

11/30/2020 Southern     Mississippi             7        0.00%        0.00%      100.00%      100.00%

11/30/2020 Southern     Oklahoma                6       83.33%       83.33%      100.00%      100.00%

11/30/2020 Southern     Rio Grande           5420       99.59%       99.70%       99.89%       99.89%

11/30/2020   Southern   South Florida          24       91.67%       91.67%       91.67%       91.67%
11/30/2020   Southern   Suncoast              224       94.64%       96.88%       97.77%       97.77%
11/30/2020   Western    Alaska                  2       50.00%      100.00%      100.00%      100.00%
11/30/2020   Western    Arizona                27       77.78%       88.89%       92.59%       92.59%

11/30/2020 Western      Central Plains          3       66.67%       66.67%       66.67%       66.67%

                        Colorado/Wyo
11/30/2020 Western      ming                   43       46.51%       48.84%       58.14%       62.79%
11/30/2020 Western      Dakotas                53       79.25%       79.25%       90.57%       90.57%
11/30/2020 Western      Hawkeye                24       66.67%       75.00%       91.67%       91.67%

11/30/2020 Western      Mid-Americas            8       62.50%       62.50%       62.50%       62.50%
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                                      Measured   Processing   Processing   Processing   Processing
                                      Volume:    Score:       Score Plus   Score Plus   Score Plus
                                      Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area      District         Ballot     Ballot       Ballot       Ballot       Ballot

11/30/2020 Western   Nevada Sierra           6       66.67%       66.67%       66.67%       66.67%

11/30/2020 Western   Northland              15       86.67%       86.67%      100.00%      100.00%
11/30/2020 Western   Portland               23       65.22%       65.22%       69.57%       69.57%

11/30/2020 Western   Salt Lake City          6       50.00%       50.00%       50.00%       50.00%
11/30/2020 Western   Seattle                41       58.54%       58.54%       70.73%       75.61%
           Capital
 12/1/2020 Metro     Atlanta              6873       99.71%       99.81%       99.83%       99.83%
           Capital
 12/1/2020 Metro     Baltimore               6       83.33%      100.00%      100.00%      100.00%
           Capital
 12/1/2020 Metro     Capital                 6       66.67%       66.67%       66.67%       66.67%
           Capital   Greater S
 12/1/2020 Metro     Carolina               19       89.47%       94.74%      100.00%      100.00%
           Capital
 12/1/2020 Metro     Greensboro              9       44.44%       44.44%       55.56%       55.56%
           Capital
 12/1/2020 Metro     Mid-Carolinas           8       75.00%       75.00%       75.00%       75.00%
           Capital   Norther
 12/1/2020 Metro     Virginia                9       22.22%       33.33%       33.33%       33.33%
           Capital
 12/1/2020 Metro     Richmond                8       50.00%      100.00%      100.00%      100.00%

 12/1/2020 Eastern   Appalachian             9       33.33%       44.44%       44.44%       44.44%

                     Central
 12/1/2020 Eastern   Pennsylvania           10       10.00%       50.00%       50.00%       50.00%

 12/1/2020 Eastern   Kentuckiana             6       33.33%       50.00%       50.00%       50.00%

 12/1/2020 Eastern   Norther Ohio           10       10.00%       80.00%       80.00%       80.00%

 12/1/2020 Eastern   Ohio Valley             9       44.44%      100.00%      100.00%      100.00%

                     Philadelphia
 12/1/2020 Eastern   Metropo                 8        0.00%       62.50%       62.50%       62.50%

 12/1/2020 Eastern   South Jersey           14       64.29%       92.86%       92.86%      100.00%

 12/1/2020 Eastern   Tennessee              68       83.82%       86.76%       86.76%       86.76%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

                         Western New
 12/1/2020 Eastern       York                    5       20.00%       60.00%       60.00%       80.00%

                         Western
 12/1/2020 Eastern       Pennsylvania            4      100.00%      100.00%      100.00%      100.00%

 12/1/2020 Great Lakes Central Illinois         19       21.05%       63.16%       63.16%       63.16%

 12/1/2020 Great Lakes Chicago                   2       50.00%       50.00%       50.00%       50.00%

 12/1/2020 Great Lakes Detroit                   8       37.50%       50.00%       50.00%       50.00%

 12/1/2020 Great Lakes Gateway                   7       57.14%       71.43%       71.43%       71.43%
                       Greater
 12/1/2020 Great Lakes Indiana                  13       23.08%       23.08%       23.08%       23.08%
                       Greater
 12/1/2020 Great Lakes Michigan                  5       60.00%       60.00%       60.00%       60.00%

 12/1/2020 Great Lakes Lakeland                  5       80.00%       80.00%       80.00%       80.00%
 12/1/2020 Northeast Albany                      5       40.00%      100.00%      100.00%      100.00%

 12/1/2020 Northeast     Caribbean

                         Connecticut
 12/1/2020 Northeast     Valley                 10      100.00%      100.00%      100.00%      100.00%
                         Greater
 12/1/2020 Northeast     Boston                187       91.98%       96.26%       97.33%       97.86%

 12/1/2020 Northeast     Long Island             2        0.00%      100.00%      100.00%      100.00%

 12/1/2020 Northeast     New York               11       90.91%      100.00%      100.00%      100.00%

                         Northern New
 12/1/2020 Northeast     England                10       60.00%       70.00%       70.00%       80.00%

                         Northern New
 12/1/2020 Northeast     Jersey                  6       50.00%       83.33%       83.33%      100.00%
 12/1/2020 Northeast     Triboro                23       21.74%       30.43%       30.43%       30.43%

 12/1/2020 Northeast     Westchester             5       80.00%       80.00%       80.00%       80.00%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

 12/1/2020 Pacific      Bay-Valley             13       69.23%       76.92%       76.92%       84.62%
 12/1/2020 Pacific      Honolulu

 12/1/2020 Pacific      Los Angeles             7       57.14%       71.43%       71.43%       71.43%

 12/1/2020 Pacific      Sacramento             25       28.00%       32.00%       32.00%       32.00%

 12/1/2020 Pacific      San Diego               6       83.33%       83.33%       83.33%       83.33%

 12/1/2020 Pacific      San Francisco           6       66.67%       66.67%       66.67%       66.67%

 12/1/2020 Pacific      Santa Ana               2       50.00%       50.00%       50.00%       50.00%

 12/1/2020   Pacific    Sierra Coastal         16       81.25%       81.25%       81.25%       81.25%
 12/1/2020   Southern   Alabama                 4       75.00%       75.00%       75.00%       75.00%
 12/1/2020   Southern   Arkansas               91        6.59%      100.00%      100.00%      100.00%
 12/1/2020   Southern   Dallas                 47       97.87%      100.00%      100.00%      100.00%

 12/1/2020 Southern     Ft. Worth               1        0.00%        0.00%        0.00%        0.00%

 12/1/2020 Southern     Gulf Atlantic         333       95.80%       97.60%       97.90%       98.20%
 12/1/2020 Southern     Houston              1706       98.18%       98.36%       98.36%       98.36%

 12/1/2020 Southern     Louisiana               3      100.00%      100.00%      100.00%      100.00%

 12/1/2020 Southern     Mississippi             7       42.86%       57.14%       57.14%       71.43%

 12/1/2020 Southern     Oklahoma                2      100.00%      100.00%      100.00%      100.00%

 12/1/2020 Southern     Rio Grande           8840       99.90%       99.94%       99.94%       99.95%

 12/1/2020   Southern   South Florida          25       80.00%       84.00%       84.00%       84.00%
 12/1/2020   Southern   Suncoast              487       97.74%       98.77%       98.77%       98.77%
 12/1/2020   Western    Alaska                  1      100.00%      100.00%      100.00%      100.00%
 12/1/2020   Western    Arizona                18       55.56%       83.33%       88.89%       88.89%

 12/1/2020 Western      Central Plains          5       60.00%       60.00%       80.00%       80.00%

                        Colorado/Wyo
 12/1/2020 Western      ming                   14       35.71%       57.14%       71.43%       71.43%
 12/1/2020 Western      Dakotas                10       20.00%       80.00%       80.00%      100.00%
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                                      Measured    Processing    Processing    Processing     Processing
                                      Volume:     Score:        Score Plus    Score Plus     Score Plus
                                      Inbound     Inbound       1: Inbound    2: Inbound     3: Inbound
Date       Area      District         Ballot      Ballot        Ballot        Ballot         Ballot
 12/1/2020 Western   Hawkeye                  2       100.00%       100.00%        100.00%       100.00%

 12/1/2020 Western   Mid-Americas             7       71.43%       100.00%       100.00%        100.00%

 12/1/2020 Western   Nevada Sierra           7        57.14%        71.43%        71.43%         71.43%

 12/1/2020 Western   Northland                8       62.50%       100.00%       100.00%        100.00%
 12/1/2020 Western   Portland                 9       77.78%        88.89%        88.89%         88.89%

 12/1/2020 Western   Salt Lake City         10        90.00%        90.00%        90.00%        100.00%
 12/1/2020 Western   Seattle                28        53.57%        60.71%        60.71%         60.71%
           Capital
 12/2/2020 Metro     Atlanta               6318       99.34%        99.40%        99.49%         99.51%
           Capital
 12/2/2020 Metro     Baltimore                8       75.00%        75.00%        75.00%         75.00%
           Capital
 12/2/2020 Metro     Capital                 18       61.11%        61.11%        66.67%         77.78%
           Capital   Greater S
 12/2/2020 Metro     Carolina                11       63.64%        63.64%        63.64%         63.64%
           Capital
 12/2/2020 Metro     Greensboro              11       54.55%        90.91%        90.91%         90.91%
           Capital
 12/2/2020 Metro     Mid-Carolinas            4      100.00%       100.00%       100.00%        100.00%
           Capital   Norther
 12/2/2020 Metro     Virginia                 5       60.00%        60.00%        60.00%         60.00%
           Capital
 12/2/2020 Metro     Richmond                 9       55.56%        55.56%        66.67%         66.67%

 12/2/2020 Eastern   Appalachian            11        63.64%        63.64%        63.64%         63.64%

                     Central
 12/2/2020 Eastern   Pennsylvania            10       30.00%        40.00%        80.00%         80.00%

 12/2/2020 Eastern   Kentuckiana              4       25.00%        25.00%        25.00%         25.00%

 12/2/2020 Eastern   Norther Ohio             1        0.00%         0.00%          0.00%       100.00%

 12/2/2020 Eastern   Ohio Valley             16       93.75%        93.75%        93.75%         93.75%

                     Philadelphia
 12/2/2020 Eastern   Metropo                 12       41.67%        41.67%        66.67%         66.67%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

 12/2/2020 Eastern       South Jersey            9       55.56%       55.56%       55.56%       55.56%

 12/2/2020 Eastern       Tennessee             115       90.43%       90.43%       92.17%       92.17%

                         Western New
 12/2/2020 Eastern       York                    9       55.56%       66.67%       66.67%       66.67%

                         Western
 12/2/2020 Eastern       Pennsylvania           18       44.44%       50.00%       61.11%       61.11%

 12/2/2020 Great Lakes Central Illinois         13       69.23%       69.23%       84.62%       84.62%

 12/2/2020 Great Lakes Chicago                   6       33.33%       33.33%       33.33%       33.33%

 12/2/2020 Great Lakes Detroit                   8       87.50%       87.50%      100.00%      100.00%

 12/2/2020 Great Lakes Gateway                   9       88.89%       88.89%       88.89%       88.89%
                       Greater
 12/2/2020 Great Lakes Indiana                  11       63.64%       63.64%       72.73%       72.73%
                       Greater
 12/2/2020 Great Lakes Michigan                  6       66.67%       66.67%       66.67%       66.67%

 12/2/2020 Great Lakes Lakeland                 11       54.55%       54.55%       63.64%       63.64%
 12/2/2020 Northeast Albany                     14       78.57%       78.57%       78.57%       78.57%

 12/2/2020 Northeast     Caribbean               0 Null%          Null%        Null%        Null%

                         Connecticut
 12/2/2020 Northeast     Valley                  6       66.67%       66.67%       66.67%       66.67%
                         Greater
 12/2/2020 Northeast     Boston                111       88.29%       90.09%       91.89%       92.79%

 12/2/2020 Northeast     Long Island            10       40.00%       40.00%       40.00%       40.00%

 12/2/2020 Northeast     New York               92       89.13%       89.13%       89.13%       89.13%

                         Northern New
 12/2/2020 Northeast     England                12       58.33%       66.67%       75.00%       75.00%

                         Northern New
 12/2/2020 Northeast     Jersey                 10       60.00%       60.00%       70.00%       70.00%
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                                         Measured    Processing    Processing    Processing    Processing
                                         Volume:     Score:        Score Plus    Score Plus    Score Plus
                                         Inbound     Inbound       1: Inbound    2: Inbound    3: Inbound
Date       Area         District         Ballot      Ballot        Ballot        Ballot        Ballot
 12/2/2020 Northeast    Triboro                  3        66.67%        66.67%        66.67%        66.67%

 12/2/2020 Northeast    Westchester            10       100.00%       100.00%       100.00%       100.00%

 12/2/2020 Pacific      Bay-Valley             26        69.23%        69.23%        69.23%        69.23%
 12/2/2020 Pacific      Honolulu                1         0.00%         0.00%         0.00%         0.00%

 12/2/2020 Pacific      Los Angeles            29        89.66%        89.66%        89.66%        89.66%

 12/2/2020 Pacific      Sacramento              28       92.86%        92.86%        92.86%        92.86%

 12/2/2020 Pacific      San Diego               23      100.00%       100.00%       100.00%       100.00%

 12/2/2020 Pacific      San Francisco          24        91.67%        95.83%        95.83%        95.83%

 12/2/2020 Pacific      Santa Ana                7       85.71%        85.71%        85.71%        85.71%

 12/2/2020   Pacific    Sierra Coastal          26      100.00%       100.00%       100.00%       100.00%
 12/2/2020   Southern   Alabama                  6       33.33%        33.33%        33.33%        33.33%
 12/2/2020   Southern   Arkansas                38       92.11%        94.74%        94.74%        94.74%
 12/2/2020   Southern   Dallas                 427       95.08%        95.08%        95.32%        95.32%

 12/2/2020 Southern     Ft. Worth                5       60.00%        60.00%        60.00%        60.00%

 12/2/2020 Southern     Gulf Atlantic          204       94.12%        96.08%        96.08%        96.57%
 12/2/2020 Southern     Houston               1131       89.92%        89.92%        90.27%        90.27%

 12/2/2020 Southern     Louisiana                5       60.00%        60.00%        60.00%        60.00%

 12/2/2020 Southern     Mississippi              6       83.33%       100.00%       100.00%       100.00%

 12/2/2020 Southern     Oklahoma                 5      100.00%       100.00%       100.00%       100.00%

 12/2/2020 Southern     Rio Grande            4731       99.24%        99.24%        99.28%        99.28%

 12/2/2020   Southern   South Florida           72       95.83%        95.83%        95.83%        95.83%
 12/2/2020   Southern   Suncoast               370       97.03%        98.11%        98.11%        98.11%
 12/2/2020   Western    Alaska                   2        0.00%         0.00%         0.00%         0.00%
 12/2/2020   Western    Arizona                 15       73.33%        73.33%        80.00%        80.00%

 12/2/2020 Western      Central Plains          19       78.95%        78.95%        78.95%        78.95%
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                                      Measured   Processing   Processing   Processing   Processing
                                      Volume:    Score:       Score Plus   Score Plus   Score Plus
                                      Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area      District         Ballot     Ballot       Ballot       Ballot       Ballot

                     Colorado/Wyo
 12/2/2020 Western   ming                   10       60.00%       60.00%       60.00%       60.00%
 12/2/2020 Western   Dakotas                50       96.00%       96.00%      100.00%      100.00%
 12/2/2020 Western   Hawkeye                 7       85.71%       85.71%       85.71%       85.71%

 12/2/2020 Western   Mid-Americas           14       85.71%       92.86%       92.86%       92.86%

 12/2/2020 Western   Nevada Sierra           4       75.00%       75.00%       75.00%       75.00%

 12/2/2020 Western   Northland               7       42.86%       42.86%       57.14%       57.14%
 12/2/2020 Western   Portland                8       75.00%       75.00%       75.00%       75.00%

 12/2/2020 Western   Salt Lake City          7       28.57%       28.57%       42.86%       42.86%
 12/2/2020 Western   Seattle                22       72.73%       72.73%       72.73%       72.73%
           Capital
 12/3/2020 Metro     Atlanta              5156       98.37%       98.99%       99.03%       99.05%
           Capital
 12/3/2020 Metro     Baltimore              18       55.56%       77.78%       83.33%       83.33%
           Capital
 12/3/2020 Metro     Capital                21       80.95%       85.71%       90.48%       95.24%
           Capital   Greater S
 12/3/2020 Metro     Carolina               15       80.00%       80.00%       80.00%       80.00%
           Capital
 12/3/2020 Metro     Greensboro             16       56.25%       68.75%       81.25%       81.25%
           Capital
 12/3/2020 Metro     Mid-Carolinas          10       70.00%       80.00%       80.00%       80.00%
           Capital   Norther
 12/3/2020 Metro     Virginia                5       60.00%       60.00%       60.00%       60.00%
           Capital
 12/3/2020 Metro     Richmond               16       50.00%       50.00%       62.50%       75.00%

 12/3/2020 Eastern   Appalachian            25       44.00%       48.00%       48.00%       48.00%

                     Central
 12/3/2020 Eastern   Pennsylvania           15       73.33%       80.00%       80.00%       80.00%

 12/3/2020 Eastern   Kentuckiana             3       66.67%       66.67%       66.67%       66.67%

 12/3/2020 Eastern   Norther Ohio            5       80.00%       80.00%      100.00%      100.00%

 12/3/2020 Eastern   Ohio Valley             6       83.33%       83.33%      100.00%      100.00%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

                         Philadelphia
 12/3/2020 Eastern       Metropo                 4       75.00%       75.00%      100.00%      100.00%

 12/3/2020 Eastern       South Jersey           15       60.00%       66.67%       73.33%       73.33%

 12/3/2020 Eastern       Tennessee              43       88.37%       88.37%       88.37%       88.37%

                         Western New
 12/3/2020 Eastern       York                    4       75.00%       75.00%       75.00%       75.00%

                         Western
 12/3/2020 Eastern       Pennsylvania            5       80.00%       80.00%      100.00%      100.00%

 12/3/2020 Great Lakes Central Illinois         19       84.21%       89.47%      100.00%      100.00%

 12/3/2020 Great Lakes Chicago                   6       50.00%       66.67%       66.67%       66.67%

 12/3/2020 Great Lakes Detroit                  15       60.00%       86.67%       86.67%       86.67%

 12/3/2020 Great Lakes Gateway                   8       62.50%       62.50%       62.50%       62.50%
                       Greater
 12/3/2020 Great Lakes Indiana                  12       75.00%       75.00%       75.00%       75.00%
                       Greater
 12/3/2020 Great Lakes Michigan                 10       90.00%       90.00%       90.00%       90.00%

 12/3/2020 Great Lakes Lakeland                  3       66.67%       66.67%       66.67%       66.67%
 12/3/2020 Northeast Albany                     19       94.74%       94.74%       94.74%       94.74%

 12/3/2020 Northeast     Caribbean               2        0.00%        0.00%        0.00%        0.00%

                         Connecticut
 12/3/2020 Northeast     Valley                  9       66.67%       66.67%       66.67%       66.67%
                         Greater
 12/3/2020 Northeast     Boston                 58       81.03%       84.48%       86.21%       86.21%

 12/3/2020 Northeast     Long Island             4       25.00%       25.00%       25.00%       25.00%

 12/3/2020 Northeast     New York               90       94.44%       97.78%       97.78%       97.78%

                         Northern New
 12/3/2020 Northeast     England                12       75.00%       75.00%       75.00%       91.67%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

                        Northern New
 12/3/2020 Northeast    Jersey                 17       70.59%       70.59%       70.59%       70.59%
 12/3/2020 Northeast    Triboro                 7       42.86%       42.86%       42.86%       42.86%

 12/3/2020 Northeast    Westchester            11      100.00%      100.00%      100.00%      100.00%

 12/3/2020 Pacific      Bay-Valley              2      100.00%      100.00%      100.00%      100.00%
 12/3/2020 Pacific      Honolulu                2      100.00%      100.00%      100.00%      100.00%

 12/3/2020 Pacific      Los Angeles            12       66.67%       83.33%       83.33%       83.33%

 12/3/2020 Pacific      Sacramento             68       25.00%       82.35%       82.35%       82.35%

 12/3/2020 Pacific      San Diego              21       61.90%       80.95%       80.95%       80.95%

 12/3/2020 Pacific      San Francisco          20       55.00%       55.00%       55.00%       65.00%

 12/3/2020 Pacific      Santa Ana               5       80.00%       80.00%       80.00%       80.00%

 12/3/2020   Pacific    Sierra Coastal         15       86.67%       86.67%       93.33%       93.33%
 12/3/2020   Southern   Alabama                12       83.33%       83.33%       83.33%       83.33%
 12/3/2020   Southern   Arkansas               24      100.00%      100.00%      100.00%      100.00%
 12/3/2020   Southern   Dallas                105       84.76%       90.48%       90.48%       96.19%

 12/3/2020 Southern     Ft. Worth               5       40.00%       40.00%       40.00%       40.00%

 12/3/2020 Southern     Gulf Atlantic         144       93.75%       93.75%       93.75%       97.92%
 12/3/2020 Southern     Houston               853       85.70%       86.17%       86.17%       86.17%

 12/3/2020 Southern     Louisiana              13       92.31%       92.31%       92.31%       92.31%

 12/3/2020 Southern     Mississippi             7       42.86%       42.86%       42.86%       42.86%

 12/3/2020 Southern     Oklahoma                5       80.00%       80.00%      100.00%      100.00%

 12/3/2020 Southern     Rio Grande           3644       99.62%       99.62%       99.70%       99.78%

 12/3/2020 Southern     South Florida          12       66.67%       66.67%       75.00%       75.00%
 12/3/2020 Southern     Suncoast               39       82.05%       82.05%       82.05%       82.05%
 12/3/2020 Western      Arizona                16       56.25%       56.25%       56.25%       56.25%
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                                      Measured   Processing   Processing   Processing   Processing
                                      Volume:    Score:       Score Plus   Score Plus   Score Plus
                                      Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area      District         Ballot     Ballot       Ballot       Ballot       Ballot

 12/3/2020 Western   Central Plains         13       76.92%       76.92%       76.92%       76.92%

                     Colorado/Wyo
 12/3/2020 Western   ming                   23       60.87%       60.87%       73.91%       73.91%
 12/3/2020 Western   Dakotas                30       90.00%       90.00%       90.00%       90.00%
 12/3/2020 Western   Hawkeye                 7       71.43%       71.43%       71.43%       85.71%

 12/3/2020 Western   Mid-Americas           11       81.82%       81.82%       81.82%       81.82%

 12/3/2020 Western   Nevada Sierra           8       62.50%       75.00%       75.00%      100.00%

 12/3/2020 Western   Northland              15       60.00%       73.33%       80.00%       80.00%
 12/3/2020 Western   Portland               16       93.75%       93.75%      100.00%      100.00%

 12/3/2020 Western   Salt Lake City         10       90.00%       90.00%       90.00%       90.00%
 12/3/2020 Western   Seattle                34       79.41%       79.41%       88.24%       88.24%
           Capital
 12/4/2020 Metro     Atlanta              4304       97.03%       97.93%       98.09%       98.09%
           Capital
 12/4/2020 Metro     Baltimore              16       81.25%      100.00%      100.00%      100.00%
           Capital
 12/4/2020 Metro     Capital                21       95.24%       95.24%       95.24%       95.24%
           Capital   Greater S
 12/4/2020 Metro     Carolina               17       70.59%       88.24%       88.24%       88.24%
           Capital
 12/4/2020 Metro     Greensboro              9       55.56%       66.67%       66.67%       77.78%
           Capital
 12/4/2020 Metro     Mid-Carolinas           7       57.14%       85.71%       85.71%       85.71%
           Capital   Norther
 12/4/2020 Metro     Virginia                5      100.00%      100.00%      100.00%      100.00%
           Capital
 12/4/2020 Metro     Richmond                9       66.67%       77.78%       77.78%       77.78%

 12/4/2020 Eastern   Appalachian             5      100.00%      100.00%      100.00%      100.00%

                     Central
 12/4/2020 Eastern   Pennsylvania           11       63.64%       72.73%       72.73%       72.73%

 12/4/2020 Eastern   Kentuckiana             8       50.00%       75.00%       75.00%       75.00%

 12/4/2020 Eastern   Norther Ohio            8       50.00%       62.50%       62.50%       62.50%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

 12/4/2020 Eastern       Ohio Valley            11       72.73%       72.73%       72.73%       72.73%

                         Philadelphia
 12/4/2020 Eastern       Metropo                12       33.33%       75.00%       75.00%       83.33%

 12/4/2020 Eastern       South Jersey            8       75.00%       75.00%       75.00%       75.00%

 12/4/2020 Eastern       Tennessee             313       94.89%       96.17%       96.49%       96.49%

                         Western New
 12/4/2020 Eastern       York                   11       36.36%       63.64%       63.64%       63.64%

                         Western
 12/4/2020 Eastern       Pennsylvania            9       55.56%       66.67%       66.67%       66.67%

 12/4/2020 Great Lakes Central Illinois         10       70.00%       90.00%       90.00%       90.00%

 12/4/2020 Great Lakes Chicago                   3       33.33%       33.33%       33.33%       33.33%

 12/4/2020 Great Lakes Detroit                  18       44.44%       72.22%       72.22%       72.22%

 12/4/2020 Great Lakes Gateway                  11       45.45%       63.64%       63.64%       63.64%
                       Greater
 12/4/2020 Great Lakes Indiana                   7       85.71%       85.71%       85.71%       85.71%
                       Greater
 12/4/2020 Great Lakes Michigan                  6       50.00%       50.00%       50.00%       50.00%

 12/4/2020 Great Lakes Lakeland                 14       64.29%       64.29%       64.29%       71.43%
 12/4/2020 Northeast Albany                     22       90.91%       95.45%       95.45%       95.45%

 12/4/2020 Northeast     Caribbean               2      100.00%      100.00%      100.00%      100.00%

                         Connecticut
 12/4/2020 Northeast     Valley                 23       86.96%       91.30%       91.30%       91.30%
                         Greater
 12/4/2020 Northeast     Boston                 70       88.57%       88.57%       88.57%       88.57%

 12/4/2020 Northeast     Long Island             8       75.00%       75.00%      100.00%      100.00%

 12/4/2020 Northeast     New York               83       95.18%       97.59%       97.59%       97.59%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

                        Northern New
 12/4/2020 Northeast    England                 9       55.56%       66.67%       66.67%       66.67%

                        Northern New
 12/4/2020 Northeast    Jersey                 23       52.17%       65.22%       65.22%       65.22%
 12/4/2020 Northeast    Triboro                 1      100.00%      100.00%      100.00%      100.00%

 12/4/2020 Northeast    Westchester            16       50.00%       62.50%       62.50%       62.50%

 12/4/2020 Pacific      Bay-Valley             17       41.18%       82.35%       82.35%       82.35%
 12/4/2020 Pacific      Honolulu

 12/4/2020 Pacific      Los Angeles            31       74.19%       90.32%       90.32%       90.32%

 12/4/2020 Pacific      Sacramento             26       61.54%       73.08%       73.08%       73.08%

 12/4/2020 Pacific      San Diego               9       55.56%      100.00%      100.00%      100.00%

 12/4/2020 Pacific      San Francisco           8       75.00%       87.50%       87.50%       87.50%

 12/4/2020 Pacific      Santa Ana               2      100.00%      100.00%      100.00%      100.00%

 12/4/2020   Pacific    Sierra Coastal         22       81.82%       90.91%       90.91%       90.91%
 12/4/2020   Southern   Alabama                 9       55.56%       66.67%       66.67%       66.67%
 12/4/2020   Southern   Arkansas               21       80.95%       90.48%       90.48%       90.48%
 12/4/2020   Southern   Dallas                464       49.57%       99.35%       99.35%       99.35%

 12/4/2020 Southern     Ft. Worth               7       71.43%       71.43%       71.43%       71.43%

 12/4/2020 Southern     Gulf Atlantic         772       98.45%       99.09%       99.09%       99.09%
 12/4/2020 Southern     Houston               872       90.02%       90.14%       90.14%       90.14%

 12/4/2020 Southern     Louisiana               6       66.67%       83.33%       83.33%       83.33%

 12/4/2020 Southern     Mississippi             5       80.00%       80.00%       80.00%       80.00%

 12/4/2020 Southern     Oklahoma                4      100.00%      100.00%      100.00%      100.00%

 12/4/2020 Southern     Rio Grande           2429       99.34%       99.59%       99.75%       99.75%

 12/4/2020 Southern     South Florida          12       66.67%       66.67%       66.67%       66.67%
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                                         Measured     Processing    Processing    Processing     Processing
                                         Volume:      Score:        Score Plus    Score Plus     Score Plus
                                         Inbound      Inbound       1: Inbound    2: Inbound     3: Inbound
Date         Area       District         Ballot       Ballot        Ballot        Ballot         Ballot
 12/4/2020   Southern   Suncoast                439        97.95%        98.63%         98.63%        98.63%
 12/4/2020   Western    Alaska                    1       100.00%       100.00%        100.00%       100.00%
 12/4/2020   Western    Arizona                  16        81.25%        93.75%         93.75%        93.75%

 12/4/2020 Western      Central Plains          30        20.00%        33.33%        33.33%         33.33%

                        Colorado/Wyo
 12/4/2020 Western      ming                    13        46.15%        69.23%        69.23%         69.23%
 12/4/2020 Western      Dakotas                 40        47.50%        95.00%        95.00%         97.50%
 12/4/2020 Western      Hawkeye                 12        83.33%        83.33%        83.33%         83.33%

 12/4/2020 Western      Mid-Americas             6        16.67%        16.67%        16.67%         16.67%

 12/4/2020 Western      Nevada Sierra            9        55.56%       100.00%       100.00%        100.00%

 12/4/2020 Western      Northland               18        77.78%       100.00%       100.00%        100.00%
 12/4/2020 Western      Portland                 8        62.50%        62.50%        62.50%         62.50%

 12/4/2020 Western      Salt Lake City           0 Null%       Null%       Null%       Null%
 12/4/2020 Western      Seattle                 19      68.42%      73.68%      73.68%      73.68%
           Capital
 12/5/2020 Metro        Atlanta              10119        97.85%        98.57%        98.77%         99.15%
           Capital
 12/5/2020 Metro        Baltimore               13        46.15%        69.23%        69.23%         76.92%
           Capital
 12/5/2020 Metro        Capital                  7       100.00%       100.00%       100.00%        100.00%
           Capital      Greater S
 12/5/2020 Metro        Carolina                16        25.00%        62.50%        62.50%         62.50%
           Capital
 12/5/2020 Metro        Greensboro              10        90.00%        90.00%        90.00%         90.00%
           Capital
 12/5/2020 Metro        Mid-Carolinas            8        37.50%        50.00%        50.00%         50.00%
           Capital      Norther
 12/5/2020 Metro        Virginia                 7        57.14%        85.71%        85.71%         85.71%
           Capital
 12/5/2020 Metro        Richmond                10        70.00%       100.00%       100.00%        100.00%

 12/5/2020 Eastern      Appalachian              4        25.00%        50.00%        50.00%         50.00%

                        Central
 12/5/2020 Eastern      Pennsylvania            11        72.73%        81.82%        81.82%         81.82%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

 12/5/2020 Eastern       Kentuckiana             9       44.44%       44.44%       44.44%       44.44%

 12/5/2020 Eastern       Norther Ohio            7       57.14%       71.43%       71.43%       71.43%

 12/5/2020 Eastern       Ohio Valley            13       92.31%       92.31%      100.00%      100.00%

                         Philadelphia
 12/5/2020 Eastern       Metropo                11       81.82%       90.91%       90.91%       90.91%

 12/5/2020 Eastern       South Jersey           26       34.62%       61.54%       84.62%       88.46%

 12/5/2020 Eastern       Tennessee            1411       99.72%       99.79%       99.79%       99.79%

                         Western New
 12/5/2020 Eastern       York                    2        0.00%        0.00%        0.00%        0.00%

                         Western
 12/5/2020 Eastern       Pennsylvania            5       60.00%       60.00%       60.00%       60.00%

 12/5/2020 Great Lakes Central Illinois         18       61.11%       72.22%       94.44%       94.44%

 12/5/2020 Great Lakes Chicago                   3        0.00%        0.00%       33.33%       33.33%

 12/5/2020 Great Lakes Detroit                  10       40.00%       70.00%       80.00%       80.00%

 12/5/2020 Great Lakes Gateway                  14       78.57%       78.57%       78.57%       78.57%
                       Greater
 12/5/2020 Great Lakes Indiana                  13       30.77%       61.54%       69.23%       69.23%
                       Greater
 12/5/2020 Great Lakes Michigan                  7       57.14%       57.14%       57.14%       57.14%

 12/5/2020 Great Lakes Lakeland                 10       50.00%       70.00%       80.00%       80.00%
 12/5/2020 Northeast Albany                     19       94.74%      100.00%      100.00%      100.00%

                         Connecticut
 12/5/2020 Northeast     Valley                  9       77.78%       77.78%       77.78%       77.78%
                         Greater
 12/5/2020 Northeast     Boston                 61       98.36%       98.36%       98.36%       98.36%

 12/5/2020 Northeast     Long Island             5       80.00%      100.00%      100.00%      100.00%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

 12/5/2020 Northeast    New York               14       57.14%       78.57%      100.00%      100.00%

                        Northern New
 12/5/2020 Northeast    England                 9       77.78%       77.78%       77.78%       77.78%

                        Northern New
 12/5/2020 Northeast    Jersey                 11       72.73%       81.82%       81.82%       81.82%
 12/5/2020 Northeast    Triboro                 9       22.22%       22.22%       22.22%       22.22%

 12/5/2020 Northeast    Westchester            11       72.73%       72.73%       72.73%       72.73%

 12/5/2020 Pacific      Bay-Valley             13       76.92%       92.31%       92.31%       92.31%
 12/5/2020 Pacific      Honolulu                5       60.00%       60.00%       60.00%       60.00%

 12/5/2020 Pacific      Los Angeles            17       52.94%       76.47%       82.35%       82.35%

 12/5/2020 Pacific      Sacramento             41       12.20%       14.63%       17.07%       17.07%

 12/5/2020 Pacific      San Diego               9       88.89%      100.00%      100.00%      100.00%

 12/5/2020 Pacific      San Francisco          14       57.14%       64.29%       92.86%       92.86%

 12/5/2020 Pacific      Santa Ana               7       71.43%       71.43%       71.43%       71.43%

 12/5/2020   Pacific    Sierra Coastal         30       53.33%       63.33%       73.33%       73.33%
 12/5/2020   Southern   Alabama                 9       44.44%       44.44%       77.78%       77.78%
 12/5/2020   Southern   Arkansas                3       33.33%       33.33%       33.33%       33.33%
 12/5/2020   Southern   Dallas                143       90.91%       95.10%       95.80%       95.80%

 12/5/2020 Southern     Ft. Worth               4       50.00%       75.00%       75.00%       75.00%

 12/5/2020 Southern     Gulf Atlantic       10878       99.90%       99.95%       99.96%       99.96%
 12/5/2020 Southern     Houston               699       91.56%       92.13%       92.27%       92.27%

 12/5/2020 Southern     Louisiana              12       66.67%       66.67%       66.67%       66.67%

 12/5/2020 Southern     Mississippi            13       30.77%       46.15%       61.54%       61.54%

 12/5/2020 Southern     Oklahoma                3       33.33%       66.67%      100.00%      100.00%

 12/5/2020 Southern     Rio Grande           2405       99.50%       99.67%       99.75%       99.75%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

 12/5/2020   Southern   South Florida          39       87.18%       89.74%       89.74%       89.74%
 12/5/2020   Southern   Suncoast              173       94.22%       97.69%       97.69%       97.69%
 12/5/2020   Western    Alaska
 12/5/2020   Western    Arizona                27       48.15%       85.19%       96.30%       96.30%

 12/5/2020 Western      Central Plains          5       60.00%       60.00%       60.00%       60.00%

                        Colorado/Wyo
 12/5/2020 Western      ming                   15       60.00%       80.00%       80.00%       80.00%
 12/5/2020 Western      Dakotas                26       80.77%       88.46%       88.46%       88.46%
 12/5/2020 Western      Hawkeye                36       94.44%       97.22%       97.22%       97.22%

 12/5/2020 Western      Mid-Americas            5       20.00%       60.00%       60.00%       60.00%

 12/5/2020 Western      Nevada Sierra          12       83.33%       91.67%       91.67%       91.67%

 12/5/2020 Western      Northland              17       88.24%       94.12%       94.12%       94.12%
 12/5/2020 Western      Portland               17       82.35%       88.24%       88.24%       88.24%

 12/5/2020 Western      Salt Lake City         10       40.00%       70.00%       90.00%       90.00%
 12/5/2020 Western      Seattle                23       78.26%       78.26%       95.65%       95.65%
           Capital
 12/7/2020 Metro        Atlanta             33495       95.92%       99.04%       99.35%       99.41%
           Capital
 12/7/2020 Metro        Baltimore              20       55.00%       70.00%       80.00%       80.00%
           Capital
 12/7/2020 Metro        Capital                22       63.64%       81.82%       86.36%       86.36%
           Capital      Greater S
 12/7/2020 Metro        Carolina               41       75.61%       90.24%       92.68%       95.12%
           Capital
 12/7/2020 Metro        Greensboro             19       47.37%       68.42%       78.95%       89.47%
           Capital
 12/7/2020 Metro        Mid-Carolinas          25       72.00%       96.00%       96.00%       96.00%
           Capital      Norther
 12/7/2020 Metro        Virginia               11       45.45%       72.73%       81.82%      100.00%
           Capital
 12/7/2020 Metro        Richmond               13       61.54%       76.92%       92.31%       92.31%

 12/7/2020 Eastern      Appalachian             3      100.00%      100.00%      100.00%      100.00%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

                         Central
 12/7/2020 Eastern       Pennsylvania           12       41.67%       41.67%       50.00%       50.00%

 12/7/2020 Eastern       Kentuckiana            10       40.00%       50.00%       50.00%       60.00%

 12/7/2020 Eastern       Norther Ohio           16       25.00%       31.25%       37.50%       37.50%

 12/7/2020 Eastern       Ohio Valley            22       59.09%       63.64%       72.73%       72.73%

                         Philadelphia
 12/7/2020 Eastern       Metropo                25       84.00%       84.00%       84.00%       84.00%

 12/7/2020 Eastern       South Jersey           37       43.24%       48.65%       51.35%       54.05%

 12/7/2020 Eastern       Tennessee            1309       98.40%       99.24%       99.54%       99.62%

                         Western New
 12/7/2020 Eastern       York                   10       90.00%      100.00%      100.00%      100.00%

                         Western
 12/7/2020 Eastern       Pennsylvania           27       66.67%       66.67%       70.37%       70.37%

 12/7/2020 Great Lakes Central Illinois         26       38.46%       46.15%       57.69%       69.23%

 12/7/2020 Great Lakes Chicago                  13        7.69%        7.69%        7.69%        7.69%

 12/7/2020 Great Lakes Detroit                  18       38.89%       61.11%       66.67%       83.33%

 12/7/2020 Great Lakes Gateway                  24       54.17%       66.67%       66.67%       66.67%
                       Greater
 12/7/2020 Great Lakes Indiana                   6       33.33%       33.33%       33.33%       33.33%
                       Greater
 12/7/2020 Great Lakes Michigan                  9       33.33%       33.33%       66.67%       66.67%

 12/7/2020 Great Lakes Lakeland                 22       54.55%       68.18%       68.18%       68.18%
 12/7/2020 Northeast Albany                     25       84.00%       84.00%       84.00%       84.00%

 12/7/2020 Northeast     Caribbean               2       50.00%       50.00%       50.00%       50.00%

                         Connecticut
 12/7/2020 Northeast     Valley                 22       63.64%       77.27%       77.27%       77.27%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot
                        Greater
 12/7/2020 Northeast    Boston                 90       87.78%       95.56%       95.56%       95.56%

 12/7/2020 Northeast    Long Island            11       72.73%       90.91%       90.91%       90.91%

 12/7/2020 Northeast    New York              181       90.61%       92.82%       93.37%       93.37%

                        Northern New
 12/7/2020 Northeast    England                17       88.24%       88.24%       94.12%       94.12%

                        Northern New
 12/7/2020 Northeast    Jersey                 19       42.11%       84.21%       84.21%       89.47%
 12/7/2020 Northeast    Triboro                 4       50.00%       75.00%       75.00%       75.00%

 12/7/2020 Northeast    Westchester            14       50.00%       57.14%       64.29%       64.29%

 12/7/2020 Pacific      Bay-Valley             39       71.79%       82.05%       87.18%       87.18%
 12/7/2020 Pacific      Honolulu                3       66.67%       66.67%      100.00%      100.00%

 12/7/2020 Pacific      Los Angeles            25       52.00%       84.00%       84.00%       84.00%

 12/7/2020 Pacific      Sacramento             26       69.23%       73.08%       73.08%       73.08%

 12/7/2020 Pacific      San Diego              16       50.00%       50.00%       62.50%       68.75%

 12/7/2020 Pacific      San Francisco          34       82.35%       82.35%       85.29%       85.29%

 12/7/2020 Pacific      Santa Ana              11       63.64%       63.64%       72.73%       72.73%

 12/7/2020   Pacific    Sierra Coastal         45       73.33%       86.67%       93.33%       93.33%
 12/7/2020   Southern   Alabama                24       66.67%       87.50%       87.50%       87.50%
 12/7/2020   Southern   Arkansas               11       54.55%       63.64%       63.64%       63.64%
 12/7/2020   Southern   Dallas                210       92.86%       95.71%       96.19%       96.19%

 12/7/2020 Southern     Ft. Worth               5       20.00%       20.00%       20.00%       20.00%

 12/7/2020 Southern     Gulf Atlantic       22891       99.73%       99.90%       99.91%       99.92%
 12/7/2020 Southern     Houston               403       76.67%       79.40%       79.90%       80.40%

 12/7/2020 Southern     Louisiana              21       76.19%       76.19%       76.19%       76.19%

 12/7/2020 Southern     Mississippi            18       33.33%       44.44%       55.56%       55.56%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

 12/7/2020 Southern     Oklahoma               11       81.82%       81.82%       90.91%       90.91%

 12/7/2020 Southern     Rio Grande           1386       98.12%       98.92%       99.28%       99.49%

 12/7/2020   Southern   South Florida          14       71.43%       85.71%       85.71%       85.71%
 12/7/2020   Southern   Suncoast              149       92.62%       95.97%       97.32%       97.32%
 12/7/2020   Western    Alaska                  4       50.00%       50.00%       75.00%       75.00%
 12/7/2020   Western    Arizona                45       80.00%       84.44%       84.44%       86.67%

 12/7/2020 Western      Central Plains         16       68.75%       75.00%       81.25%       87.50%

                        Colorado/Wyo
 12/7/2020 Western      ming                   38       36.84%       47.37%       52.63%       52.63%
 12/7/2020 Western      Dakotas                68       85.29%       95.59%       95.59%       95.59%
 12/7/2020 Western      Hawkeye                18       50.00%       55.56%       66.67%       72.22%

 12/7/2020 Western      Mid-Americas           16       37.50%       62.50%       68.75%       87.50%

 12/7/2020 Western      Nevada Sierra           9       77.78%       88.89%      100.00%      100.00%

 12/7/2020 Western      Northland              14       57.14%       57.14%       57.14%       57.14%
 12/7/2020 Western      Portland               19       63.16%       73.68%       73.68%       73.68%

 12/7/2020 Western      Salt Lake City          9       55.56%       88.89%       88.89%       88.89%
 12/7/2020 Western      Seattle                29       58.62%       62.07%       62.07%       62.07%
           Capital
 12/8/2020 Metro        Atlanta             23663       46.21%       99.15%       99.46%       99.51%
           Capital
 12/8/2020 Metro        Baltimore               4       25.00%       75.00%       75.00%      100.00%
           Capital
 12/8/2020 Metro        Capital                18       50.00%       77.78%       77.78%       77.78%
           Capital      Greater S
 12/8/2020 Metro        Carolina               17       47.06%       94.12%       94.12%       94.12%
           Capital
 12/8/2020 Metro        Greensboro             18       50.00%       77.78%       77.78%       83.33%
           Capital
 12/8/2020 Metro        Mid-Carolinas          15       60.00%       73.33%       73.33%       73.33%
           Capital      Norther
 12/8/2020 Metro        Virginia                6        0.00%       66.67%       83.33%       83.33%
           Capital
 12/8/2020 Metro        Richmond                3       33.33%       66.67%       66.67%       66.67%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

 12/8/2020 Eastern       Appalachian             6       50.00%       83.33%       83.33%      100.00%

                         Central
 12/8/2020 Eastern       Pennsylvania           11       27.27%       36.36%       36.36%       45.45%

 12/8/2020 Eastern       Kentuckiana            12       25.00%       83.33%       91.67%       91.67%

 12/8/2020 Eastern       Norther Ohio            4       25.00%       50.00%       50.00%       50.00%

 12/8/2020 Eastern       Ohio Valley             3        0.00%       66.67%      100.00%      100.00%

                         Philadelphia
 12/8/2020 Eastern       Metropo                 7       28.57%       57.14%      100.00%      100.00%

 12/8/2020 Eastern       South Jersey           15       46.67%       53.33%       60.00%       66.67%

 12/8/2020 Eastern       Tennessee            2835       99.22%       99.72%       99.75%       99.75%

                         Western New
 12/8/2020 Eastern       York                    6       66.67%      100.00%      100.00%      100.00%

                         Western
 12/8/2020 Eastern       Pennsylvania            9       66.67%       77.78%       77.78%       77.78%

 12/8/2020 Great Lakes Central Illinois         13       61.54%       84.62%       84.62%       92.31%

 12/8/2020 Great Lakes Chicago                   5       20.00%       40.00%       40.00%       40.00%

 12/8/2020 Great Lakes Detroit                   8       25.00%       37.50%       50.00%       50.00%

 12/8/2020 Great Lakes Gateway                  12       66.67%       66.67%       75.00%       83.33%
                       Greater
 12/8/2020 Great Lakes Indiana                   3       33.33%       33.33%       33.33%       33.33%
                       Greater
 12/8/2020 Great Lakes Michigan                  1        0.00%        0.00%        0.00%        0.00%

 12/8/2020 Great Lakes Lakeland                 10       60.00%       70.00%       70.00%       70.00%
 12/8/2020 Northeast Albany                      3       33.33%      100.00%      100.00%      100.00%

 12/8/2020 Northeast     Caribbean               2       50.00%      100.00%      100.00%      100.00%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

                        Connecticut
 12/8/2020 Northeast    Valley                 17       58.82%       88.24%       88.24%       88.24%
                        Greater
 12/8/2020 Northeast    Boston                 19       68.42%      100.00%      100.00%      100.00%

 12/8/2020 Northeast    Long Island            10       50.00%       60.00%       60.00%       60.00%

 12/8/2020 Northeast    New York               25       60.00%       92.00%       92.00%       92.00%

                        Northern New
 12/8/2020 Northeast    England                17       64.71%       76.47%       76.47%       88.24%

                        Northern New
 12/8/2020 Northeast    Jersey                  7       71.43%       85.71%       85.71%       85.71%
 12/8/2020 Northeast    Triboro                 7       28.57%       42.86%       42.86%       57.14%

 12/8/2020 Northeast    Westchester             8       37.50%       87.50%       87.50%       87.50%

 12/8/2020 Pacific      Bay-Valley             12       91.67%       91.67%       91.67%       91.67%
 12/8/2020 Pacific      Honolulu                7      100.00%      100.00%      100.00%      100.00%

 12/8/2020 Pacific      Los Angeles            26       69.23%       84.62%       84.62%       84.62%

 12/8/2020 Pacific      Sacramento             82        4.88%       21.95%       36.59%       58.54%

 12/8/2020 Pacific      San Diego               9       77.78%       88.89%       88.89%      100.00%

 12/8/2020 Pacific      San Francisco           3      100.00%      100.00%      100.00%      100.00%

 12/8/2020 Pacific      Santa Ana               8       62.50%      100.00%      100.00%      100.00%

 12/8/2020   Pacific    Sierra Coastal         19       73.68%       73.68%       73.68%       78.95%
 12/8/2020   Southern   Alabama                15       66.67%       93.33%       93.33%       93.33%
 12/8/2020   Southern   Arkansas                3       66.67%       66.67%       66.67%       66.67%
 12/8/2020   Southern   Dallas                 24       70.83%       87.50%       95.83%      100.00%

 12/8/2020 Southern     Ft. Worth               5       60.00%       60.00%       60.00%       60.00%

 12/8/2020 Southern     Gulf Atlantic       12766       93.36%       99.70%       99.79%       99.79%
 12/8/2020 Southern     Houston               675       97.93%       99.11%       99.11%       99.11%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

 12/8/2020 Southern     Louisiana              12       75.00%       83.33%       83.33%       91.67%

 12/8/2020 Southern     Mississippi             4       25.00%       50.00%       75.00%       75.00%

 12/8/2020 Southern     Oklahoma                8       50.00%       87.50%       87.50%      100.00%

 12/8/2020 Southern     Rio Grande           3472       99.05%       99.51%       99.57%       99.57%

 12/8/2020   Southern   South Florida          22       31.82%       54.55%       59.09%       72.73%
 12/8/2020   Southern   Suncoast              124       82.26%       99.19%       99.19%       99.19%
 12/8/2020   Western    Alaska                  2        0.00%       50.00%      100.00%      100.00%
 12/8/2020   Western    Arizona                12       50.00%       66.67%       66.67%       75.00%

 12/8/2020 Western      Central Plains         10       60.00%       80.00%       80.00%       90.00%

                        Colorado/Wyo
 12/8/2020 Western      ming                   25       44.00%       64.00%       64.00%       76.00%
 12/8/2020 Western      Dakotas                 9       22.22%       77.78%       77.78%       77.78%
 12/8/2020 Western      Hawkeye                 4       75.00%       75.00%       75.00%       75.00%

 12/8/2020 Western      Mid-Americas           10       60.00%       70.00%       90.00%       90.00%

 12/8/2020 Western      Nevada Sierra           4       25.00%       25.00%       25.00%       25.00%

 12/8/2020 Western      Northland               3       66.67%       66.67%       66.67%       66.67%
 12/8/2020 Western      Portland               15       60.00%      100.00%      100.00%      100.00%

 12/8/2020 Western      Salt Lake City          8       62.50%       75.00%       75.00%      100.00%
 12/8/2020 Western      Seattle                17       64.71%       76.47%       76.47%       82.35%
           Capital
 12/9/2020 Metro        Atlanta             27394       85.89%       86.00%       98.81%       98.94%
           Capital
 12/9/2020 Metro        Baltimore              11       45.45%       45.45%       72.73%       90.91%
           Capital
 12/9/2020 Metro        Capital                21       38.10%       71.43%      100.00%      100.00%
           Capital      Greater S
 12/9/2020 Metro        Carolina               15       80.00%       80.00%       80.00%       80.00%
           Capital
 12/9/2020 Metro        Greensboro             19       47.37%       57.89%       89.47%       89.47%
           Capital
 12/9/2020 Metro        Mid-Carolinas          14       71.43%       71.43%       71.43%       78.57%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area          District         Ballot     Ballot       Ballot       Ballot       Ballot
           Capital       Norther
 12/9/2020 Metro         Virginia                7       28.57%       71.43%      100.00%      100.00%
           Capital
 12/9/2020 Metro         Richmond               13       30.77%       46.15%       76.92%       76.92%

 12/9/2020 Eastern       Appalachian             6       33.33%       50.00%       66.67%       66.67%

                         Central
 12/9/2020 Eastern       Pennsylvania            7       57.14%       57.14%       71.43%       71.43%

 12/9/2020 Eastern       Kentuckiana             8       87.50%      100.00%      100.00%      100.00%

 12/9/2020 Eastern       Norther Ohio            5       80.00%      100.00%      100.00%      100.00%

 12/9/2020 Eastern       Ohio Valley             5       60.00%       80.00%       80.00%       80.00%

                         Philadelphia
 12/9/2020 Eastern       Metropo                18       16.67%       16.67%       44.44%       50.00%

 12/9/2020 Eastern       South Jersey           15       46.67%       46.67%       60.00%       60.00%

 12/9/2020 Eastern       Tennessee            3484       51.72%       51.84%       99.83%       99.91%

                         Western New
 12/9/2020 Eastern       York                    2      100.00%      100.00%      100.00%      100.00%

                         Western
 12/9/2020 Eastern       Pennsylvania            9       66.67%       66.67%       77.78%       77.78%

 12/9/2020 Great Lakes Central Illinois         21       42.86%       57.14%       76.19%       80.95%

 12/9/2020 Great Lakes Chicago                   4       75.00%       75.00%       75.00%       75.00%

 12/9/2020 Great Lakes Detroit                  13       61.54%       61.54%       69.23%       76.92%

 12/9/2020 Great Lakes Gateway                  21       71.43%       76.19%       90.48%       90.48%
                       Greater
 12/9/2020 Great Lakes Indiana                   8       62.50%       62.50%       75.00%       75.00%
                       Greater
 12/9/2020 Great Lakes Michigan                 10       90.00%       90.00%      100.00%      100.00%

 12/9/2020 Great Lakes Lakeland                 14       57.14%       57.14%       71.43%       71.43%
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                                         Measured     Processing    Processing    Processing    Processing
                                         Volume:      Score:        Score Plus    Score Plus    Score Plus
                                         Inbound      Inbound       1: Inbound    2: Inbound    3: Inbound
Date       Area         District         Ballot       Ballot        Ballot        Ballot        Ballot
 12/9/2020 Northeast    Albany                   18        72.22%        72.22%        83.33%        94.44%

 12/9/2020 Northeast    Caribbean                0 Null%            Null%         Null%         Null%

                        Connecticut
 12/9/2020 Northeast    Valley                  18        61.11%        61.11%        94.44%        94.44%
                        Greater
 12/9/2020 Northeast    Boston                  69        75.36%        79.71%        86.96%        88.41%

 12/9/2020 Northeast    Long Island              9        66.67%        66.67%        66.67%        66.67%

 12/9/2020 Northeast    New York                55        89.09%        89.09%        90.91%        92.73%

                        Northern New
 12/9/2020 Northeast    England                 13        61.54%        61.54%        61.54%        61.54%

                        Northern New
 12/9/2020 Northeast    Jersey                  15        20.00%        20.00%        53.33%        73.33%
 12/9/2020 Northeast    Triboro                  1         0.00%         0.00%         0.00%         0.00%

 12/9/2020 Northeast    Westchester             15        86.67%        93.33%        93.33%        93.33%

 12/9/2020 Pacific      Bay-Valley              11        63.64%        63.64%        63.64%        63.64%
 12/9/2020 Pacific      Honolulu                 5        60.00%        80.00%       100.00%       100.00%

 12/9/2020 Pacific      Los Angeles             20        60.00%        75.00%        95.00%        95.00%

 12/9/2020 Pacific      Sacramento              14        78.57%        85.71%        85.71%        85.71%

 12/9/2020 Pacific      San Diego               22        77.27%        86.36%        95.45%        95.45%

 12/9/2020 Pacific      San Francisco           11        63.64%        63.64%        81.82%        81.82%

 12/9/2020 Pacific      Santa Ana                5        20.00%        40.00%        60.00%        80.00%

 12/9/2020   Pacific    Sierra Coastal          27        74.07%        81.48%        88.89%        92.59%
 12/9/2020   Southern   Alabama                  8       100.00%       100.00%       100.00%       100.00%
 12/9/2020   Southern   Arkansas                10        90.00%        90.00%        90.00%        90.00%
 12/9/2020   Southern   Dallas                 141        95.74%        97.16%        97.87%        97.87%

 12/9/2020 Southern     Ft. Worth                5       100.00%       100.00%       100.00%       100.00%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

 12/9/2020 Southern     Gulf Atlantic       17736       99.05%       99.10%       99.92%       99.94%
 12/9/2020 Southern     Houston               620       89.19%       89.52%       89.84%       89.84%

 12/9/2020 Southern     Louisiana              18       55.56%       61.11%       77.78%       83.33%

 12/9/2020 Southern     Mississippi             6       33.33%       33.33%       33.33%       33.33%

 12/9/2020 Southern     Oklahoma                6       50.00%       50.00%       66.67%       66.67%

 12/9/2020 Southern     Rio Grande           2118       98.63%       98.73%       99.06%       99.15%

 12/9/2020   Southern   South Florida           8       12.50%       37.50%       37.50%       50.00%
 12/9/2020   Southern   Suncoast               49       87.76%       93.88%       95.92%       97.96%
 12/9/2020   Western    Alaska                  3       66.67%       66.67%      100.00%      100.00%
 12/9/2020   Western    Arizona                12       50.00%       50.00%       58.33%       58.33%

 12/9/2020 Western      Central Plains         15       66.67%       80.00%       80.00%       80.00%

                        Colorado/Wyo
 12/9/2020 Western      ming                   20       40.00%       50.00%       55.00%       70.00%
 12/9/2020 Western      Dakotas                42       23.81%       26.19%       38.10%       78.57%
 12/9/2020 Western      Hawkeye                 6       66.67%       66.67%       66.67%       66.67%

 12/9/2020 Western      Mid-Americas            9       33.33%       33.33%       55.56%       55.56%

 12/9/2020 Western      Nevada Sierra           3       66.67%       66.67%       66.67%       66.67%

 12/9/2020 Western      Northland              19       68.42%       68.42%       73.68%       73.68%
 12/9/2020 Western      Portland                9       55.56%       88.89%       88.89%       88.89%

 12/9/2020 Western      Salt Lake City          9       55.56%       77.78%      100.00%      100.00%
 12/9/2020 Western      Seattle                35       68.57%       77.14%       91.43%       91.43%
           Capital
12/10/2020 Metro        Atlanta             26246       49.26%       95.36%       95.44%       97.95%
           Capital
12/10/2020 Metro        Baltimore              12       58.33%       91.67%       91.67%      100.00%
           Capital
12/10/2020 Metro        Capital                 6      100.00%      100.00%      100.00%      100.00%
           Capital      Greater S
12/10/2020 Metro        Carolina               33       75.76%       90.91%       90.91%       93.94%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area        District         Ballot     Ballot       Ballot       Ballot       Ballot
             Capital
12/10/2020   Metro       Greensboro             18       33.33%       50.00%       50.00%       66.67%
             Capital
12/10/2020   Metro       Mid-Carolinas          17       58.82%       76.47%       82.35%       82.35%
             Capital     Norther
12/10/2020   Metro       Virginia                5       80.00%       80.00%       80.00%      100.00%
             Capital
12/10/2020   Metro       Richmond               21       52.38%       61.90%       61.90%       85.71%

12/10/2020 Eastern       Appalachian             7       71.43%       71.43%       71.43%       71.43%

                         Central
12/10/2020 Eastern       Pennsylvania            9      100.00%      100.00%      100.00%      100.00%

12/10/2020 Eastern       Kentuckiana            12       75.00%       75.00%       91.67%       91.67%

12/10/2020 Eastern       Norther Ohio           13       46.15%       46.15%       46.15%       53.85%

12/10/2020 Eastern       Ohio Valley            16       50.00%       62.50%       62.50%       68.75%

                         Philadelphia
12/10/2020 Eastern       Metropo                 9       33.33%       33.33%       55.56%       55.56%

12/10/2020 Eastern       South Jersey           28       67.86%       75.00%       85.71%       85.71%

12/10/2020 Eastern       Tennessee            1221       98.69%       98.77%       99.02%       99.84%

                         Western New
12/10/2020 Eastern       York                    8       87.50%       87.50%       87.50%       87.50%

                         Western
12/10/2020 Eastern       Pennsylvania           11       81.82%       81.82%       81.82%       81.82%

12/10/2020 Great Lakes Central Illinois         19       63.16%       73.68%       78.95%       84.21%

12/10/2020 Great Lakes Chicago                   4       50.00%       50.00%       50.00%       50.00%

12/10/2020 Great Lakes Detroit                  17       76.47%       76.47%       76.47%       82.35%

12/10/2020 Great Lakes Gateway                  26       34.62%       34.62%       42.31%       50.00%
                       Greater
12/10/2020 Great Lakes Indiana                  13       76.92%       76.92%       76.92%       92.31%
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                                        Measured   Processing   Processing   Processing   Processing
                                        Volume:    Score:       Score Plus   Score Plus   Score Plus
                                        Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area       District         Ballot     Ballot       Ballot       Ballot       Ballot
                       Greater
12/10/2020 Great Lakes Michigan                8       75.00%       75.00%       75.00%       75.00%

12/10/2020 Great Lakes Lakeland               11       54.55%       54.55%       63.64%       63.64%
12/10/2020 Northeast Albany                   17       17.65%      100.00%      100.00%      100.00%

12/10/2020 Northeast   Caribbean               1        0.00%        0.00%        0.00%        0.00%

                       Connecticut
12/10/2020 Northeast   Valley                 12       58.33%       75.00%       91.67%       91.67%
                       Greater
12/10/2020 Northeast   Boston                 31       70.97%       87.10%       93.55%       93.55%

12/10/2020 Northeast   Long Island            14       50.00%       57.14%       57.14%       78.57%

12/10/2020 Northeast   New York               51       96.08%       98.04%       98.04%      100.00%

                       Northern New
12/10/2020 Northeast   England                15       80.00%       86.67%       93.33%      100.00%

                       Northern New
12/10/2020 Northeast   Jersey                 19       57.89%       57.89%       78.95%       94.74%
12/10/2020 Northeast   Triboro                 4       75.00%       75.00%       75.00%       75.00%

12/10/2020 Northeast   Westchester             4       75.00%       75.00%       75.00%      100.00%

12/10/2020 Pacific     Bay-Valley             16       81.25%       87.50%      100.00%      100.00%
12/10/2020 Pacific     Honolulu                5       80.00%       80.00%       80.00%      100.00%

12/10/2020 Pacific     Los Angeles            14       71.43%       71.43%       71.43%       71.43%

12/10/2020 Pacific     Sacramento             23       52.17%       60.87%       60.87%       73.91%

12/10/2020 Pacific     San Diego              25       48.00%       52.00%       56.00%       68.00%

12/10/2020 Pacific     San Francisco          24       70.83%       75.00%       75.00%       91.67%

12/10/2020 Pacific     Santa Ana               8       62.50%       62.50%       62.50%       62.50%

12/10/2020 Pacific     Sierra Coastal         39       87.18%       89.74%       89.74%       94.87%
12/10/2020 Southern    Alabama                35       65.71%       82.86%       82.86%       85.71%
12/10/2020 Southern    Arkansas                4       50.00%       50.00%       50.00%       50.00%
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                                         Measured     Processing    Processing    Processing    Processing
                                         Volume:      Score:        Score Plus    Score Plus    Score Plus
                                         Inbound      Inbound       1: Inbound    2: Inbound    3: Inbound
Date       Area         District         Ballot       Ballot        Ballot        Ballot        Ballot
12/10/2020 Southern     Dallas                   44        88.64%        88.64%        90.91%        95.45%

12/10/2020 Southern     Ft. Worth                5        60.00%        60.00%        60.00%        80.00%

12/10/2020 Southern     Gulf Atlantic        12216        92.75%        99.19%        99.21%        99.90%
12/10/2020 Southern     Houston                241        84.65%        84.65%        84.65%        85.06%

12/10/2020 Southern     Louisiana               13        84.62%        84.62%        84.62%        84.62%

12/10/2020 Southern     Mississippi              4        50.00%        50.00%        50.00%        50.00%

12/10/2020 Southern     Oklahoma                10        80.00%        80.00%        80.00%        90.00%

12/10/2020 Southern     Rio Grande            1315        98.40%        98.40%        98.48%        98.63%

12/10/2020   Southern   South Florida           10        80.00%        80.00%        90.00%       100.00%
12/10/2020   Southern   Suncoast                49        77.55%        79.59%        87.76%        89.80%
12/10/2020   Western    Alaska                   2       100.00%       100.00%       100.00%       100.00%
12/10/2020   Western    Arizona                 35        60.00%        65.71%        77.14%        80.00%

12/10/2020 Western      Central Plains           9        77.78%        77.78%        88.89%        88.89%

                        Colorado/Wyo
12/10/2020 Western      ming                    28        64.29%        71.43%        75.00%        75.00%
12/10/2020 Western      Dakotas                 25        84.00%        84.00%        84.00%        84.00%
12/10/2020 Western      Hawkeye                  6        83.33%       100.00%       100.00%       100.00%

12/10/2020 Western      Mid-Americas            20        45.00%        45.00%        55.00%        65.00%

12/10/2020 Western      Nevada Sierra            4       100.00%       100.00%       100.00%       100.00%

12/10/2020 Western      Northland               11        36.36%        63.64%        63.64%        63.64%
12/10/2020 Western      Portland                13        69.23%        84.62%        84.62%        92.31%

12/10/2020 Western      Salt Lake City          23        30.43%        30.43%        30.43%       100.00%
12/10/2020 Western      Seattle                 24        66.67%        66.67%        70.83%        75.00%
           Capital
12/11/2020 Metro        Atlanta              31725        67.68%        91.01%        98.33%        98.39%
           Capital
12/11/2020 Metro        Baltimore               10        90.00%        90.00%        90.00%        90.00%
           Capital
12/11/2020 Metro        Capital                 19        42.11%        68.42%        68.42%        68.42%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area        District         Ballot     Ballot       Ballot       Ballot       Ballot
             Capital     Greater S
12/11/2020   Metro       Carolina               29       34.48%       58.62%       86.21%       86.21%
             Capital
12/11/2020   Metro       Greensboro             19       57.89%       63.16%       73.68%       78.95%
             Capital
12/11/2020   Metro       Mid-Carolinas          17       47.06%       76.47%       82.35%       82.35%
             Capital     Norther
12/11/2020   Metro       Virginia                7       57.14%       71.43%       85.71%      100.00%
             Capital
12/11/2020   Metro       Richmond               12       75.00%       83.33%      100.00%      100.00%

12/11/2020 Eastern       Appalachian             8       75.00%       87.50%       87.50%       87.50%

                         Central
12/11/2020 Eastern       Pennsylvania           13       53.85%       76.92%       84.62%       84.62%

12/11/2020 Eastern       Kentuckiana             8       62.50%       62.50%       62.50%       62.50%

12/11/2020 Eastern       Norther Ohio           18       77.78%       88.89%       88.89%       88.89%

12/11/2020 Eastern       Ohio Valley            12       50.00%       50.00%       66.67%       83.33%

                         Philadelphia
12/11/2020 Eastern       Metropo                11       18.18%       27.27%       45.45%       90.91%

12/11/2020 Eastern       South Jersey           15       46.67%       53.33%       60.00%       73.33%

12/11/2020 Eastern       Tennessee             913       95.73%       96.71%       98.14%       98.69%

                         Western New
12/11/2020 Eastern       York                    7       57.14%       71.43%       71.43%       71.43%

                         Western
12/11/2020 Eastern       Pennsylvania           12       83.33%       91.67%       91.67%       91.67%

12/11/2020 Great Lakes Central Illinois         32       65.63%       71.88%       75.00%       75.00%

12/11/2020 Great Lakes Chicago                   3      100.00%      100.00%      100.00%      100.00%

12/11/2020 Great Lakes Detroit                  12       41.67%       58.33%       91.67%       91.67%

12/11/2020 Great Lakes Gateway                  19       52.63%       68.42%       73.68%       73.68%
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                                        Measured   Processing   Processing   Processing   Processing
                                        Volume:    Score:       Score Plus   Score Plus   Score Plus
                                        Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area       District         Ballot     Ballot       Ballot       Ballot       Ballot
                       Greater
12/11/2020 Great Lakes Indiana                10       90.00%       90.00%       90.00%       90.00%
                       Greater
12/11/2020 Great Lakes Michigan               12       66.67%       75.00%       75.00%       83.33%

12/11/2020 Great Lakes Lakeland                9       55.56%       77.78%       77.78%       77.78%
12/11/2020 Northeast Albany                   22       90.91%      100.00%      100.00%      100.00%

12/11/2020 Northeast   Caribbean               3       66.67%       66.67%       66.67%       66.67%

                       Connecticut
12/11/2020 Northeast   Valley                  9       88.89%       88.89%       88.89%       88.89%
                       Greater
12/11/2020 Northeast   Boston                 24       83.33%       87.50%       87.50%       87.50%

12/11/2020 Northeast   Long Island            12       41.67%       50.00%       50.00%       50.00%

12/11/2020 Northeast   New York               46       91.30%      100.00%      100.00%      100.00%

                       Northern New
12/11/2020 Northeast   England                 4       50.00%       50.00%       50.00%       50.00%

                       Northern New
12/11/2020 Northeast   Jersey                 26       61.54%       88.46%       92.31%       92.31%
12/11/2020 Northeast   Triboro                 8       12.50%       50.00%       62.50%       62.50%

12/11/2020 Northeast   Westchester            12       75.00%       83.33%       83.33%       83.33%

12/11/2020 Pacific     Bay-Valley             18       55.56%       88.89%       94.44%      100.00%
12/11/2020 Pacific     Honolulu                1      100.00%      100.00%      100.00%      100.00%

12/11/2020 Pacific     Los Angeles            14       14.29%       21.43%       28.57%       35.71%

12/11/2020 Pacific     Sacramento             25       64.00%       76.00%       96.00%       96.00%

12/11/2020 Pacific     San Diego               8       37.50%       75.00%       87.50%      100.00%

12/11/2020 Pacific     San Francisco          25       84.00%       92.00%       92.00%       92.00%

12/11/2020 Pacific     Santa Ana              14       92.86%       92.86%       92.86%       92.86%

12/11/2020 Pacific     Sierra Coastal         34       67.65%       76.47%       76.47%       76.47%
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                                         Measured     Processing    Processing    Processing     Processing
                                         Volume:      Score:        Score Plus    Score Plus     Score Plus
                                         Inbound      Inbound       1: Inbound    2: Inbound     3: Inbound
Date         Area       District         Ballot       Ballot        Ballot        Ballot         Ballot
12/11/2020   Southern   Alabama                  30        70.00%        83.33%         86.67%        86.67%
12/11/2020   Southern   Arkansas                  4        75.00%       100.00%        100.00%       100.00%
12/11/2020   Southern   Dallas                  106        15.09%        89.62%         89.62%        90.57%

12/11/2020 Southern     Ft. Worth               12        50.00%        50.00%        50.00%         50.00%

12/11/2020 Southern     Gulf Atlantic         8069        94.01%        98.24%        99.57%         99.63%
12/11/2020 Southern     Houston                156        71.79%        73.08%        73.08%         73.08%

12/11/2020 Southern     Louisiana               16        68.75%        81.25%        81.25%         93.75%

12/11/2020 Southern     Mississippi              4        25.00%        50.00%        50.00%         75.00%

12/11/2020 Southern     Oklahoma                 6       100.00%       100.00%       100.00%        100.00%

12/11/2020 Southern     Rio Grande            1056        95.55%        98.01%        98.77%         98.77%

12/11/2020   Southern   South Florida           27        55.56%        81.48%        81.48%         88.89%
12/11/2020   Southern   Suncoast                44        54.55%        77.27%        77.27%         81.82%
12/11/2020   Western    Alaska                   1       100.00%       100.00%       100.00%        100.00%
12/11/2020   Western    Arizona                 19        47.37%        68.42%        68.42%         68.42%

12/11/2020 Western      Central Plains          12        50.00%        75.00%        75.00%         75.00%

                        Colorado/Wyo
12/11/2020 Western      ming                    24        54.17%        66.67%        66.67%         91.67%
12/11/2020 Western      Dakotas                 17        58.82%        70.59%        70.59%         94.12%
12/11/2020 Western      Hawkeye                  9        44.44%        88.89%        88.89%         88.89%

12/11/2020 Western      Mid-Americas             8        50.00%        50.00%        75.00%         75.00%

12/11/2020 Western      Nevada Sierra            7        57.14%        71.43%        71.43%         71.43%

12/11/2020 Western      Northland               14        50.00%        85.71%        85.71%         85.71%
12/11/2020 Western      Portland                 9        44.44%        88.89%        88.89%         88.89%

12/11/2020 Western      Salt Lake City          10        60.00%        70.00%        70.00%         70.00%
12/11/2020 Western      Seattle                 17        41.18%        70.59%        70.59%         70.59%
           Capital
12/12/2020 Metro        Atlanta              21436        62.28%        72.88%        82.45%         98.63%
           Capital
12/12/2020 Metro        Baltimore               18        55.56%        83.33%        83.33%         83.33%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area        District         Ballot     Ballot       Ballot       Ballot       Ballot
             Capital
12/12/2020   Metro       Capital                17       64.71%       70.59%      100.00%      100.00%
             Capital     Greater S
12/12/2020   Metro       Carolina               22       54.55%       90.91%      100.00%      100.00%
             Capital
12/12/2020   Metro       Greensboro              8       50.00%       75.00%       87.50%       87.50%
             Capital
12/12/2020   Metro       Mid-Carolinas          10       60.00%       70.00%       80.00%       90.00%
             Capital     Norther
12/12/2020   Metro       Virginia               18       55.56%       55.56%       66.67%       66.67%
             Capital
12/12/2020   Metro       Richmond               17       47.06%       76.47%       94.12%       94.12%

12/12/2020 Eastern       Appalachian            12       41.67%       66.67%       75.00%       75.00%

                         Central
12/12/2020 Eastern       Pennsylvania            6       66.67%       83.33%       83.33%       83.33%

12/12/2020 Eastern       Kentuckiana             6       83.33%       83.33%       83.33%       83.33%

12/12/2020 Eastern       Norther Ohio            4       25.00%       25.00%       50.00%       50.00%

12/12/2020 Eastern       Ohio Valley            11       45.45%       54.55%       72.73%       72.73%

                         Philadelphia
12/12/2020 Eastern       Metropo                17       41.18%       64.71%       82.35%       82.35%

12/12/2020 Eastern       South Jersey           17       58.82%       64.71%       76.47%       76.47%

12/12/2020 Eastern       Tennessee             284       84.86%       94.72%       96.83%       98.59%

                         Western New
12/12/2020 Eastern       York                   11       63.64%       63.64%       63.64%       63.64%

                         Western
12/12/2020 Eastern       Pennsylvania            8       75.00%       75.00%      100.00%      100.00%

12/12/2020 Great Lakes Central Illinois         36       66.67%       77.78%       94.44%       94.44%

12/12/2020 Great Lakes Chicago                   6       50.00%       50.00%       50.00%       50.00%

12/12/2020 Great Lakes Detroit                  15       40.00%       53.33%       66.67%       80.00%
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                                       Measured   Processing   Processing   Processing   Processing
                                       Volume:    Score:       Score Plus   Score Plus   Score Plus
                                       Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area       District        Ballot     Ballot       Ballot       Ballot       Ballot

12/12/2020 Great Lakes Gateway               17       58.82%       64.71%       76.47%       76.47%
                       Greater
12/12/2020 Great Lakes Indiana               12       66.67%       91.67%      100.00%      100.00%
                       Greater
12/12/2020 Great Lakes Michigan               8       37.50%       37.50%       75.00%       75.00%

12/12/2020 Great Lakes Lakeland              13       30.77%       61.54%       84.62%       84.62%
12/12/2020 Northeast Albany                   6       33.33%       33.33%       50.00%       50.00%

12/12/2020 Northeast   Caribbean              5      100.00%      100.00%      100.00%      100.00%

                       Connecticut
12/12/2020 Northeast   Valley                20       45.00%       55.00%       80.00%       80.00%
                       Greater
12/12/2020 Northeast   Boston                22       59.09%       63.64%       90.91%       95.45%

12/12/2020 Northeast   Long Island            2       50.00%       50.00%       50.00%       50.00%

12/12/2020 Northeast   New York              28       17.86%       39.29%       78.57%       78.57%

                       Northern New
12/12/2020 Northeast   England               18       55.56%       61.11%       88.89%       94.44%

                       Northern New
12/12/2020 Northeast   Jersey                22       90.91%       95.45%       95.45%       95.45%
12/12/2020 Northeast   Triboro                4       50.00%       50.00%       50.00%       50.00%

12/12/2020 Northeast   Westchester           10       40.00%       90.00%       90.00%       90.00%

12/12/2020 Pacific     Bay-Valley            15       53.33%       80.00%       93.33%       93.33%
12/12/2020 Pacific     Honolulu              10       10.00%       40.00%       40.00%       90.00%

12/12/2020 Pacific     Los Angeles           18       50.00%       66.67%       83.33%       83.33%

12/12/2020 Pacific     Sacramento            22       22.73%       68.18%       77.27%       77.27%

12/12/2020 Pacific     San Diego             18       55.56%       55.56%       66.67%       72.22%

12/12/2020 Pacific     San Francisco         17       47.06%       88.24%      100.00%      100.00%

12/12/2020 Pacific     Santa Ana             12       16.67%       58.33%       58.33%       66.67%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

12/12/2020   Pacific    Sierra Coastal         28       78.57%       78.57%       85.71%       85.71%
12/12/2020   Southern   Alabama                21       42.86%       52.38%       66.67%       90.48%
12/12/2020   Southern   Arkansas                3        0.00%       33.33%       66.67%       66.67%
12/12/2020   Southern   Dallas                 22       59.09%       90.91%      100.00%      100.00%

12/12/2020 Southern     Ft. Worth               9       44.44%       44.44%       44.44%       44.44%

12/12/2020 Southern     Gulf Atlantic        5933       96.61%       98.70%       99.49%       99.78%
12/12/2020 Southern     Houston               153       77.12%       79.08%       79.74%       79.74%

12/12/2020 Southern     Louisiana              21       71.43%       90.48%       90.48%       90.48%

12/12/2020 Southern     Mississippi             5       20.00%      100.00%      100.00%      100.00%

12/12/2020 Southern     Oklahoma               11       90.91%      100.00%      100.00%      100.00%

12/12/2020 Southern     Rio Grande            716       95.81%       96.37%       96.65%       96.65%

12/12/2020   Southern   South Florida          20       30.00%       50.00%       65.00%       65.00%
12/12/2020   Southern   Suncoast               43       48.84%       74.42%       93.02%       93.02%
12/12/2020   Western    Alaska
12/12/2020   Western    Arizona                20       70.00%       85.00%      100.00%      100.00%

12/12/2020 Western      Central Plains         18       66.67%       83.33%       94.44%       94.44%

                        Colorado/Wyo
12/12/2020 Western      ming                   20       55.00%       70.00%       70.00%       70.00%
12/12/2020 Western      Dakotas                15       60.00%       60.00%       93.33%       93.33%
12/12/2020 Western      Hawkeye                 7       42.86%       42.86%       71.43%       71.43%

12/12/2020 Western      Mid-Americas            7       42.86%       42.86%       57.14%       57.14%

12/12/2020 Western      Nevada Sierra           3       66.67%       66.67%       66.67%       66.67%

12/12/2020 Western      Northland              19       84.21%       84.21%       89.47%       89.47%
12/12/2020 Western      Portland               17       64.71%       94.12%       94.12%       94.12%

12/12/2020 Western      Salt Lake City         18       33.33%       72.22%       83.33%       83.33%
12/12/2020 Western      Seattle                36       38.89%       63.89%       75.00%       75.00%
           Capital
12/14/2020 Metro        Atlanta             17624       68.90%       89.55%       92.64%       96.87%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area        District         Ballot     Ballot       Ballot       Ballot       Ballot
             Capital
12/14/2020   Metro       Baltimore              13       38.46%       46.15%       69.23%       69.23%
             Capital
12/14/2020   Metro       Capital                21       90.48%      100.00%      100.00%      100.00%
             Capital     Greater S
12/14/2020   Metro       Carolina               78       61.54%       69.23%       73.08%       80.77%
             Capital
12/14/2020   Metro       Greensboro             22       22.73%       45.45%       63.64%       72.73%
             Capital
12/14/2020   Metro       Mid-Carolinas          44       36.36%       56.82%       68.18%       81.82%
             Capital     Norther
12/14/2020   Metro       Virginia               19       78.95%       84.21%       84.21%       89.47%
             Capital
12/14/2020   Metro       Richmond               22       63.64%       63.64%       68.18%       86.36%

12/14/2020 Eastern       Appalachian            14       57.14%       85.71%       92.86%       92.86%

                         Central
12/14/2020 Eastern       Pennsylvania           21       52.38%       71.43%       76.19%       80.95%

12/14/2020 Eastern       Kentuckiana            16       56.25%       56.25%       62.50%       75.00%

12/14/2020 Eastern       Norther Ohio           19       57.89%       57.89%       73.68%       73.68%

12/14/2020 Eastern       Ohio Valley            23       60.87%       69.57%       78.26%       91.30%

                         Philadelphia
12/14/2020 Eastern       Metropo                21       61.90%       76.19%      100.00%      100.00%

12/14/2020 Eastern       South Jersey           24       37.50%       54.17%       66.67%       75.00%

12/14/2020 Eastern       Tennessee             427       86.65%       88.52%       90.63%       92.04%

                         Western New
12/14/2020 Eastern       York                   22       40.91%       72.73%       72.73%       86.36%

                         Western
12/14/2020 Eastern       Pennsylvania           13       61.54%       84.62%       92.31%       92.31%

12/14/2020 Great Lakes Central Illinois         23       56.52%       82.61%       82.61%       86.96%

12/14/2020 Great Lakes Chicago                  13       38.46%       38.46%       38.46%       38.46%
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                                       Measured   Processing   Processing   Processing   Processing
                                       Volume:    Score:       Score Plus   Score Plus   Score Plus
                                       Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area       District        Ballot     Ballot       Ballot       Ballot       Ballot

12/14/2020 Great Lakes Detroit               39       69.23%       87.18%       94.87%       94.87%

12/14/2020 Great Lakes Gateway               18       33.33%       61.11%       61.11%       61.11%
                       Greater
12/14/2020 Great Lakes Indiana               15       46.67%       73.33%       86.67%       86.67%
                       Greater
12/14/2020 Great Lakes Michigan              13       46.15%       53.85%       84.62%       92.31%

12/14/2020 Great Lakes Lakeland              21       85.71%       85.71%       85.71%       90.48%
12/14/2020 Northeast Albany                  33       81.82%       84.85%       84.85%       84.85%

12/14/2020 Northeast   Caribbean              4      100.00%      100.00%      100.00%      100.00%

                       Connecticut
12/14/2020 Northeast   Valley                14       85.71%       92.86%       92.86%       92.86%
                       Greater
12/14/2020 Northeast   Boston                32       34.38%       40.63%       59.38%       68.75%

12/14/2020 Northeast   Long Island           13       38.46%       53.85%       61.54%       76.92%

12/14/2020 Northeast   New York             138       82.61%       94.93%       99.28%       99.28%

                       Northern New
12/14/2020 Northeast   England               21       76.19%       76.19%       80.95%       90.48%

                       Northern New
12/14/2020 Northeast   Jersey                65       55.38%       86.15%       92.31%       96.92%
12/14/2020 Northeast   Triboro                8       50.00%       50.00%       50.00%       50.00%

12/14/2020 Northeast   Westchester           37       40.54%       43.24%       54.05%       89.19%

12/14/2020 Pacific     Bay-Valley            38       86.84%       94.74%       97.37%      100.00%
12/14/2020 Pacific     Honolulu               9       11.11%       22.22%       44.44%       44.44%

12/14/2020 Pacific     Los Angeles           28       67.86%       67.86%       75.00%       82.14%

12/14/2020 Pacific     Sacramento            26       57.69%       65.38%       76.92%       76.92%

12/14/2020 Pacific     San Diego             20       45.00%       65.00%       65.00%       80.00%

12/14/2020 Pacific     San Francisco        100       82.00%       91.00%       91.00%       93.00%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

12/14/2020 Pacific      Santa Ana              19       52.63%       94.74%       94.74%       94.74%

12/14/2020   Pacific    Sierra Coastal         49       87.76%       91.84%       93.88%       95.92%
12/14/2020   Southern   Alabama                29       55.17%       65.52%       72.41%       82.76%
12/14/2020   Southern   Arkansas               10       60.00%       60.00%       80.00%       90.00%
12/14/2020   Southern   Dallas                 45       68.89%       88.89%       91.11%       95.56%

12/14/2020 Southern     Ft. Worth              13       30.77%       46.15%       61.54%       61.54%

12/14/2020 Southern     Gulf Atlantic        5381       94.22%       96.56%       97.73%       98.66%
12/14/2020 Southern     Houston                83       57.83%       59.04%       59.04%       61.45%

12/14/2020 Southern     Louisiana              34       55.88%       64.71%       67.65%       85.29%

12/14/2020 Southern     Mississippi            12       50.00%       66.67%       83.33%       83.33%

12/14/2020 Southern     Oklahoma                7       42.86%       71.43%       85.71%      100.00%

12/14/2020 Southern     Rio Grande            417       91.37%       94.24%       96.40%       97.36%

12/14/2020   Southern   South Florida          31       45.16%       64.52%       87.10%       90.32%
12/14/2020   Southern   Suncoast               64       51.56%       67.19%       78.13%       92.19%
12/14/2020   Western    Alaska                  7       28.57%       57.14%       57.14%       57.14%
12/14/2020   Western    Arizona                25       76.00%       76.00%       92.00%       96.00%

12/14/2020 Western      Central Plains         19       73.68%       84.21%       89.47%       89.47%

                        Colorado/Wyo
12/14/2020 Western      ming                   33       48.48%       69.70%       69.70%       72.73%
12/14/2020 Western      Dakotas                20       55.00%       60.00%       85.00%       85.00%
12/14/2020 Western      Hawkeye                 9       77.78%       88.89%       88.89%       88.89%

12/14/2020 Western      Mid-Americas           15       73.33%       80.00%       80.00%       80.00%

12/14/2020 Western      Nevada Sierra          20       60.00%       65.00%       85.00%       90.00%

12/14/2020 Western      Northland              27       77.78%       85.19%       85.19%       85.19%
12/14/2020 Western      Portland               21       47.62%       61.90%       76.19%       80.95%

12/14/2020 Western      Salt Lake City         12       41.67%       58.33%       58.33%       66.67%
12/14/2020 Western      Seattle                39       41.03%       64.10%       76.92%       79.49%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area        District         Ballot     Ballot       Ballot       Ballot       Ballot
             Capital
12/15/2020   Metro       Atlanta             13867       74.15%       92.93%       97.01%       97.92%
             Capital
12/15/2020   Metro       Baltimore              16       87.50%       87.50%       87.50%       93.75%
             Capital
12/15/2020   Metro       Capital                11       45.45%       45.45%       54.55%      100.00%
             Capital     Greater S
12/15/2020   Metro       Carolina               45       33.33%       66.67%       82.22%       88.89%
             Capital
12/15/2020   Metro       Greensboro             17       29.41%       35.29%       70.59%       88.24%
             Capital
12/15/2020   Metro       Mid-Carolinas          27       25.93%       48.15%       66.67%       85.19%
             Capital     Norther
12/15/2020   Metro       Virginia                5        0.00%       60.00%       80.00%       80.00%
             Capital
12/15/2020   Metro       Richmond               13        7.69%       15.38%       30.77%       84.62%

12/15/2020 Eastern       Appalachian             7       57.14%       57.14%       57.14%       71.43%

                         Central
12/15/2020 Eastern       Pennsylvania           16       50.00%       75.00%       81.25%       81.25%

12/15/2020 Eastern       Kentuckiana            15       33.33%       80.00%       86.67%       86.67%

12/15/2020 Eastern       Norther Ohio           10       50.00%       70.00%       70.00%       80.00%

12/15/2020 Eastern       Ohio Valley            16       62.50%       68.75%       68.75%       68.75%

                         Philadelphia
12/15/2020 Eastern       Metropo                11        9.09%       54.55%       81.82%      100.00%

12/15/2020 Eastern       South Jersey            9       44.44%       55.56%       66.67%       88.89%

12/15/2020 Eastern       Tennessee            1278       65.26%       88.58%       99.53%       99.61%

                         Western New
12/15/2020 Eastern       York                   10       40.00%       50.00%       60.00%       90.00%

                         Western
12/15/2020 Eastern       Pennsylvania           13       46.15%       61.54%       61.54%       69.23%

12/15/2020 Great Lakes Central Illinois         12       41.67%       58.33%       66.67%       75.00%
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                                      Measured   Processing   Processing   Processing   Processing
                                      Volume:    Score:       Score Plus   Score Plus   Score Plus
                                      Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area       District       Ballot     Ballot       Ballot       Ballot       Ballot

12/15/2020 Great Lakes Chicago               4        0.00%       50.00%       50.00%       75.00%

12/15/2020 Great Lakes Detroit              19       42.11%       84.21%       94.74%      100.00%

12/15/2020 Great Lakes Gateway               6       33.33%       66.67%      100.00%      100.00%
                       Greater
12/15/2020 Great Lakes Indiana              18       22.22%       77.78%       83.33%       83.33%
                       Greater
12/15/2020 Great Lakes Michigan              6       16.67%       16.67%       66.67%      100.00%

12/15/2020 Great Lakes Lakeland             12       33.33%       66.67%       75.00%       83.33%
12/15/2020 Northeast Albany                 11       63.64%       72.73%       72.73%       90.91%

12/15/2020 Northeast   Caribbean             1      100.00%      100.00%      100.00%      100.00%

                       Connecticut
12/15/2020 Northeast   Valley               24       62.50%       62.50%       87.50%       87.50%
                       Greater
12/15/2020 Northeast   Boston               29       31.03%       48.28%       72.41%       86.21%

12/15/2020 Northeast   Long Island          10       10.00%       20.00%       40.00%       80.00%

12/15/2020 Northeast   New York             88       21.59%       62.50%       79.55%       97.73%

                       Northern New
12/15/2020 Northeast   England              12       16.67%       58.33%       75.00%       83.33%

                       Northern New
12/15/2020 Northeast   Jersey               10      50.00%      60.00%      60.00%     80.00%
12/15/2020 Northeast   Triboro               0 Null%       Null%       Null%       Null%

12/15/2020 Northeast   Westchester          11       27.27%       63.64%      100.00%      100.00%

12/15/2020 Pacific     Bay-Valley           14       14.29%       57.14%       57.14%       57.14%
12/15/2020 Pacific     Honolulu              6       33.33%       83.33%       83.33%       83.33%

12/15/2020 Pacific     Los Angeles          31       25.81%       58.06%       70.97%       90.32%

12/15/2020 Pacific     Sacramento           17       58.82%       82.35%       82.35%      100.00%

12/15/2020 Pacific     San Diego            22        9.09%       68.18%       72.73%       77.27%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

12/15/2020 Pacific      San Francisco          29       34.48%       82.76%       82.76%       86.21%

12/15/2020 Pacific      Santa Ana              11       72.73%       81.82%       90.91%       90.91%

12/15/2020   Pacific    Sierra Coastal         48       70.83%       81.25%       95.83%       95.83%
12/15/2020   Southern   Alabama                14       28.57%       71.43%       78.57%       78.57%
12/15/2020   Southern   Arkansas                4       25.00%       75.00%       75.00%       75.00%
12/15/2020   Southern   Dallas                 14       28.57%       78.57%       92.86%       92.86%

12/15/2020 Southern     Ft. Worth               7       42.86%       71.43%       71.43%       71.43%

12/15/2020 Southern     Gulf Atlantic        3601       95.56%       99.22%       99.39%       99.53%
12/15/2020 Southern     Houston                34       67.65%       76.47%       79.41%       82.35%

12/15/2020 Southern     Louisiana              15       66.67%       80.00%       93.33%       93.33%

12/15/2020 Southern     Mississippi            10       20.00%       90.00%       90.00%       90.00%

12/15/2020 Southern     Oklahoma                7       42.86%       57.14%       71.43%       85.71%

12/15/2020 Southern     Rio Grande            239       90.79%       96.23%       97.07%       97.91%

12/15/2020   Southern   South Florida          32       31.25%       71.88%       84.38%       93.75%
12/15/2020   Southern   Suncoast              123       59.35%       79.67%       85.37%       97.56%
12/15/2020   Western    Alaska                  2       50.00%      100.00%      100.00%      100.00%
12/15/2020   Western    Arizona                41       36.59%       73.17%       78.05%       90.24%

12/15/2020 Western      Central Plains         10       40.00%       70.00%       70.00%       70.00%

                        Colorado/Wyo
12/15/2020 Western      ming                   35       20.00%       60.00%       71.43%       88.57%
12/15/2020 Western      Dakotas                 7       42.86%       85.71%       85.71%       85.71%
12/15/2020 Western      Hawkeye                 3       66.67%      100.00%      100.00%      100.00%

12/15/2020 Western      Mid-Americas            6       33.33%       66.67%       66.67%      100.00%

12/15/2020 Western      Nevada Sierra          13       53.85%       84.62%       84.62%       84.62%

12/15/2020 Western      Northland              18       16.67%       44.44%       61.11%       83.33%
12/15/2020 Western      Portland               11       27.27%       36.36%       36.36%       45.45%
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                                      Measured   Processing   Processing   Processing   Processing
                                      Volume:    Score:       Score Plus   Score Plus   Score Plus
                                      Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area      District         Ballot     Ballot       Ballot       Ballot       Ballot

12/15/2020 Western   Salt Lake City          9       22.22%       55.56%      100.00%      100.00%
12/15/2020 Western   Seattle                21       38.10%       66.67%       85.71%       85.71%
           Capital
12/16/2020 Metro     Atlanta              9584       92.53%       92.75%       96.69%       97.61%
           Capital
12/16/2020 Metro     Baltimore              12       75.00%       75.00%       91.67%       91.67%
           Capital
12/16/2020 Metro     Capital                34       41.18%       41.18%       64.71%       67.65%
           Capital   Greater S
12/16/2020 Metro     Carolina               21       42.86%       47.62%       61.90%       80.95%
           Capital
12/16/2020 Metro     Greensboro             14       21.43%       21.43%       64.29%       64.29%
           Capital
12/16/2020 Metro     Mid-Carolinas          13       61.54%       69.23%       69.23%       84.62%
           Capital   Norther
12/16/2020 Metro     Virginia               17       23.53%       29.41%       41.18%       58.82%
           Capital
12/16/2020 Metro     Richmond               12       91.67%       91.67%      100.00%      100.00%

12/16/2020 Eastern   Appalachian             7       42.86%       42.86%       71.43%       71.43%

                     Central
12/16/2020 Eastern   Pennsylvania           19       36.84%       42.11%       57.89%       57.89%

12/16/2020 Eastern   Kentuckiana             7       57.14%       85.71%       85.71%       85.71%

12/16/2020 Eastern   Norther Ohio            9       22.22%       22.22%       66.67%       66.67%

12/16/2020 Eastern   Ohio Valley            16       68.75%       68.75%       75.00%       81.25%

                     Philadelphia
12/16/2020 Eastern   Metropo                15       66.67%       80.00%      100.00%      100.00%

12/16/2020 Eastern   South Jersey           23       78.26%       91.30%      100.00%      100.00%

12/16/2020 Eastern   Tennessee             827       96.49%       96.86%       98.55%       98.91%

                     Western New
12/16/2020 Eastern   York                   24       79.17%       83.33%       91.67%       91.67%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

                         Western
12/16/2020 Eastern       Pennsylvania           15       80.00%       86.67%       86.67%       86.67%

12/16/2020 Great Lakes Central Illinois         25       56.00%       64.00%       88.00%       88.00%

12/16/2020 Great Lakes Chicago                   3       66.67%       66.67%      100.00%      100.00%

12/16/2020 Great Lakes Detroit                  14       64.29%       64.29%       64.29%       64.29%

12/16/2020 Great Lakes Gateway                  20       95.00%       95.00%       95.00%       95.00%
                       Greater
12/16/2020 Great Lakes Indiana                   8       50.00%       50.00%       75.00%       75.00%
                       Greater
12/16/2020 Great Lakes Michigan                 12       66.67%       66.67%       83.33%       83.33%

12/16/2020 Great Lakes Lakeland                 13       61.54%       61.54%       69.23%       76.92%
12/16/2020 Northeast Albany                     26       80.77%       80.77%       88.46%       88.46%

12/16/2020 Northeast     Caribbean               0 Null%          Null%        Null%        Null%

                         Connecticut
12/16/2020 Northeast     Valley                 38       73.68%       76.32%       86.84%       89.47%
                         Greater
12/16/2020 Northeast     Boston                 37       24.32%       24.32%       37.84%       43.24%

12/16/2020 Northeast     Long Island            10       30.00%       40.00%       80.00%       80.00%

12/16/2020 Northeast     New York               59       94.92%       94.92%       94.92%       94.92%

                         Northern New
12/16/2020 Northeast     England                18       77.78%       83.33%       83.33%       88.89%

                         Northern New
12/16/2020 Northeast     Jersey                 17       82.35%       82.35%       88.24%       94.12%
12/16/2020 Northeast     Triboro                 5       60.00%       60.00%       60.00%       60.00%

12/16/2020 Northeast     Westchester            19       78.95%       78.95%       94.74%       94.74%

12/16/2020 Pacific       Bay-Valley             15       66.67%       80.00%       80.00%       80.00%
12/16/2020 Pacific       Honolulu                4       50.00%       50.00%       50.00%       50.00%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

12/16/2020 Pacific      Los Angeles            20       65.00%       65.00%       75.00%       80.00%

12/16/2020 Pacific      Sacramento             17       58.82%       64.71%       94.12%       94.12%

12/16/2020 Pacific      San Diego              22       59.09%       59.09%       63.64%       68.18%

12/16/2020 Pacific      San Francisco          36      100.00%      100.00%      100.00%      100.00%

12/16/2020 Pacific      Santa Ana               4       25.00%       25.00%       75.00%       75.00%

12/16/2020   Pacific    Sierra Coastal         52       76.92%       76.92%       88.46%      100.00%
12/16/2020   Southern   Alabama                14       50.00%       50.00%       64.29%       64.29%
12/16/2020   Southern   Arkansas               12       33.33%       33.33%       50.00%       50.00%
12/16/2020   Southern   Dallas                 13       61.54%       69.23%       92.31%      100.00%

12/16/2020 Southern     Ft. Worth               5       40.00%       40.00%       40.00%       40.00%

12/16/2020 Southern     Gulf Atlantic        5733       98.41%       98.53%       99.23%       99.42%
12/16/2020 Southern     Houston                44       72.73%       75.00%       79.55%       84.09%

12/16/2020 Southern     Louisiana               7       57.14%       71.43%      100.00%      100.00%

12/16/2020 Southern     Mississippi            11       81.82%       81.82%       90.91%       90.91%

12/16/2020 Southern     Oklahoma                3      100.00%      100.00%      100.00%      100.00%

12/16/2020 Southern     Rio Grande            184       85.33%       86.96%       91.30%       91.30%

12/16/2020   Southern   South Florida          12       58.33%       58.33%       66.67%       83.33%
12/16/2020   Southern   Suncoast               87       87.36%       91.95%       98.85%       98.85%
12/16/2020   Western    Alaska                  3       33.33%      100.00%      100.00%      100.00%
12/16/2020   Western    Arizona                33       66.67%       66.67%       81.82%       90.91%

12/16/2020 Western      Central Plains          7       57.14%       57.14%       71.43%       71.43%

                        Colorado/Wyo
12/16/2020 Western      ming                   29       51.72%       55.17%       72.41%       89.66%
12/16/2020 Western      Dakotas                18       55.56%       55.56%       72.22%       72.22%
12/16/2020 Western      Hawkeye                 8       62.50%       62.50%      100.00%      100.00%

12/16/2020 Western      Mid-Americas           17       58.82%       70.59%       76.47%       88.24%
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                                      Measured   Processing   Processing   Processing   Processing
                                      Volume:    Score:       Score Plus   Score Plus   Score Plus
                                      Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area      District         Ballot     Ballot       Ballot       Ballot       Ballot

12/16/2020 Western   Nevada Sierra          11       72.73%       72.73%       81.82%       81.82%

12/16/2020 Western   Northland              17       64.71%       64.71%       64.71%       64.71%
12/16/2020 Western   Portland               14       57.14%       64.29%       71.43%       71.43%

12/16/2020 Western   Salt Lake City          4        0.00%       50.00%       50.00%       75.00%
12/16/2020 Western   Seattle                33       42.42%       48.48%       63.64%       66.67%
           Capital
12/17/2020 Metro     Atlanta              8643       72.26%       96.58%       97.05%       98.62%
           Capital
12/17/2020 Metro     Baltimore              18       72.22%       77.78%       77.78%       83.33%
           Capital
12/17/2020 Metro     Capital                34       79.41%       88.24%       88.24%       97.06%
           Capital   Greater S
12/17/2020 Metro     Carolina               25       72.00%       88.00%       88.00%       96.00%
           Capital
12/17/2020 Metro     Greensboro             12       33.33%       33.33%       33.33%       50.00%
           Capital
12/17/2020 Metro     Mid-Carolinas          15       86.67%       93.33%       93.33%       93.33%
           Capital   Norther
12/17/2020 Metro     Virginia               24       58.33%       58.33%       58.33%       83.33%
           Capital
12/17/2020 Metro     Richmond               13       61.54%       61.54%       61.54%       84.62%

12/17/2020 Eastern   Appalachian             9       77.78%       77.78%       88.89%       88.89%

                     Central
12/17/2020 Eastern   Pennsylvania           12       25.00%       33.33%       33.33%       50.00%

12/17/2020 Eastern   Kentuckiana             5        0.00%        0.00%        0.00%       20.00%

12/17/2020 Eastern   Norther Ohio            8       62.50%       62.50%       62.50%       62.50%

12/17/2020 Eastern   Ohio Valley            15       33.33%       40.00%       53.33%       73.33%

                     Philadelphia
12/17/2020 Eastern   Metropo                10       50.00%       50.00%       60.00%       70.00%

12/17/2020 Eastern   South Jersey           40       65.00%       82.50%       87.50%       97.50%

12/17/2020 Eastern   Tennessee             512       94.53%       95.31%       95.90%       99.22%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

                         Western New
12/17/2020 Eastern       York                   21       80.95%       90.48%       95.24%       95.24%

                         Western
12/17/2020 Eastern       Pennsylvania           12       66.67%       75.00%       75.00%       91.67%

12/17/2020 Great Lakes Central Illinois         36       61.11%       61.11%       72.22%       91.67%

12/17/2020 Great Lakes Chicago                   4       50.00%       50.00%       50.00%       50.00%

12/17/2020 Great Lakes Detroit                  17       58.82%       58.82%       82.35%      100.00%

12/17/2020 Great Lakes Gateway                  28       85.71%       85.71%       85.71%       85.71%
                       Greater
12/17/2020 Great Lakes Indiana                  12       91.67%       91.67%       91.67%       91.67%
                       Greater
12/17/2020 Great Lakes Michigan                  5       80.00%       80.00%       80.00%       80.00%

12/17/2020 Great Lakes Lakeland                 16       68.75%       81.25%       81.25%       87.50%
12/17/2020 Northeast Albany                     14       71.43%       71.43%       71.43%       71.43%

12/17/2020 Northeast     Caribbean               4       50.00%       50.00%       50.00%       50.00%

                         Connecticut
12/17/2020 Northeast     Valley                 13       61.54%       61.54%       69.23%       69.23%
                         Greater
12/17/2020 Northeast     Boston                 52       48.08%       51.92%       51.92%       69.23%

12/17/2020 Northeast     Long Island            20       80.00%       80.00%       80.00%       90.00%

12/17/2020 Northeast     New York              157       85.99%       87.26%       92.36%      100.00%

                         Northern New
12/17/2020 Northeast     England                15       60.00%       66.67%       73.33%       86.67%

                         Northern New
12/17/2020 Northeast     Jersey                 27       81.48%       88.89%       88.89%       88.89%
12/17/2020 Northeast     Triboro                 3       33.33%       66.67%       66.67%       66.67%

12/17/2020 Northeast     Westchester             5       60.00%       60.00%       60.00%       80.00%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

12/17/2020 Pacific      Bay-Valley             19       42.11%       52.63%       52.63%       73.68%
12/17/2020 Pacific      Honolulu               11       81.82%       81.82%      100.00%      100.00%

12/17/2020 Pacific      Los Angeles            20       35.00%       35.00%       50.00%       85.00%

12/17/2020 Pacific      Sacramento             12       41.67%       41.67%       41.67%       91.67%

12/17/2020 Pacific      San Diego              20       65.00%       65.00%       65.00%       95.00%

12/17/2020 Pacific      San Francisco         189       70.37%       95.77%       97.88%       99.47%

12/17/2020 Pacific      Santa Ana              12       50.00%       50.00%       50.00%       58.33%

12/17/2020   Pacific    Sierra Coastal         44       86.36%       86.36%       88.64%       88.64%
12/17/2020   Southern   Alabama                33       39.39%       72.73%       72.73%       78.79%
12/17/2020   Southern   Arkansas                4      100.00%      100.00%      100.00%      100.00%
12/17/2020   Southern   Dallas                 27       77.78%       77.78%       77.78%       92.59%

12/17/2020 Southern     Ft. Worth               8       37.50%       37.50%       37.50%       50.00%

12/17/2020 Southern     Gulf Atlantic        4868       91.43%       97.35%       97.51%       99.42%
12/17/2020 Southern     Houston                20       70.00%       75.00%       75.00%       80.00%

12/17/2020 Southern     Louisiana              20       60.00%       65.00%       70.00%       85.00%

12/17/2020 Southern     Mississippi             3       66.67%       66.67%      100.00%      100.00%

12/17/2020 Southern     Oklahoma               10      100.00%      100.00%      100.00%      100.00%

12/17/2020 Southern     Rio Grande            126       86.51%       86.51%       87.30%       94.44%

12/17/2020   Southern   South Florida          26       76.92%       76.92%       80.77%       88.46%
12/17/2020   Southern   Suncoast               61       63.93%       72.13%       77.05%       80.33%
12/17/2020   Western    Alaska                  1        0.00%      100.00%      100.00%      100.00%
12/17/2020   Western    Arizona                27       55.56%       55.56%       66.67%       77.78%

12/17/2020 Western      Central Plains         21       90.48%       90.48%       90.48%       90.48%

                        Colorado/Wyo
12/17/2020 Western      ming                   25       80.00%       88.00%       92.00%       92.00%
12/17/2020 Western      Dakotas                10       50.00%       60.00%       60.00%       80.00%
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                                      Measured     Processing    Processing    Processing    Processing
                                      Volume:      Score:        Score Plus    Score Plus    Score Plus
                                      Inbound      Inbound       1: Inbound    2: Inbound    3: Inbound
Date       Area      District         Ballot       Ballot        Ballot        Ballot        Ballot
12/17/2020 Western   Hawkeye                  10        70.00%        70.00%        70.00%        80.00%

12/17/2020 Western   Mid-Americas            20        70.00%        70.00%        70.00%        75.00%

12/17/2020 Western   Nevada Sierra            6       100.00%       100.00%       100.00%       100.00%

12/17/2020 Western   Northland               16        93.75%       100.00%       100.00%       100.00%
12/17/2020 Western   Portland                11        54.55%        72.73%        81.82%       100.00%

12/17/2020 Western   Salt Lake City          16        50.00%        50.00%        68.75%        75.00%
12/17/2020 Western   Seattle                 24        79.17%        79.17%        79.17%        95.83%
           Capital
12/18/2020 Metro     Atlanta              18426        65.76%        94.89%        98.30%        98.46%
           Capital
12/18/2020 Metro     Baltimore               19        57.89%        94.74%        94.74%        94.74%
           Capital
12/18/2020 Metro     Capital                 18        83.33%        83.33%        83.33%        83.33%
           Capital   Greater S
12/18/2020 Metro     Carolina                37        45.95%        70.27%        94.59%        94.59%
           Capital
12/18/2020 Metro     Greensboro              25        56.00%        76.00%        84.00%        84.00%
           Capital
12/18/2020 Metro     Mid-Carolinas           17        58.82%        82.35%        94.12%        94.12%
           Capital   Norther
12/18/2020 Metro     Virginia                33        60.61%        66.67%        66.67%        66.67%
           Capital
12/18/2020 Metro     Richmond                17        82.35%        88.24%        88.24%        88.24%

12/18/2020 Eastern   Appalachian              8        87.50%       100.00%       100.00%       100.00%

                     Central
12/18/2020 Eastern   Pennsylvania            15        33.33%        66.67%        66.67%        73.33%

12/18/2020 Eastern   Kentuckiana              9        33.33%        66.67%        88.89%        88.89%

12/18/2020 Eastern   Norther Ohio             8        62.50%        62.50%        62.50%        62.50%

12/18/2020 Eastern   Ohio Valley             23        30.43%        39.13%        39.13%        39.13%

                     Philadelphia
12/18/2020 Eastern   Metropo                 13        46.15%        61.54%        61.54%        69.23%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

12/18/2020 Eastern       South Jersey           38       21.05%       26.32%       26.32%       28.95%

12/18/2020 Eastern       Tennessee             501       92.22%       95.21%       96.81%       97.41%

                         Western New
12/18/2020 Eastern       York                   20       90.00%       90.00%       90.00%       90.00%

                         Western
12/18/2020 Eastern       Pennsylvania           15       60.00%       60.00%       60.00%       66.67%

12/18/2020 Great Lakes Central Illinois         42       33.33%       69.05%       69.05%       71.43%

12/18/2020 Great Lakes Chicago                   6       33.33%       33.33%       33.33%       33.33%

12/18/2020 Great Lakes Detroit                  25       20.00%       28.00%       36.00%       60.00%

12/18/2020 Great Lakes Gateway                  30       66.67%       73.33%       73.33%       73.33%
                       Greater
12/18/2020 Great Lakes Indiana                  14       85.71%       85.71%       85.71%       85.71%
                       Greater
12/18/2020 Great Lakes Michigan                 14       50.00%       57.14%       64.29%       71.43%

12/18/2020 Great Lakes Lakeland                 21       47.62%       52.38%       57.14%       61.90%
12/18/2020 Northeast Albany                     11       54.55%       81.82%       81.82%       81.82%

12/18/2020 Northeast     Caribbean               6      100.00%      100.00%      100.00%      100.00%

                         Connecticut
12/18/2020 Northeast     Valley                 24       58.33%       62.50%       62.50%       66.67%
                         Greater
12/18/2020 Northeast     Boston                 34       50.00%       55.88%       55.88%       58.82%

12/18/2020 Northeast     Long Island             6       66.67%       66.67%       66.67%       66.67%

12/18/2020 Northeast     New York              157       89.81%       99.36%      100.00%      100.00%

                         Northern New
12/18/2020 Northeast     England                14       78.57%       85.71%       85.71%      100.00%

                         Northern New
12/18/2020 Northeast     Jersey                 15       53.33%       80.00%       80.00%       86.67%
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                                         Measured    Processing   Processing   Processing   Processing
                                         Volume:     Score:       Score Plus   Score Plus   Score Plus
                                         Inbound     Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area         District         Ballot      Ballot       Ballot       Ballot       Ballot
12/18/2020 Northeast    Triboro                  0   Null%        Null%        Null%        Null%

12/18/2020 Northeast    Westchester            10        70.00%       80.00%       90.00%       90.00%

12/18/2020 Pacific      Bay-Valley              26       42.31%       65.38%       65.38%       65.38%
12/18/2020 Pacific      Honolulu                 8       62.50%       62.50%       75.00%       75.00%

12/18/2020 Pacific      Los Angeles            26        42.31%       61.54%       61.54%       76.92%

12/18/2020 Pacific      Sacramento              19       57.89%       68.42%       68.42%       73.68%

12/18/2020 Pacific      San Diego               21       57.14%       80.95%       80.95%       80.95%

12/18/2020 Pacific      San Francisco          65        69.23%       92.31%       92.31%       92.31%

12/18/2020 Pacific      Santa Ana               19       57.89%       78.95%       78.95%       89.47%

12/18/2020   Pacific    Sierra Coastal         37        72.97%       86.49%       86.49%       89.19%
12/18/2020   Southern   Alabama                28        35.71%       71.43%       85.71%       85.71%
12/18/2020   Southern   Arkansas                7       100.00%      100.00%      100.00%      100.00%
12/18/2020   Southern   Dallas                 22        54.55%       77.27%       77.27%       81.82%

12/18/2020 Southern     Ft. Worth                5        0.00%       20.00%       20.00%       20.00%

12/18/2020 Southern     Gulf Atlantic         3364       87.87%       95.87%       99.11%       99.23%
12/18/2020 Southern     Houston                 34       64.71%       70.59%       70.59%       73.53%

12/18/2020 Southern     Louisiana               16       93.75%      100.00%      100.00%      100.00%

12/18/2020 Southern     Mississippi             13       69.23%       76.92%       76.92%       76.92%

12/18/2020 Southern     Oklahoma               11       100.00%      100.00%      100.00%      100.00%

12/18/2020 Southern     Rio Grande             69        72.46%       84.06%       84.06%       84.06%

12/18/2020   Southern   South Florida           27       40.74%       40.74%       40.74%       44.44%
12/18/2020   Southern   Suncoast                82       79.27%       95.12%       96.34%       96.34%
12/18/2020   Western    Alaska                   6       83.33%       83.33%       83.33%       83.33%
12/18/2020   Western    Arizona                 23       56.52%       73.91%       73.91%       78.26%

12/18/2020 Western      Central Plains          13       84.62%       92.31%       92.31%      100.00%
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                                      Measured   Processing   Processing   Processing   Processing
                                      Volume:    Score:       Score Plus   Score Plus   Score Plus
                                      Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area      District         Ballot     Ballot       Ballot       Ballot       Ballot

                     Colorado/Wyo
12/18/2020 Western   ming                   51       47.06%       56.86%       56.86%       58.82%
12/18/2020 Western   Dakotas                14       71.43%       78.57%       78.57%       92.86%
12/18/2020 Western   Hawkeye                13       76.92%       92.31%       92.31%       92.31%

12/18/2020 Western   Mid-Americas           21       76.19%       80.95%       80.95%       80.95%

12/18/2020 Western   Nevada Sierra           8       50.00%       50.00%       50.00%       75.00%

12/18/2020 Western   Northland              19       36.84%       78.95%       78.95%       84.21%
12/18/2020 Western   Portland               25       60.00%       80.00%       80.00%       84.00%

12/18/2020 Western   Salt Lake City         22       77.27%       90.91%       90.91%       90.91%
12/18/2020 Western   Seattle                27       66.67%       81.48%       81.48%       88.89%
           Capital
12/19/2020 Metro     Atlanta              8057       73.82%       79.99%       95.73%       96.86%
           Capital
12/19/2020 Metro     Baltimore              11       54.55%       63.64%       63.64%       63.64%
           Capital
12/19/2020 Metro     Capital                30       56.67%       80.00%       83.33%       83.33%
           Capital   Greater S
12/19/2020 Metro     Carolina               34       58.82%       73.53%       88.24%       97.06%
           Capital
12/19/2020 Metro     Greensboro             35       60.00%       68.57%       71.43%       74.29%
           Capital
12/19/2020 Metro     Mid-Carolinas          26       34.62%       50.00%       53.85%       76.92%
           Capital   Norther
12/19/2020 Metro     Virginia               14       57.14%       57.14%       78.57%       78.57%
           Capital
12/19/2020 Metro     Richmond               10       90.00%       90.00%       90.00%       90.00%

12/19/2020 Eastern   Appalachian             9       33.33%       33.33%       33.33%       33.33%

                     Central
12/19/2020 Eastern   Pennsylvania           20       35.00%       55.00%       60.00%       60.00%

12/19/2020 Eastern   Kentuckiana            21       66.67%       76.19%       85.71%       85.71%

12/19/2020 Eastern   Norther Ohio           15       66.67%       80.00%       86.67%       86.67%

12/19/2020 Eastern   Ohio Valley            24       83.33%       87.50%       87.50%       87.50%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

                         Philadelphia
12/19/2020 Eastern       Metropo                11       54.55%       63.64%      100.00%      100.00%

12/19/2020 Eastern       South Jersey           46       43.48%       69.57%       84.78%       86.96%

12/19/2020 Eastern       Tennessee             219       80.82%       89.04%       94.98%       96.80%

                         Western New
12/19/2020 Eastern       York                   17       58.82%       70.59%       76.47%       76.47%

                         Western
12/19/2020 Eastern       Pennsylvania           13       84.62%       84.62%       92.31%       92.31%

12/19/2020 Great Lakes Central Illinois         27       66.67%       81.48%       85.19%       85.19%

12/19/2020 Great Lakes Chicago                   8       12.50%       25.00%       25.00%       25.00%

12/19/2020 Great Lakes Detroit                  25       48.00%       84.00%       84.00%       84.00%

12/19/2020 Great Lakes Gateway                  21       57.14%       66.67%       80.95%       90.48%
                       Greater
12/19/2020 Great Lakes Indiana                   7       14.29%       42.86%       85.71%       85.71%
                       Greater
12/19/2020 Great Lakes Michigan                 13       69.23%       76.92%       92.31%       92.31%

12/19/2020 Great Lakes Lakeland                 26       73.08%       84.62%       84.62%       84.62%
12/19/2020 Northeast Albany                      7       57.14%       57.14%       57.14%       57.14%

12/19/2020 Northeast     Caribbean               1      100.00%      100.00%      100.00%      100.00%

                         Connecticut
12/19/2020 Northeast     Valley                 32       65.63%       84.38%       84.38%       90.63%
                         Greater
12/19/2020 Northeast     Boston                 24       75.00%       83.33%       83.33%       83.33%

12/19/2020 Northeast     Long Island            14       28.57%       57.14%       57.14%       64.29%

12/19/2020 Northeast     New York               37       62.16%       81.08%       97.30%       97.30%

                         Northern New
12/19/2020 Northeast     England                13       69.23%       84.62%       84.62%       84.62%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

                        Northern New
12/19/2020 Northeast    Jersey                 16       37.50%       62.50%       93.75%       93.75%
12/19/2020 Northeast    Triboro                 6       16.67%       83.33%      100.00%      100.00%

12/19/2020 Northeast    Westchester            17       94.12%      100.00%      100.00%      100.00%

12/19/2020 Pacific      Bay-Valley             12       41.67%       83.33%       91.67%       91.67%
12/19/2020 Pacific      Honolulu               18       72.22%       88.89%       88.89%       94.44%

12/19/2020 Pacific      Los Angeles            18       44.44%       55.56%       66.67%       66.67%

12/19/2020 Pacific      Sacramento             26       46.15%       80.77%       96.15%       96.15%

12/19/2020 Pacific      San Diego              21       28.57%       57.14%       71.43%       71.43%

12/19/2020 Pacific      San Francisco          46       63.04%       80.43%       89.13%       91.30%

12/19/2020 Pacific      Santa Ana              24       75.00%       83.33%       91.67%       91.67%

12/19/2020   Pacific    Sierra Coastal         66       69.70%       87.88%       89.39%       89.39%
12/19/2020   Southern   Alabama                37       56.76%       64.86%       81.08%       86.49%
12/19/2020   Southern   Arkansas                4       50.00%       50.00%       50.00%       50.00%
12/19/2020   Southern   Dallas                 40       65.00%       85.00%       95.00%       95.00%

12/19/2020 Southern     Ft. Worth              17       58.82%       64.71%       64.71%       64.71%

12/19/2020 Southern     Gulf Atlantic        3257       95.76%       97.02%       98.10%       99.02%
12/19/2020 Southern     Houston                26       50.00%       73.08%       80.77%       80.77%

12/19/2020 Southern     Louisiana               9       55.56%       66.67%      100.00%      100.00%

12/19/2020 Southern     Mississippi            10       50.00%       70.00%       90.00%       90.00%

12/19/2020 Southern     Oklahoma                8       87.50%       87.50%       87.50%       87.50%

12/19/2020 Southern     Rio Grande             33       54.55%       69.70%       81.82%       81.82%

12/19/2020   Southern   South Florida          23       65.22%       65.22%       73.91%       82.61%
12/19/2020   Southern   Suncoast              115       76.52%       91.30%       95.65%       95.65%
12/19/2020   Western    Alaska                  4       50.00%       75.00%       75.00%      100.00%
12/19/2020   Western    Arizona                48       60.42%       83.33%       93.75%       93.75%
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                                      Measured   Processing   Processing   Processing   Processing
                                      Volume:    Score:       Score Plus   Score Plus   Score Plus
                                      Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date       Area      District         Ballot     Ballot       Ballot       Ballot       Ballot

12/19/2020 Western   Central Plains         25       72.00%       80.00%       88.00%       88.00%

                     Colorado/Wyo
12/19/2020 Western   ming                   41       36.59%       48.78%       53.66%       53.66%
12/19/2020 Western   Dakotas                16       62.50%       87.50%      100.00%      100.00%
12/19/2020 Western   Hawkeye                 8       37.50%       50.00%       75.00%       75.00%

12/19/2020 Western   Mid-Americas           17       58.82%       64.71%       82.35%       82.35%

12/19/2020 Western   Nevada Sierra          16       50.00%       68.75%       75.00%       75.00%

12/19/2020 Western   Northland              25       84.00%       84.00%       96.00%       96.00%
12/19/2020 Western   Portland               16       56.25%       68.75%       81.25%       81.25%

12/19/2020 Western   Salt Lake City         20       60.00%       75.00%       85.00%       85.00%
12/19/2020 Western   Seattle                23       60.87%       82.61%       86.96%       86.96%
           Capital
12/21/2020 Metro     Atlanta             17540       76.39%       88.36%       92.74%       97.66%
           Capital
12/21/2020 Metro     Baltimore              26       53.85%       53.85%       57.69%       57.69%
           Capital
12/21/2020 Metro     Capital                62       53.23%       56.45%       58.06%       67.74%
           Capital   Greater S
12/21/2020 Metro     Carolina               87       52.87%       73.56%       80.46%       93.10%
           Capital
12/21/2020 Metro     Greensboro             53       43.40%       58.49%       69.81%       77.36%
           Capital
12/21/2020 Metro     Mid-Carolinas          36       58.33%       72.22%       75.00%       75.00%
           Capital   Norther
12/21/2020 Metro     Virginia               27       44.44%       51.85%       77.78%       81.48%
           Capital
12/21/2020 Metro     Richmond               60       25.00%       31.67%       51.67%       56.67%

12/21/2020 Eastern   Appalachian            15       46.67%       53.33%       53.33%       60.00%

                     Central
12/21/2020 Eastern   Pennsylvania           20       55.00%       60.00%       60.00%       60.00%

12/21/2020 Eastern   Kentuckiana            25       60.00%       68.00%       84.00%       92.00%

12/21/2020 Eastern   Norther Ohio           13       53.85%       61.54%       76.92%       76.92%
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                                          Measured   Processing   Processing   Processing   Processing
                                          Volume:    Score:       Score Plus   Score Plus   Score Plus
                                          Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date        Area         District         Ballot     Ballot       Ballot       Ballot       Ballot

12/21/2020 Eastern       Ohio Valley            36       30.56%       44.44%       58.33%       69.44%

                         Philadelphia
12/21/2020 Eastern       Metropo                26       46.15%       53.85%       57.69%       69.23%

12/21/2020 Eastern       South Jersey           72       70.83%       86.11%       95.83%       95.83%

12/21/2020 Eastern       Tennessee             570       88.60%       91.75%       95.61%       97.19%

                         Western New
12/21/2020 Eastern       York                   24       50.00%       66.67%       66.67%       75.00%

                         Western
12/21/2020 Eastern       Pennsylvania           30       53.33%       63.33%       70.00%       73.33%

12/21/2020 Great Lakes Central Illinois         83       51.81%       71.08%       81.93%       86.75%

12/21/2020 Great Lakes Chicago                  18        0.00%       16.67%       16.67%       22.22%

12/21/2020 Great Lakes Detroit                  60       50.00%       76.67%       83.33%       88.33%

12/21/2020 Great Lakes Gateway                 166       89.76%       91.57%       92.77%       94.58%
                       Greater
12/21/2020 Great Lakes Indiana                  30       53.33%       73.33%       76.67%       83.33%
                       Greater
12/21/2020 Great Lakes Michigan                 14       64.29%       78.57%       92.86%       92.86%

12/21/2020 Great Lakes Lakeland                 32       71.88%       78.13%       84.38%       84.38%
12/21/2020 Northeast Albany                     28       50.00%       53.57%       67.86%       75.00%

12/21/2020 Northeast     Caribbean              11       18.18%       63.64%       63.64%       63.64%

                         Connecticut
12/21/2020 Northeast     Valley                 42       54.76%       66.67%       71.43%       71.43%
                         Greater
12/21/2020 Northeast     Boston                 83       48.19%       50.60%       65.06%       85.54%

12/21/2020 Northeast     Long Island            21       57.14%       71.43%       76.19%       85.71%

12/21/2020 Northeast     New York              232       80.60%       83.19%       90.95%       94.83%
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                                         Measured   Processing   Processing   Processing   Processing
                                         Volume:    Score:       Score Plus   Score Plus   Score Plus
                                         Inbound    Inbound      1: Inbound   2: Inbound   3: Inbound
Date         Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

                        Northern New
12/21/2020 Northeast    England                27       29.63%       33.33%       55.56%       70.37%

                        Northern New
12/21/2020 Northeast    Jersey                 52       48.08%       55.77%       61.54%       78.85%
12/21/2020 Northeast    Triboro                15       53.33%       53.33%       60.00%       66.67%

12/21/2020 Northeast    Westchester            33       42.42%       60.61%       75.76%       96.97%

12/21/2020 Pacific      Bay-Valley             40       72.50%       85.00%       95.00%       95.00%
12/21/2020 Pacific      Honolulu               14       50.00%       57.14%       64.29%       64.29%

12/21/2020 Pacific      Los Angeles            47       36.17%       63.83%       78.72%       87.23%

12/21/2020 Pacific      Sacramento             37       59.46%       62.16%       67.57%       72.97%

12/21/2020 Pacific      San Diego              44       47.73%       68.18%       86.36%       90.91%

12/21/2020 Pacific      San Francisco         208       48.56%       82.21%       89.90%       95.19%

12/21/2020 Pacific      Santa Ana              25       64.00%       72.00%       80.00%       80.00%

12/21/2020   Pacific    Sierra Coastal         85       85.88%       88.24%       88.24%       92.94%
12/21/2020   Southern   Alabama                48       27.08%       85.42%       87.50%       93.75%
12/21/2020   Southern   Arkansas               10       60.00%      100.00%      100.00%      100.00%
12/21/2020   Southern   Dallas                 56       60.71%       76.79%       85.71%       87.50%

12/21/2020 Southern     Ft. Worth              13       30.77%       30.77%       38.46%       38.46%

12/21/2020 Southern     Gulf Atlantic        3509       93.59%       96.87%       98.52%       99.26%
12/21/2020 Southern     Houston                44       52.27%       65.91%       75.00%       81.82%

12/21/2020 Southern     Louisiana              31       38.71%       67.74%       80.65%       83.87%

12/21/2020 Southern     Mississippi            15       60.00%       66.67%       73.33%       80.00%

12/21/2020 Southern     Oklahoma               14       71.43%       78.57%       92.86%      100.00%

12/21/2020 Southern     Rio Grande             59       42.37%       61.02%       74.58%       79.66%

12/21/2020 Southern     South Florida          60       46.67%       56.67%       75.00%       88.33%
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                                         Measured     Processing    Processing    Processing    Processing
                                         Volume:      Score:        Score Plus    Score Plus    Score Plus
                                         Inbound      Inbound       1: Inbound    2: Inbound    3: Inbound
Date         Area       District         Ballot       Ballot        Ballot        Ballot        Ballot
12/21/2020   Southern   Suncoast                284        41.55%        55.28%        84.86%        88.38%
12/21/2020   Western    Alaska                    0   Null%         Null%         Null%         Null%
12/21/2020   Western    Arizona                  57        47.37%        80.70%        82.46%        84.21%

12/21/2020 Western      Central Plains          21        61.90%        71.43%        80.95%        90.48%

                        Colorado/Wyo
12/21/2020 Western      ming                    85        51.76%        56.47%        63.53%        65.88%
12/21/2020 Western      Dakotas                 35        40.00%        57.14%        60.00%        60.00%
12/21/2020 Western      Hawkeye                 23        65.22%        86.96%        86.96%        91.30%

12/21/2020 Western      Mid-Americas           175        92.57%        95.43%        96.57%        96.57%

12/21/2020 Western      Nevada Sierra           20        50.00%        75.00%        80.00%        85.00%

12/21/2020 Western      Northland               47        65.96%        80.85%        93.62%        95.74%
12/21/2020 Western      Portland                67        55.22%        74.63%        85.07%        88.06%

12/21/2020 Western      Salt Lake City          38        78.95%        89.47%        89.47%        94.74%
12/21/2020 Western      Seattle                 67        53.73%        82.09%        89.55%        94.03%
